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                    ATTACHMENT A
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Trial Ex. No.                     Description                      Date           Date
                                                                 Identified     Admitted
     1          7/12/2021 Plaintiffs' First Deposition of
                Defendant Under FRCP 30(b)(6)
     2          Withdrawn
     3          Apple Inc. - Accounting and Finance Policy.
                Policy name: Records Management; Polcy No.
                1.06; Rev. September 2013 (Confidential)

     4          Withdrawn
     5          Withdrawn
     6          2/26/2014 Email from Marcelo Lamego to Steve        11/4/2024     11/4/2024
                Hotelling, et al., re N27 list with potential
                improvements
     7          Attachment to Exhibit 6 "List with potential
                improvements for the N27"
     8          Chain email with a last date of Feb. 27, 2014,      11/4/2024     11/4/2024
                From Jack Fu To Daniel Culbert, SUBJECT:
                Re: N27 list with potential improvements
     9          Chain email with a lst date of Feb. 10, 2014,
                From Daniel Culbert, To Jack Fu, SUBJECT:
                Re: root causes LUS
     10         Chain email with a last date of June 4, 2014,       11/4/2024     11/4/2024
                From Jack Fu, To Steve Waydo, Matt Vieta,
                SUBJECT: Fwd: help on signal analysis for
                potential alg. improvements
     11         Chain email with a last date of March 1, 2014,      11/4/2024     11/4/2024
                From Alan Chem, To Jack Fu, SUBJECT: Re:
                N27A: Platinum Improvements for Proto S and
                beyond
     12         Chain email with a last date of May 20, 2014,
                From Jack Fu, To Mayra Haggerty, SUBJECT:
                Re: help on signal analysis for potential alg.
                improvements
     13         5/27/2014 Email from Daniel Culbert to
                Marcelo Lamego re Access to gem.apple.com
     14         February 26, 2014, iMessage                         11/4/2024     11/4/2024
     15         Chain email with a last date of June 14, 2014,      11/8/2024     11/8/2024
                From jack Fu, To Myra Haggerty, SUBJECT:
                Re: Follow up on Marcelo




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Trial Ex. No.                     Description                      Date           Date
                                                                 Identified     Admitted
     16         Chain emal with a last date of Sept. 18, 2013,      11/8/2024     11/8/2024
                From Mayra Haggerty, To David Tom,
                SUBJECT: Re: Project Everest
     17         Chain email with a last dae of June 26, 2014,
                From Jack Fu To Steve Waydo, et al.,
                SUBJECT: Platinum QA Kickoff - whiteboards

     18         March 6, 2014, iMessages
     19         Chain email with a last date of Feb. 4, 2014,
                From Myra Haggerty, To Daniel Culbert,
                SUBJECT: Re: My Basis Feedback?
     20         Withdrawn
     23         Radar Database Document titled Provide fastest      11/4/2024     11/4/2024
                rate platinum can provide synchronized isopod
                samples to host
     24         Chain E-mail with a last dae of Mar. 6, 2014,       11/4/2024     11/4/2024
                From Louyis Bokma, To Marcelo Lamego,
                Subject ,Radar://problem/16192899> and
                Attachment PastedGraphic-1.png
     25         Radar Printout titled [opalfw pt mdm] N27A          11/4/2024     11/4/2024
                Platinum mod/demod support, FW scan plan
     27         Radar Printout                                      11/4/2024     11/4/2024
     31         Citrine - PSM (programmable sample mode)            11/8/2024     11/8/2024
                removal request
     35         ASIC Engineering Requirements Specification
     38         5/3/2022 Plaintiffs' Deposition of Defendant
                Under Federal Rule Of Civil Procedure 30(b)(6)

     39         multi-page document titled N27A Platinum
                Interference Filters - Performance Effects and
                Program Risks February 24, 2014,




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Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
     40         Chain email with a last date of Feb. 25, 2014,       11/8/2024     11/8/2024
                From Paul Nangeroni, To Paul Nangeroni;
                Fletcher Rothkopf; Prashanth Holenarsipur;
                Chinsan Han; Eugene Kim; Douglas Weber;
                Chris Prest; Anant Rai; Steve Hotelling; Anna-
                Katrina Shedletsky; Ehsan Farkhondeh; Brian
                Land; Trevor Ness; Chau Nguyen; Dale
                Memering; "Benjamin Lyon; Jennifer Kong;
                Akin Kestelli; DJ Novotney; Alan Chem; Cheng
                (PPO) Chen; "Dave Nazzaro, Subject BCM OD
                Issue – Brainstorm - Notes

     41         Chain email with a last date of Apr. 24, 2014,
                From Dave Nazzaro, To Shobhit Baijal, Subject
                Window Ink and PVD Coatings Investigation

     42         engineering drawing - Window, RCAM,
                ONYX, N61
     43         Withdrawn
     44         Withdrawn
     45         Chain email with a last date of Apr. 29, 2014,       11/8/2024     11/8/2024
                From Chinsan Han, To Brian Land, Benjamin
                Lyon, Emo Klaassen, Marcelo Lamego,
                Prashanth Holenarsipur, Jennifer Koing, Paul
                Nangeroni, Fletcher Rothkopf, Trevor Ness, Jacl
                Fu, Ueyn Block, Alex Lee, Dong Zheng, Akin
                Kestelli, Subject Proto2 BC Design and Chipset
                DOE Tracker
     46         multi-page document titled N27A Platinum,            11/8/2024     11/8/2024
                Proto2 BC Design and Chipset DOE Tracker
     47         Chain email with a last date of Jun 13, 2014,        11/8/2024     11/8/2024
                From Trevor Ness, To Dave Nazzaro, Matsu
                Matsuyuki, Chinsan Han, Marcelo Lamego,
                Wolf Oetting, Subject Reflection Treatment for
                Pt Sensor Invention Disclosure
     48         Invention disclosure – Attachment to Ex. 47          11/8/2024     11/8/2024
     49         multi-page document titled WATCH: A Brief            11/8/2024     11/8/2024
                History (Trevor Ness)
     50         Chain email with a last date of July 3, 2014,
                From Trevor Ness To Maegan Spencer, Subject
                Platinum Summary


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Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
     51         multi-page document titled Platinum Summary.
                Attachment to Ex. 50
     52         Withdrawn
     53         multi-page document titled N27 N28 Platinum
                Risk Stoplight
     54         Withdrawn
     55         List of Companies Met During N27A
                Investigations
     56         Withdrawn
     57         Withdrawn
     58         Chain Email with a last date of May 23, 2013,      11/4/2024     11/4/2024
                From Adrian Perica, To Denby Frazier, Subject
                Mike O’Reilly
     59         Chain Email with a last date of May 23, 2013,      11/4/2024     11/4/2024
                From Nark Bentley, To Denby Frazier, Subject
                Mike O’Reilly
     60         Chain Email with a last date of July 3, 2013,
                From Denby Frazier, To Adrian Perica, Subject
                Yves St. Laurent
     61         withdrawn
     62         7/12/2013 Email from Denby Frazier to Michael      11/4/2024     11/4/2024
                O'Reilly re" CEO's concern
     63         Withdrawn
     64         Email dated Oct. 3, 2013, From Denby Fraizer,      11/4/2024     11/4/2024
                To Mike O’Reilly, Subject Marcelo
     65         Withdrawn
     66         Withdrawn
     67         Withdrawn
     68         Withdrawn
     69         Withdrawn
     70         Chain Email with a last date of June 8, 2021,      11/4/2024     11/4/2024
                From Denby Sellers, To Mark Ryan, Subject
                Urgent - Masimo
     71         Chain Email with a last date of May 29, 2013,
                From Peter Oppenheimer, To Denby Frazier,
                Subject Mike O’Reilly/Candidate for Bob
     72         U.S. Patent No. 8,961,185 B2
     73         U.S. Patent No. 9,522,317 B2
     74         U.S. Patent Application Publication No. US
                2017/0325744 A1


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Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
     75         U.S. Patent No. 10,702,211 B2
     76         U.S. Patent No. 11,331,016 B2
     77         PCT Publication No. WO 2021/061576 A1
     78         06/28/2022 Masimo's Notice of Deposition of
                Paul Manheimer
     79         Land Org. Plan
     80         Apple presentation, "scan27dium, What happens
                if we simply drop the right LEDs into an N27?"

     81         09/21/2018 Apple presentation, "Scandium
                (T393) Update" Apple Watch Sensing Deep
                Dive
     82         08/11/2017 Apple presentation, "Scandium
                Update" Health Sensing HW
     83         Apple presentation, "Platinum Chipset
                Development" Health Sensing HW
     84         11/03/2017 Apple presentation, "Scandium            11/6/2024     11/6/2024
                Risks and Schedule" Health Sensing HW
     85         Withdrawn
     86         Withdrawn
     87         Withdrawn
     88         Withdrawn
     89         09/16/2015 Apple presentation, "Scandium
                Status Update" by Brian Land, Paul
                Mannheimer, and Albert Cerussi
     90         Withdrawn
     91         Withdrawn
     92         04/16/2015 Email from Chinsan
                <chinsan@apple.com> to Erno Klaassen et al.,
                re N27 Platinum Optical ERS (v0.08): 1st
                Round Review [review by 4/17]
     93         Withdrawn
     94         Withdrawn
     95         Withdrawn
     96         Withdrawn
     97         Withdrawn
     98         Withdrawn
     99         Withdrawn
    100         Withdrawn




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Trial Ex. No.                   Description                       Date         Date
                                                                Identified   Admitted
    101         30(b)(6) Deposition Topics Designated for
                Afshad Mistri
    102         Withdrawn
    103         Withdrawn
    104         Withdrawn
    105         Withdrawn
    106         Withdrawn
    107         05/08/2013 Email from Afshad Mistri to Paul
                Jansen re Thanks for coming
    108         Withdrawn
    109         08/27/2013 Email from Todd Whitehurst to Eric
                Jue re Mayo Sleep Apnea app
    110         Withdrawn
    111         07/06/2014 Email from Afshad Mistri to John
                Halamka re Pulse oximetry
    112         07/06/2014 Email from Afshad Mistri to Mike
                O'Reilly re Masimo
    113         05/15/2015 Email from Afshad Mistri to
                Christopher Tan re SpO2
    114         Withdrawn
    115         Withdrawn
    116         Withdrawn
    117         Withdrawn
    118         Withdrawn
    119         Withdrawn
    120         Withdrawn
    121         Withdrawn
    122         Withdrawn
    123         Withdrawn
    124         08/22/2017 Email from Steven Gipstein to
                Afshad Mistri re CONFIDENTIAL
    125         Withdrawn
    126         Withdrawn
    127         Withdrawn
    128         Withdrawn
    129         Withdrawn
    130         Withdrawn
    131         Withdrawn
    132         Withdrawn
    133         Withdrawn


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Trial Ex. No.                    Description                         Date           Date
                                                                   Identified     Admitted
    134         Withdrawn
    135         Apple document entitled, "What you need to
                know about Apple Watch, the ECG app, and
                health features"
    136         Apple document entitled, "What you need to
                know about Apple Watch and the Blood Oxygen
                app"
    137         Asset Description: Spotlight on the Blood
                Oxygen app
    138         Chart of people and general impresssions
    139         2/11/2014 Email from Jack Fu to Marcelo
                Lamego and Mike O'Reilly re Fwd: Deck )for
                Wed 2/12 exec update (v7) [with attachment:
                20140212-LUS_update (v7).key.zip]
    140         2/27/2014 Email from Jack Fu to Marcelo               11/7/2024     11/7/2024
                Lamego re Deck for Wed 2/12 exec update (v7)

    141         2/18/2014 Email from Marcelo Lamego to Tim
                Cook re Healthcase-related research in
                Biometrics
    142         2/26/2014 Email from Marcelo Lamego to                11/6/2024     11/6/2024
                Adrian Perica re thank you note [with
                attachment: Fitness and wellness technology
                development slides]
    143         2/26/2014 Email from Marcelo Lamego to Steve          11/6/2024     11/6/2024
                Hotelling et al. re N27 list with potential
                improvements [with attachment: N27 List of
                Potential Improvements Key]
    145         3/21/2014 Email from Marcelo Lamego to Mike
                O'Reilly re This is the slide describing what I
                believe is possible to implement in a revised
                N27/N127 (with high confidence) [with
                attachment: Is is possible to implement 6
                functionalities in a revised N27]
    146         3/2/2014 Email from Marcelo Lamego to Jeff
                Williams re wrist 3d model (confidential and
                proprietary) [with attachment: Screen Shot 2014-
                03-02 at 10.05.20 AM]




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Trial Ex. No.                   Description                      Date           Date
                                                               Identified     Admitted
    147         3/18/2014 Email from Alan Chern to Craig
                Lewiston et al. re N27A: Platinum
                Improvements for ProtoS and beyond [with
                attachments: Platinum DOEs email and a
                graphic]
    148         3/25/2014 Email from Daniel Culbert to
                Marcelo Lamego re Algorithm improvements
                [with attachment: Algorithm numbers]
    149         4/4/2014 Email from Navid Moghadam to Dong
                Zheng re Opal FW Engineering Build:
                Mod/Demod scan support
    150         3/19/2014 Email from Jennifer Kong to Matt
                Riedstra et al. re N27A Platinum Exec
                Update_0318_Notes [with attachment: N27A
                Platinum Exec Update 0318 Final]
    151         6/30/2014 Email from Marcelo Lamego to Steve      11/7/2024     11/7/2024
                Hotelling re Gen 1 Alg help [with multiple
                attachments]
    152         7/1/2014 Email from Marcelo Lamego to Steve
                Hotelling re Gen 1 Alg Help (Apple
                Confidential)
    153         3/17/2014 Email from Alex Kanaris to Marcelo      11/7/2024     11/6/2024
                Lamego re Modulation Radar
    154         3/20/2014 Email from Ian Shapiro to Marcelo       11/7/2024     11/6/2024
                Lamego re Proposal for OWD/AGC/saturation-
                detection coexistence withMod/Demod [with
                attachment: OpalModDemod Proposed Scan
                Plan 032014]

    155         3/7/2014 Email from Marcelo Lamego to Louis
                Bokma re demod discussion yesterday with
                Marcelo [with attachment]
    156         3/21/2014 Email from Ian Shapiro to Dong
                Zheng re Proposal for OWD/AGC/saturation-
                detection coexistence
    157         3/13/2014 Email from Marcelo Lamego to
                Marcelo Lamego re script
    158         4/19/2014 Email from Marcelo Lamego to Ian
                Shapiro re HPF crosstalk




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Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    159         3/7/2014 Email from radar@apple.com (Radar
                mail Notification) to Marcelo Lamego re Radar
                CC: Daily Notification
    160         3/13/2014 Email from Daniel Culbert to Alex
                Kanaris re Review Ambient Light results DCS
                and modulation
    161         3/31/2014 Email from Louis Bokma to Marcelo         11/6/2024      11/6/2024
                Lamego re Proto-2 SiP HPF design doc

    162         6/20/2014 Email from June Sananikone to Ali         11/6/2024      11/6/2024
                Motamed and Tim Johnson re Citrine ERS [with
                attachments]
    163         6/10/2014 Email from Jennifer Kong to Heidi
                Delgado et al. re N27A Platinum Exec Update
                (weekly) [with attachment: N27A Platinum
                Exec Update 0610 Final]
    164         5/27/2014 Email from Daniel Culbert to
                Marcelo Lamego re Access to gem.apple.com
    165         3/21/2014 Email from Marcelo Lamego to Steve        11/8/2024      11/8/2024
                Hotelling re Fwd: Johannes Bruinsma [with
                attachments]
    166         5/5/2014 Email from Marcelo Lamego to Mike
                O'Reilly and Mark DiVicent re Desat Lab

    167         3/17/2022 Excerpts of Trial Transcript in
                Masimo v. True Wearables
    168         1/30/2015 Email from Tim Cook to Jeff
                Williams re Fwd: N27
    169         2/21/2018 Email from Marcelo Lamego to Jony
                Ive re FWD: Oxxiom
    170         Marcelo Lamego's 2015 W-2 and Earnings
                Summary
    171         12/6/2021 Letter from Ryan James Fletcher to
                Joshua Lerner re Notice of Withdrawal from the
                March 3, 2021 Common Interest and
                Confidentiality Agreement (with enclosures)
    172         8/5/2008 Email from Joe Kiani to Marcelo            11/5/2024      11/5/2024
                Lamego re Alisa Lesk




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Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    173         11/26/2003 Email from Marcelo Lamego to              11/6/2024      11/6/2024
                Ammar Al-Ali re 12-15 times improvement:
                reusable sensor
    174         6/28/2007 Email from Sean Merritt to Marcelo
                Lamego re Outstanding Issues [with attachment:
                Hummingbird Phase 2 (sean)]
    175         4/30/2010 Masimo Labs presentation,
                "Workshop 1: Design by Optimization Section
                1: Introduction and Review"
    176         5/13/2014 Email from Jimmy Chung to                  11/7/2024      11/7/2024
                Prashanth Holenarsipur re consolidated
                feedback: andy gamelin
    177         7/29/2014 Email from Ueyn Block to Prashanth        11/12/2024     11/12/2024
                Holenarsipur re Marcelo stuff [with attachment]

    178         7/29/2014 Email from Ueyn Block to Amanda
                Simon re Pulse Ox from Marcelo
    179         7/30/2014 Email from Ueyn Block to Nick Allec
                re masimo sensor
    180         8/14/2014 Email from Nick Allec to Ueyn Block
                re Quick update - Masimo sensor [with
                attachments]
    181         3/16/2015 Apple Citrine ASIC Engineering             11/7/2024      11/7/2024
                Requirements Specification, Rev. 2.5
    182         ASIC Engineering Requirements Specification          11/7/2024      11/7/2024
    183         ASIC Engineering Requirements Specification          11/7/2024      11/7/2024
    184         Scoping: Change LED Drive, ID: 16250177              11/7/2024      11/7/2024
    185         5/6/2014 Email from Dong Zheng to Brian Land         11/6/2024      11/6/2024
                re N127 Platinum proposal [with attahcment]

    186         ASIC Engineering Requirements Specification          11/6/2024      11/6/2024
    187         5/8/2014 Email from Dong Zheng to Steve
                Waydo re Dynamic gain adjustment
    188         3/15/2014 Email from Ueyn Block to Steve
                Waydo re LED brightness modulation study
                (Marcelo's modulation schemeevaluated)
    189         1/11/2016 Email from Tao Shui to Nima Ferdosi
                re MDM vs DCS user study protocol design




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Trial Ex. No.                     Description                         Date           Date
                                                                    Identified     Admitted
    190         12/5/2019 Email from Ueyn Block to Nick Allec
                re Osmium investigations 12/5/19
    191         Withdrawn
    192         8/11/2015 Email from Ueyn Block to Guocheng
                Shao re crosstalk test for Simple Glass BC with
                ink apertures
    193         Withdrawn
    194         8/14/2015 Email from Guocheng to Kathy Tong           11/12/2024     11/12/2024
                re Platinum Sensor Spec [with attachments]

    195         2/11/2016 Email from Stephen Waydo to JR
                Sudre re Platinum Roadmap walkthrough - 2-10-
                16 [with attachment: 2016-02-11-
                platinum_algs_roadmap_v3.key]
    196         Withdrawn
    197         Withdrawn
    198         Withdrawn
    199         Withdrawn
    200         Withdrawn
    201         11/8/2014 Email from Ueyn Block to Guocheng
                Shao re Signal level study result
    202         4/29/2022 Apple's Second Supplemental
                Objections and Responses to Plaintiffs' Fifth Set
                of Interrogatories (Nos. 20-21)
    203         3/26/2015 Apple's N27A Platinum Optical ERS
                (Engineering Requirements Specification), Rev.
                0.08
    204         Withdrawn
    205         Withdrawn
    206         Technical Presentation
    207         Withdrawn
    208         11/10/2021 Apple presentation, "N187/N188 |
                Visual BOM: Back Crystal Module"
    209         Withdrawn
    210         5/14/2018 Apple presentation, "N144/N146 |
                Visual BOM: DVT", Rev. 1
    211         Withdrawn
    212         Withdrawn
    220         Brian Land Deposition Topics 6, 7, 19, 58, and
                75


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Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    221         Withdrawn
    222         Withdrawn
    223         ASIC Engineering Requirements Specification
    224         Withdrawn
    225         Platinum Hardware Requirement Specification
                <rdar://problem?50788073>
    226         2/7/2013 Email from Debbie Lambert to Bran
                Land et al. re Rover | Meeting Pushed to Next
                Week [with attachments]
    227         Withdrawn
    228         Withdrawn
    229         01/26/2014 Apple Kona ASIC, Full Chip
                Engineering Requirement Specification, Rev.
                1.1
    230         2/4/2014 Email from Ueyn Block to Marcelo
                Lamego re Fwd: Triple Ring_Notes from Kate +
                Final Report [with attachment:
                APP01_Simulation Results_010814.pdf]
    231         2/17/2014 Email from Brian Land to Daniel
                Culbert, Ueyn Block, Marcelo Lamego, Chinsan
                Han, and Steve Waydo re Triple Ring Model
                Validation Project Outline [with attachment:
                Model Validation Project Outline 2014-02-
                17.key.zip]
    232         2/18/2014 Email from Marcelo Lamego to Brian
                Land re Triple Ring Model Validation Project
                Outline
    233         5/23/2018 Apple N27A Platinum: Tracking List         11/4/2024      11/4/2024
                of recommended improvements
    234         3/10/2014 Email from Dong Zheng to Marcelo
                Lamego re amethyst asic
    235         5/30/2014 Email from Chinsan Han to Brian
                Land re Fwd: slides [with attachment]
    237         10/17/2019 Email from Joe Schmitt to Albert
                Cerussi re non invasive HB measurement [with
                attachment: Orsense_accuracy_ALM 2013; 33-
                261.pdf]
    238         1/13/2021 Email from Brian Land to Tao Shui
                re Slide prepared for CSM continued support for
                MDM code


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Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    239         Email re ASIC Engineering Requirements
                Specification
    240         8/29/2014 Email from Erno Klaassen to
                Rommel Rodriguez and Olivia Le re
                Consolidated JD's [with attachments]
    241         Screen capture: WWDC 2020 Conference,
                https://developer.apple.com/videos/play/wwdc2
                020/101/
    242         Presentation, "Apple Health"
    243         11/9/2016 Email from Mike Oreilly to Brian
                Land re Slides
    244         Email re ASIC Engineering Requirements
                Specification
    245         Withdrawn
    246         4/26/2019 Email from Andrea Huisamen to
                Eugene Kim re Consumer blood O2 reader
    247         Apple Supplemental Rule 30(b)(6) Designations

    248         Chain email with a lst date of Dec. 14, 2021
                From athas@apple.com, To Eugene Kim, RE
                BoD Slides, with attachment, Core Technologies
                - 5 yeaar Roadmap - Noveebr 2021.key

    249         Chain email with a last date of March 11, 2022
                From Eugene Kim To Sumbul Desai, RE Fast
                Company - Rockley Phoronics is developing a
                wearable totrack blood sugar
    250         ASIC Engineering Requirements Specification
    251         Chain email with a last date of Aug. 24, 2021
                From JR Subre, To Eugene Kim, Niley Jam,
                Tim [SPG] Johnson, Tao Shui, Steve Hotelling,
                Martin Grunthaner, RE Health Sensing Gen4
                Chipset Timeline Comeback - 8/18/21 - Request
                toapprove justification with CMS, Attachments,
                CMS_Gen4_Chipset_Justification_Aug
                Approval; Health Sensing Gen4 Chipset
                Timeline - 8-18-21


    252         Withdrawn



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    253         Chain email with a last date of Mar. 22, 2021
                From June Sananikone, To Stan Ng, Eugene
                Kim, Bill Athas, Jeremy Warshauer, Eric Jue,
                Hope Giles, Dave Simon, Tom Greening, RE
                Fwd: Ethanol sensing interest?
    254         Chain email with a last date of July 27, 2018
                From Eugene Kim, To Shonn Hendee, RE
                OK2Offer for Ottavia Golfetto
    255         Chain email with a last date of May 11, 2018         11/4/2024      11/4/2024
                From Neil Martinez, To Joseph Schmitt, Erno
                Klaassen, RE OK2offer for Corneliu Raths
    256         Chain email with a last date of March 24, 2021,
                From Alex (HT) Chan, To Kornelius Raths,
                Lifeng Miao, Raghed El Bardan, RE Updated
                deck post [Preflight: Apnea and Sleep Stages]
                for 3/23Review
    257         Chain email with a lst date of Nov. 28, 2018,
                From Tim Cook, To Sumbul Desai, RE Apple
                Heart Study Methods Paper Coverage
    258         Withdrawn
    259         2/12/2013 Email from Adrian Perica to James          11/8/2024      11/8/2024
                Foster re Can we get together tomorrow to
                discuss targets? [with attachment: Rover
                Discussion 2013.02.08.key]
    260         5/30/2013 Email from Steve Hotelling to Heidi        11/8/2024      11/8/2024
                Delgado re Fwd: Key Technologies tracking
                [with attachment: Rover_0227.key]
    261         Withdrawn
    262         5/6/2013 Email from Adrian Perica to Robert
                Mansfield re Masimo - PRIVILEGED AND
                CONFIDENTIAL
    263         12/22/21 Apple presentation, "Project Everest",
                last revised October 16, 2013                        11/8/2024      11/8/2024
    264         10/16/2013 Email from Steve Hotelling to             11/8/2024      11/8/2024
                Denby Frzier, David Tom, and Robin Goldstein
                re Marcelo/Confirming next steps
    265         12/4/2013 Email from Jeff Williams to Lynn           11/8/2024      11/8/2024
                Youngs re Marcelo Lamego hiring
                recommendation




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Trial Ex. No.                     Description                         Date           Date
                                                                    Identified     Admitted
    266         5/23/2018 Apple N27A Platinum: Tracking List
                of recommended improvements
    267         Matlab Function by Marcelo Lamego and Steve
                Hotelling's team, Version 1.0
    268         Slides re N27A List of Improvements
    269         3/3/2014 Apple presentation, " N27/N127
                improvement suggestions Part 1"
    270         4/17/2014 Email from Johny Srouji to Steve             11/8/2024      11/8/2024
                Hotelling re Platinum
    272         Withdrawn
    273         3/17/2014 Email from Steve Hotelling to                11/6/2024      11/6/2024
                Marcelo Lamego re Fwd: Radar CC: Daily
                Notification [with attachment]
    274         3/19/2014 Apple presentation, " N27A |                 11/7/2024      11/7/2024
                Platinum Modulation/Demodulation Mode -
                Requirements to Accommodate AGC, OWD
                and Saturation Monitoring in Opal"
    275         Land Org. Plan for Health Sensing HW
    276         Apple’s Third Supplemental Rule 30(b)(6)
                Designations
    278         Excel spreadsheet - Apple Watch Sales                  11/7/2024      11/7/2024
    279         Excel spreadsheet - iPhone and Apple Watch             11/7/2024      11/7/2024
                Sales
    280         Withdrawn                                              11/7/2024      11/7/2024
    281         12/17/2021 Product Cost Details for Apple
                Watch, N187s
    282         3/25/2022 Product Cost Details for Apple
                Watch, N187s, 2022'FQ2
    283         Excel Spreadsheet - Apple Inc. Line of Business        11/7/2024      11/7/2024
                Report - Watch
    284         3/2/2021 Common Interest and Confidentiality
                Agreement between Apple Inc., True Wearables,
                Inc., and Marcelo Lamego
    285         Withdrawn
    286         Withdrawn
    287         Withdrawn
    288         Photo of a pirate flag flying in front of Apple's
                campus in Cupertino
    289         Photo of Apple personnel in front of pirate flag
    290         Screenshot from developer.apple.com website


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Trial Ex. No.                   Description                       Date           Date
                                                                Identified     Admitted
    291         4/21/2021 Transcript of Senate Judiciary
                Committee, Competition Policy, Antitrust, and
                Consumer Rights Subcommittee Hearing
    292         Withdrawn
    293         10/2/2013 Email from Tim Cook to Jeff              11/6/2024      11/6/2024
                Williams and Joel Podolny re Fwd: The three
                equations
    294         11/23/2013 Email from Jeff Williams to Lynn
                Youngs re Marcelo
    295         12/6/2013 Email from Jeff Williams to Denby        11/4/2024      11/4/2024
                Frazier re Marcelo Lamego hiring
                recommendation
    296         3/2/2014 Email from Marcelo Lamego to Jeff
                Williams re wrist 3d model (confidential and
                proprietary)
    297         3/27/2014 Email from Jeff Williams to Mike         11/7/2024      11/7/2024
                O'Reilly re Fwd: N27 Possibilities [with
                attachment: N27 revised.key.zip]
    298         7/1/2014 Email from Jeff Williams to Tim Cook
                re Gen 1 Alg help (Apple Confidential)
    299         3/4/2014 Email from Jeff Williams to Stephen
                Zadesky re Basis Engineers
    300         7/19/2014 Email from Tim Cook to Jeff
                Williams and Adrian Perica re Fwd: FT:
                Technology: Wear your medicine
    301         3/17/2015 Email from Denby Frazier to Mark
                Bentley re VP Medical/Jeff Wililams Hire
    302         Withdrawn
    303         1/30/2015 Email from Jeff Williams to Tim
                Cook re Fwd: N27
    304         4/16/2016 Email from Jeff Williams to Erno
                Klaassen, Eugene Kim, and Steve Hotelling re
                Fwd: Reaching out
    305         3/3/2018 Email from Jeff Williams to Stan Ng,
                Greg Joswiak, and Jay Blahnik re Fwd:
                FutureSource's Q4 Wearable Technology
                Market Update [with attachments]
    306         Withdrawn




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Trial Ex. No.                     Description                        Date           Date
                                                                   Identified     Admitted
    307         Wyatt, K., et al., "Clinical evaluation and           11/5/2024      11/5/2024
                diagnostic yield following evaulation of
                abnormal pulse detected using Apple Watch",
                Journal of the American Medical Informatics
                Association, 27(9):1359-1363 (2020)
    308         5/24/2017 Email from Ron Huang to jay
                Blahnik re CNBC Fitness trackers are terrible at
                counting calories, says Stanford study
    309         Withdrawn
    310         Withdrawn
    311         8/6/2020 Email from Sara Tavakoli to David
                Fang re Scandium Analytics [with attachment:
                ScandiumAnalytics_08_03_2020.pdf]
    312         1/22/2021 Email from Steve Waydo to Richa
                Gujarati re Customer feedback on Scandium?
    313         3/17/2021 Email from Elizabeth Encisco to
                Sumbul Ahmad Desai et al. re Core Leadership
                Followups [with attachment:
                AzulHunter_December_Quarterly_Report_Final
                .pdf]
    314         Article, "The Apple Watch's blood oxygen
                sensor is less accurate thatn you think",
                https://www.inputmag.com/tech/the-apple-
                watchs-blood-oxygen-sensor-is-less-accurate-
                than-you-think
    315         1/22/2013 Email from David Affourtit to James
                Foster re Marcelo Lamego
    316         7/3/2013 Email from Adrian Perica to Tim Cook         11/8/2024      11/8/2024
                re M&A
    317         9/11/2013 Email from Adrian Perica to Steve           11/8/2024      11/8/2024
                Hotelling and Debbie Lambert re Rover | 8/28
                [redacted]
    318         Withdrawn
    319         Withdrawn
    320         9/18/2013 Email from Valentina Marzorati to           11/4/2024      11/4/2024
                David Tom, Myra Haggerty, and Steve Hotelling
                re Project Everest [with attachment]
    321         9/18/2013 Email from David Tom to Steve
                Hotelling re Project Everest




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Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    322         ITC Ex. 124 (Waydo), Email from Steve Waydo
                to Jack Fu re Org Thoughts, 7/25/2019

    323         ITC Ex. 125 (Waydo), Email from Ian Shapiro
                to Stephen Waydo re Masimo Papers, 8/20/2013

    324         ITC Ex. 126 (Waydo), Email from Stephen
                Waydo to Rudolph van der Merwe, et al. re
                Papers of Interest, 6/12/2014
    325         ITC Ex. 127 (Waydo), Email from Steve Way
                do To Jack Fu re Order Pulse Oximeter,
                5/17/2020
    326         ITC Ex. 58 (Venugopal), Apple Engineering
                Drawing
    327         ITC Ex. 59 (Venugopal), Apple Engineering
                Drawing
    328         ITC Ex. 72 (Venugopal), Apple Presentation,
                Visual Bill of Materials, 9/22/2020
    329         ITC Ex. 73 (Venugopal), Apple Visual Bill of
                Materials, 11/10/2021
    330         Final Judgment and Permanent Injunction, Dkt.
                605, Masimo Corp. v. True Wearables, Inc., No.
                8:18-cv-02002-JVS-JDE
    331         Withdrawn
    332         7/12/2013 Email from Adrian Perica to Robert        11/4/2024      11/4/2024
                Mansfield and Joel Podolny re Joe Kiani -
                Masimo CEO
    333         Withdrawn
    334         Withdrawn
    335         9/13/2013 Email from Robert Mansfield to Jeff       11/4/2024      11/4/2024
                Dauber, Lynn Youngs, and Stephen Zadesky re
                Fwd: Sensor Slides
    336         Presentation, N27A_Sensors_0912.key                 11/4/2024      11/4/2024
                [attachment to Ex. 335 email]
    337         9/13/2013 Email from Robert Mansfield to Jony       11/4/2024      11/4/2024
                Ive re Fwd: Sensor Slides
    338         Findings of Fact and Conclusions of Law,
                Redacted, Dkt. 600, Masimo Corp. v. True
                Wearables, Inc., No. 8:18-cv-02002-JVS-JDE




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Trial Ex. No.                    Description                        Date           Date
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    339         ITC Ex. 248 (Caldbeck), Email from Paul
                Mannheimer to Jerry Huang, et al, re Apple
                Projects, 11/9/2021
    340         ITC Ex. 252 (Caldbeck), Apple Watch Series 6
                Webpages
    341         MX-1 board photo                                     11/5/2024      11/5/2024
    342         MX-3 board photo
    343         Image of Sensor                                      11/5/2024      11/5/2024
    344         4/10/2014 Email From Adrian Perica to Jeff           11/8/2024      11/8/2024
                Williams, CC O'Reilly, re WWDC Question
    345         1/22/2013 Email from James Foster to Adrian
                Perica re Lamego, with attachment
    346         Omni MedSci, Inc. v. Apple Inc. Sarrafzedeh
                Expert Report Regarding Invalidity (Unredacted
                Version of Ex. 1211)
    347         Omni MedSci, Inc. v. Apple Inc. Sarrafzedeh
                Supplemental Expert Report Regarding
                Invalidity
    348         PBS.com, The Television Program Transcripts:
                Part III, Ex. G to Masimo's Opposition to Apple
                MIL #3
    349         Apple WW Sales Selected Apple Watch Models           11/7/2024      11/7/2024
                FY22P10-FY23P03
    350         Apple's Fourth Supplemental Rule 30(b)(6)
                Designations
    351         1/2020 Presentation, "Alder: Ambient Light
                Mitigation (update)", HealthSensing HW, By
                Vivek Pant
    352         4/19/2019 Email from Aditya Dua to Ueyn
                Block re Osmium/WOOD ERS [with
                attachment: Osmium_Algorithm_flowgraph.pdf]

    353         5/20/2021 Apple presentation, "Health Sensing:       11/8/2024      11/8/2024
                Gen 4 Architecture Update"
   353C         5/20/2021 Apple presentation, "Health Sensing:       11/6/2024      11/6/2024
                Gen 4 Architecture Update" [Color]
    354         Apple presentation, "Brian Land Org", Health
                HW
    355         Technical Presentation




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Trial Ex. No.                    Description                        Date           Date
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    356         5/20/2016 Email from Stephen Waydo to Jay
                Blahnik re Apple Watch recording on a bottle of
                red wine :(
    357         9/30/2013 Email from Ehsan Maani to Chinsan
                re PIS Multi-Wavelength: Theory Refinement,
                and Experimental Control
    358         8/6/2020 Email from Sara Tavakoli to David           11/8/2024      11/8/2024
                Fang re Scandium Analytics [with attachment:
                ScandiumAnalytics_08_03_2020.pdf]
    359         3/17/2021 Email from Elizabeth Enciso to
                Sumbul Ahmad Desai et al. re Core Leadership
                Followups [with attachment:
                AzulHunter_December_Quaterly_Report_Final.
                pdf]
    360         1/22/2021 Email firom Steve Waydo to Richa
                Gujarati re Customer feedback on Scandium?
    361         Withdrawn
    362         8/26/2016 Email from Mike O'Reilly to Annil
                Sethi re this may or may not be helpful [with
                attahcment: Aesclepius V2 key]
    363         10/17/2014 Email from Tao Shui to Dong Zheng
                re [Citrine] Tx driver scheme settled
    364         11/14/2019 Apple presentation, "Scandium |
                POC review"
    365         Apple's Fourth Supplemental Rule 30(b)(6)
                Designations
    366         9/15/2021 Email from Fang Ren to pepper-data-
                reports re Pepper data report: 9/5/21 [with
                attachment: PepperDataReport_2021-09-05.pdf]

    367         Apple presentation, "Apple Watch Buyer FY21-
                Q1 Report"
   367C         Apple presentation, "Apple Watch Buyer FY21-         11/7/2024      11/7/2024
                Q1 Report" [color]
    368         2020 Apple presentation, "Apple Watch Series 6
                and Apple Watch SE"
    369         Withdrawn
    370         Withdrawn




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Trial Ex. No.                    Description                      Date           Date
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    371         10/21/2019 Email from Diego Jimenez to Stan
                Ng et al. re Apple Watch FY19-Q4 Buyer
                Report [with multiple attachments]
    372         9/2/2016 Email from Ted Butz to Stan Ng re
                Watch 5 Year Plan
    373         Withdrawn
    374         10/15/2018 Email from Deidre Caldbeck to
                Vanessa Bass re List of companies
    375         Withdrawn
    376         Withdrawn
    377         9/14/2020 Email from Mike O'Reilly to Richa
                Gujarati re Scandium
    378         10/29/2020 Email from Elise Macdonald to Stan     11/12/2024     11/12/2024
                Ng et al. re Apple Watch Series 6/SE Online
                Anthropology Deck [with attachment: Apple
                Watch 6 SE Online Anthropology_Oct2020.key]

    379         12/16/2020 Email from Eric Jue to Stan Ng re
                Marketing staff this Thursday at 10
    390         2/5/2013 Email from Michael D. Hillman to          11/8/2024      11/8/2024
                Steve Smith re Reach Out to Pulse Ox
                Companies
    391         Withdrawn
    392         4/26/2013 Email from Adrian Perica to Denby        11/8/2024      11/8/2024
                Frazier re Let's hire Mike O'Reilly
    393         5/14/2013 Email from James Foster to Adrian        11/8/2024      11/8/2024
                Perica re Masimo - PRIVILEGED AND
                CONFIDENTIAL
    394         5/16/2013 Email from Adrian Perica to Robert       11/8/2024      11/8/2024
                Mansfield re Masimo
    395         6/27/2013 Email from Adrian Perica to Peter        11/8/2024      11/8/2024
                Oppenheimer re Masimo Sensitivity
    396         Withdrawn
    397         1/20/2019 Email from Adrian Perica to Jeff         11/8/2024      11/8/2024
                Williams re Fwd: Centerview // Follow-Up
                [with attachment: 2019.01 Masimo
                Materials_vSent.pdf]
    398         2/18/2013 Email from Shonn Hendee to Adrian
                Perica re A Patch that Monitors the Body




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Trial Ex. No.                    Description                       Date           Date
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    399         Withdrawn
    400         8/20/2013 Email from Bud Tribble to James           11/8/2024      11/8/2024
                Foster re Observation
    401         12/3/2014 Email from Mike O'Reilly to Adrian
                Perica re Elfi-Tech ltd
    402         3/25/2015 Email from Adrian Perica to Marcelo
                Lamego re Thank you
    403         2/23/2018 Email from Marcelo Lamego to
                Adrian Perica and Stan Ng re Oxxiom
    404         12/7/2018 Email from Marcelo Lamego to
                Adrian Perica re Oxxiom in the Apple Store on-
                line?
    405         11/14/2019 Email from Eugene Kim to Adrian
                Perica, Steve Hotelling, and Brian Land re
                Watch With SpO2 Functionality [with
                attachment: QuickStart5.jpeg]
    406         12/21/2017 Email from Raynell Verlinden to
                Adrian Perica re Fwd: Staff Keynote 12/21
                (Flash 1) [with attachments: FQ1'18 Flash 1 on
                12:12:17.key; Q1'18 Actuals Flash to Dec Fcst
                Consolidated.xlsx (slipsheet)]
    407         Excel spreadsheet (Q1'18 Actuals Flash to Dec
                Fcst Consolidated.xlsx) [native copy of
                attachment to Ex. 406 email]
    408         8/23/2016 iMessage Chat between Adrian Perica
                and Gene Levoff re Mike
    409         2/19/2015 Email from Adrian Perica to Sean
                Mayo re 2016 Active Band Concepts
    410         5/7/2013 Email from Adrian Perica to Debbie
                Lambert re Rover Mtg Wed
    411         3/14/2014 Email from Alex Kanaris to Stephen        11/4/2024      11/4/2024
                Waydo re LED brightness modulation study
                (Marcelo's modulation schemeevaluated)

    412         3/16/2014 Email from Marcelo Lamego to Alex         11/4/2024      11/4/2024
                Kanaris re Modulation Radar [no attachment]

    413         The wort-case leakage for the dark-channel
                subtraction method is greater than ~40dB
                [attachment to Ex. 412 email]


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Trial Ex. No.                    Description                      Date           Date
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    415         3/10/2014 Apple presentation, "Quantitative        11/4/2024      11/4/2024
                Comparison of Performance of Ambient Light
                Intrusion Suppression Methods", by Alexander
                Kanaris, Rev. 3.2, 3/18/2014
    416         2/20/2014 Email from Daniel Culbert to Alex        11/4/2024      11/4/2024
                Kanaris re Fwd; Deck for Wed 2/12 exec update
                (v7)
    417         3/17/2014 Email from Marcelo Lamego to Alex
                Kanaris re Modulation Radar
    418         3/7/2014 Email from Daniel Culbert to Alex
                Kanaris re Fwd: demod discussion yesterday
                with Marcelo
    419         4-LED modulation with 50 and 60 Hz network
                rejection [attachment to Ex. 418 email]

    420         2/21/2014 Meeting Invite from Daniel Culbert
                re Chat with Marcelo - modulation
    421         Apple's Fifth Supplemental Rule 30(b)(6)
                Designations
    422         10/22/2012 Email from Bob Messerschmidt to         11/4/2024      11/4/2024
                Chinsan Han re Platinum reference sensors
    423         11/28/2012 Email from Paul Puskarich to Jay        11/4/2024      11/4/2024
                Couch re Drive/Monitor Unit for Masimo
                Sensors [with image attachment]
    424         12/18/2012 Email from Chinsan Han to Amy
                Porter re N38 Purchase Request: Pulse
                Oximeter, Cable, and Thermometers
    425                                                            11/4/2024      11/4/2024
                1/20/2013 Email from Chinsan Han to Brian
                Land and Jennifer Kong re N38 Sensing Weekly
                Exec Update [with attachments: Platinum User
                Study Summaries 2013-1-18.key;
                20130118_N38 Platinum Motion-Artifact FFT
                Analysis.key; 2013.01.16 N38 3rd Party
                Hardware Benchmarking.key]
    426         2/16/2013 Email from Chinsan Han to Jennifer       11/4/2024      11/4/2024
                Kong re N38 Platinum and ALS Sensing Update
                [with attachments: 2013.02.14 N38 3rd Party
                Hardware Relative Performance Evaluation;
                2013.02.12 N38 3rd Party Hardware
                Benchmarking.key]



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Trial Ex. No.                    Description                         Date           Date
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    427         5/7/2013 Email from Chinsan Han to Brian              11/4/2024      11/4/2024
                Land re Masimo Rainbow ReSposable probes
    428         Email thread between Prashanth Holenarsipur,          11/4/2024      11/4/2024
                Akin Kestelli, Chinsan Han, and Ehsan Maani
                Re: Platinum Motion Metrics
    429         1/14/2013 Email from Chinsan Han to Akin              11/4/2024      11/4/2024
                Kestelli re status Update (Chinsan Han, 2013-01-
                11) [with attachment: 2013.01.11 Status Update
                (Chinsan Han).key]
    430         8/15/2013 Eamil from Chinsan han to Ueyn
                Block re P1s validation/Signal Performance
                Study
    431         2/4/2012 Apple Presentation, "N38 Platinum            11/4/2024      11/4/2024
                "Best in Class" Architecture proposal" by Shau
                Cuan and Brian Land
    432         Withdrawn
    433         2/5/2015 Email from Tobias Harrison-Noonan
                to Samuel (PD) Weiss re N127 Platinum
                Kickoff [with attachment]
    434         Engineering Requirements Specification                11/6/2024      11/6/2024
    435         5/15/2015 N27A Platinum Optical ERS,
                (Engineering Requirements Specification),
                Apple Sensing Hardware, Rev.09
    436         Withdrawn
    437         Withdrawn
    438         Technical Presentation
    439         Technical Presentation
    440         3/26/2015 N27A Platinum Optical ERS,
                (Engineering Requirements Specification) Apple
                Sensing Hardware, Rev. 0.08
    441         Withdrawn
    442         Withdrawn
    443         Withdrawn
    444         Withdrawn
    446         2/27/2016 Email from Divya Nag to Myoung
                Cha re Why healthcare needs a Steve Jobs-like
                disruptor [with attachment: 11/21/14 Fast
                Company Article, "Apple's 'Pirates of Silicon
                Valley' Flag Gets Rehoisted"




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Trial Ex. No.                     Description                        Date         Date
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    447         5/26/2017 Email from Divya Nag to Brett
                Lareau re Informal design chat with Brett L.
                [with attachment: Printout of Canvas Pirate Flag
                (Hand Painted) by Susan Kare]
    448         4/24/2018 Email from Divya Nag to "pirate-
                cove" <pirate-cove@group.apple.com> re Fwd:
                Admin Professionals Day tomorrow
    449         Apple's Sixth Supplemental Rule 30(b)(6)
                Designations
    450         11/28/2016 Mack, H., "Scoop: Emails show
                FDA asked Apple to advise on Software as a
                Medical Device", MobiHealth News
    451         Withdrawn
    452         Withdrawn
    453         Withdrawn
    454         Withdrawn
    455         Withdrawn
    456         Withdrawn
    457         Withdrawn
    458         Withdrawn
    459         Withdrawn
    460         12/10/2019 Email from Denise Hackett to Divya
                re Random confidential question…
    461         Withdrawn
    462         Withdrawn
    463         Withdrawn
    464         4/11/2022 Plaintiffs' Section 2019.210
                Statement
    470         Withdrawn
    471         Withdrawn
    472         Withdrawn
    473         Withdrawn
    474         8/3/2020 Email from David Amor to Todd
                Courtney re Apple <> FDA Q200951 Follow-
                up: Blood Oxygen SaMD Feature
    475         3/10/2020 Apple Presentation, "Scandium
                Program Update"
    476         Withdrawn
    477         Withdrawn




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Trial Ex. No.                     Description                        Date         Date
                                                                   Identified   Admitted
    478         5/20/2021 Email from Mindy Harrington to
                Zahrah Zawahir et al. re 5/18 Ion notes Internal
                Health Staff: Scandium 2.0 Update [with
                attachment: Ion Health Staff update 18May2021
                copy.pdf]
    479         8/6/2021 Apple Inc. IRNF 2.0 - Traditional
                510(k)
    480         9/24/2019 Redline of Scandium 2021 Feature -
                Preliminary Regulatory Assessment
    481         1/15/2020 Email from Jerry Huang to Ravi
                Katagadda re Notes: Scandium | Design + Eng
                (1/14/20) [with attachment: FDA Pulse
                Oximeter Product Codes.pdf]
    482         10/1/2020 Apple Q202066 Meeting Minutes for
                Informal Meeting on Pulse Oximetry
    483         Withdrawn
    484         Withdrawn
    485         Withdrawn
    486         Withdrawn
    487         Withdrawn
    488         Withdrawn
    489         Withdrawn
    490         Withdrawn
    491         Withdrawn
    492         Withdrawn
    493         Withdrawn
    494         Withdrawn
    495         Withdrawn
    496         Withdrawn
    497         Withdrawn
    498         Withdrawn
    499         Withdrawn
    500         Withdrawn
    501         Withdrawn
    502         Withdrawn
    503         Withdrawn
    504         Withdrawn
    505         Withdrawn
    506         Withdrawn
    507         Withdrawn


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Trial Ex. No.                     Description                        Date           Date
                                                                   Identified     Admitted
    508         Withdrawn
    509         Withdrawn
    510         Withdrawn
    511         7/12/2013 Email from Denby Frazier to Michael         11/4/2024      11/4/2024
                O'Reilly re CEO's concern
    512         10/7/2013 Email from Mike O'Reilly to Denby           11/4/2024      11/4/2024
                Frazier re: Marcelo Lamego
    513                                                               11/4/2024      11/4/2024
                12/1/2017 Email from Anne Shelchuk to Shaun
                Phillips re: Following Up - Apple Health
    514         7/30/2018 Email from Cristiano Dalvi to Mike          11/4/2024      11/4/2024
                O'Reilly re: My Resume
    515         9/25/2014 Email from Stephen Waydo to Mike            11/4/2024      11/4/2024
                O'Reilly re: do you know Philip Perea?
    516         7/21/2015 Email from Mike O'Reilly to Sharon          11/4/2024      11/4/2024
                Omara re: Jon Coleman
    517         Withdrawn
    518         8/29/2013 Email from Mike O'Reilly to Adrian          11/4/2024      11/4/2024
                Perica re: importance of PPG
    519         8/30/2015 Email from Mike O'Reilly to Myoung
                Cha re: calendar hold for 9/23
    520         2/12/2014 Email from Mike O'Reilly to Sorin
                Dusan re: Platinum res.
    521         2/14/2014 Email from Mike O'Reilly to Michael
                Hillman re: Marcelo Lamego
    522         Withdrawn
    523         Withdrawn
    524         11/30/2015 Email from Ron Huang to Mike
                O'Reilly re: CES 2016 and Philips Wearable
                Sensing Technologies (WeST)
    525         Withdrawn
    526
                2/4/2016 Email from Mike O'Reilly to Bakul
                Patel re: IMDRF clinical evaluation for software
    527         Withdrawn
    528         Withdrawn
    529         Withdrawn
    530         Withdrawn
    531         Withdrawn




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Trial Ex. No.                    Description                     Date           Date
                                                               Identified     Admitted
    532         Personal information notice dated 7/22/13 of
                Michael O''Reilly
    533         Withdrawn
    534         Withdrawn
    535         Withdrawn
    536         5/9/2019 Email from Dong Zheng to Michael
                Eaton re: Sherlock X1767 core weekly sync
    537         Email re ASIC Engineering Requirements
                Specification
    538         ASIC Engineering Requirements Specification
    539         7/2/2019 Email from Yuta Kuboyama to Dong
                Zheng re: John Z Roadmap Update for Optical
                Sensing: Coating/Filter needsfor Audio Acc
                Prox
    540         Email re ASIC Engineering Requirements
                Specification
    541         10/17/2014 Email from Tao Shui to Dong Zheng      11/6/2024      11/6/2024
                re Re: [Citrine] Tx driver scheme settled

    542         ASIC Engineering Requirements Specification       11/4/2024      11/4/2024
    543         ASIC Engineering Requirements Specification
    544         4/29/2014 Citrine-1 ASIC Specifications and
                Requirements
    545         Email re ASIC Engineering Requirements
                Specification
    546         Email re ASIC Engineering Requirements
                Specification
    547         Email re ASIC Engineering Requirements
                Specification
    548         Email re ASIC Engineering Requirements
                Specification
    549         Email re ASIC Engineering Requirements
                Specification
    550         Email re ASIC Engineering Requirements
                Specification
    551         Withdrawn
    552         N127A Jasper/Citrine Platinum ASICS




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Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    553         2/05/2021 Excerpts of Fourth Amended
                Complaint for Patent Infringement, Trade Secret
                Misappropriation, Correction of Inventorship,
                and Ownership of Patents [redacted]

    554         10/06/2022 Expert Report of Marco Perez
    555         11/17/2022 Rebuttal Expert Report of Marco
                Perez
    556         12/14/2012 Email from Tim Cook to Adrian             11/4/2024      11/4/2024
                Perica re 10/2012 Draft Apple Rover
                Disscussion Materials
    557         Withdrawn
    558         12/20/2012 Email from Michael Hillman to             11/8/2024      11/8/2024
                James Foster re Amazon Links for Masimo
                Release of iPhone/iPad Pulse Oximeter
    559         3/22/2013 Email from Adrian Perica to Paul           11/5/2024      11/5/2024
                Jansen re NDA
    560         6/6/2013 Email from Denby Frazier to Michael
                OReilly re Meeting with Apple Tim Cook and
                Art Levnison
    561         Withdrawn
    562         Withdrawn
    563         Withdrawn
    564         Withdrawn
    565         7/12/2013 Email from Denby Frazier to Michael
                OReilly re Joe Kiana Masimo CEO's has
                Concern
    566         10/8/2013 Email from Steve Hotelling to Mike         11/6/2024      11/6/2024
                OReilly re Marcelo Lamengo Masimo Candidate
                for Apple
    567         Withdrawn
    568         Withdrawn
    569         Withdrawn
    570         9/21/2020 Email from Tim Cook to Jeff
                Williams re Thank You Note to Apple for Latest
                Apple Watch Feature
    571         How to Use the Blood Oxygen App on Apple
                Watch




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Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    605         10/8/2013 Email from Steve Hotelling to David
                Tom, Denby Frazier, James Foster, Adrian             11/8/2024      11/8/2024
                Perica et al. re Re: Marcelo Lamego
    607         12/20/2013 Offer letter from Denby Sellers to
                Marcelo Lamego
    608         12/20/2013 Offer letter from Denby Sellers to
                Marcelo Lamego
    610         7/1/2014 Email from Marcelo Lamego to Steve          11/4/2024      11/4/2024
                Hotelling, Dan Riccio, Lynn Youngs, Jeff
                Williams, Tim Cook re Re: Gen 1 Alg help
                (Apple Confidential)
    613         1/3/2014 Signed IP agreement by Marcelo
                Lamego
    614         6/30/2014 Email from Marcelo Lamego to Steve         11/4/2024      11/4/2024
                Hotelling, Tim Cook, Dan Riccio, Lynn Youngs,
                Jeff Williams re Re: Gen 1 Alg help
    616         7/1/2014 Email from Steve Hotelling to Marcelo
                Lamego, Dan Riccio, Lynn Youngs, Jeff
                Williams re Re: Gen 1 Alg help
    619         7/8/2014 Email from Donna Cerny to Marcelo
                Lamego, Donna Cerny re Separation Agreement

    620         1/22/2013 Email from David Affourtit to James
                Foster, re Marcelo Lamego
    625         1/9/2014 Email from Marcelo Lamego to Steve
                Hotelling, re Re: Welcome!
    628         12/4/2013 Email from Lynn Youngs to Denby            11/4/2024      11/4/2024
                Frazier, Steve Hotelling, Annie Classick re Re:
                Marcelo/Propsed Offer
    631         1/9/2014 Email from Denby Frazier to Steve
                Hotelling, re Marcelo/Resigned Today
    632         1/9/2014 Email from Kiani to Lamego re
                Resignation
    636         10/2/2013 Email from Mike OReilly to Denby           11/4/2024      11/4/2024
                Frazier, re Re: Marcelo Lamego
    637         1/9/2014 Email from Denby Sellers to Marcelo
                Lamego re Re: HireRight Notification:
                Completed background report for Marcelo
                Lamego - #HE-010714-PW8CE




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Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    638         11/7/2013 Email from Denby Sellers to Marcelo
                Lamego re Re: Apple/Next Steps
    639         12/9/2013 Email from Denby Sellers to Marcelo
                Lamego re Offer/Time to talk
    640         10/18/2013 Email from Denby Sellers to
                Marcelo Lamego re Re: Touching base/Next
                steps
    642         1/12/2014 Email from Marcelo Lamego to
                Denby Frazier, re Re: HireRight Notification:
                Completed background report for Marcelo
                Lamego - #HE-010714-PW8CE
    643         11/7/2013 Email from Denby Frazier to Marcelo
                Lamego, re Re: Apple/Next Steps
    645         12/9/2013 Email from Denby Frazier to Marcelo
                Lamego, re Offer/Time to talk
    646         Withdrawn
    647         1/8/2013 Email from Robert Mansfield to David
                Affourtit, Bob Mansfield, Culbert Michael,
                Foster James re Re: n38 recruiting
    648         1/22/2013 Email from James Foster to David         11/4/2024      11/4/2024
                Affourtit, re Re: Marcelo Lamego
    649         3/13/2013 Email from James Foster to David         11/4/2024      11/4/2024
                Affourtit, re Re: Interview, Greg Voss (3/12)
    650         10/16/2013 Email from Steve Hotelling to
                Denby Frazier, David Tom, Robin Goldstein,
                Mark Ryan, Lynn Youngs re Re:
                Marcelo/Confirming next steps
    651         10/30/2013 Email from Steve Hotelling to
                Denby Frazier, Myra Haggerty, Debbie Rice re
                Re: Marcelo Lamego/Cercacor (Massimo)
    652         11/19/2013 Email from Denby Frazier to Steve
                Hotelling, re Re: Feedback
    653         12/4/2013 Email from Denby Frazier to Steve
                Hotelling, Lynn Youngs, Annie Classick re
                Marcelo/Propsed Offer
    654         12/5/2013 Email from Denby Frazier to Steve
                Hotelling, Lynn Youngs, Annie Classick re Re:
                Marcelo Lamego hiring recommendation
    655         Lamego Apple personnel file



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Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    656         1/8/2014 Email from Denby Frazier to Steve
                Hotelling, Lynn Youngs re Marcelo/Update
    657         1/13/2014 Email from Denby Frazier to Annie
                Classick, Brenda Syslo, Steve Hotelling re
                Marcelo Lamego/ICT6 Hire under Steve
    658         1/11/2014 Email from Steve Hotelling to Myra        11/4/2024      11/4/2024
                Haggerty, re Re: Next Gen Investigations sync
                up
    659         1/27/2014 Email from Steve Hotelling to Jack
                Fu, Marcelo Lamego et al. re Please invite
                Marcelo
    660         6/30/2014 Email from Steve Hotelling to
                Marcelo Lamego, re Gen 1 Alg help
    661         7/1/2014 Email from Donna Cerny to Steve
                Hotelling, re Re: Gen 1 Alg help
    662         7/7/2014 Email from Apple HR to Marcelo
                Lamego, re Leaving Apple.
    663         Unsigned settlement and release between
                Lamego and Apple
    664         12/3/2013 Email from Lan Nguyen to Steve
                Hotelling, re Re: Recruiting from Masimo
    665         11/23/2013 Email from Jeff Williams to Lynn
                Youngs, Steve Hotelling re Re: Marcelo
    666         12/6/2013 Email from Dan Riccio to Lynn
                Youngs, Jeff Williams, Steve Hotelling, Brent
                Batis, Denby Frazier, Mark Bentley re Re:
                Marcelo Lamego hiring recommendation
    667         12/7/2013 Email from Dan Riccio to Lynn
                Youngs, RON Hernandez, Steve Hotelling, Jeff
                Williams, Rani Roley, Chris Sherman re Re:
                Marcelo Lamego hiring recommendation
    668         12/20/2013 Email from Denby Frazier to Steve
                Hotelling, Lynn Youngs re Re: Offer Extended -
                request for Marcelo / Lynn chat
    669         7/2/2014 Email from Jeff Williams to Tim
                Cook, Dan Riccio re Re: Gen 1 Alg help (Apple
                Confidential)
    670         Apple Business Conduct policy
    671         1/22/14 Radar titled Employee: Marcelo
                Lamego


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Trial Ex. No.                     Description                       Date           Date
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    672         10/7/2013 Email from Mike OReilly to Denby           11/4/2024      11/4/2024
                Frazier, Steve Hotelling, James Foster re Re:
                Marcelo Lamego
    675         Withdrawn
    676         Withdrawn
    677         U.S. Patent No. 6,229,856                            11/5/2024      11/5/2024
    678         U.S. Patent No. 5,800,348
    679         U.S. Patent No. 8,358,075
    680         U.S. Patent No. 6,579,231 B1
    681         Source Code
    682         Withdrawn
    683         Source Code
    684         Source Code
    685         Source Code
    686         Source Code
    687         Withdrawn
    688         Withdrawn
    689         Withdrawn
    690         Withdrawn
    691         Withdrawn
    692         Withdrawn
    693         Withdrawn
    694         10/2022 Blood Oxygen app on Apple Watch
                (https://www.apple.com/healthcare/docs/site/Blo
                od_Oxygen_app_on
                12 _Apple_Watch_October_2022)
    695         10/2022 Blood Oxygen app on Apple Watch
    696         "Medical electrical equipment - Part 2-61:           11/6/2024      11/6/2024
                Particular requirements for basic safety and
                essential performance of pulse oximeter
                equipment", Second Edition, International
                Standard, ISO 80601-2-61
    697         05/2015 Article Appeared in the Issue of
                WIRED iPhone Killer: The Secret History of the
                Apple Watch
    698         05/2015 Article Appeared in the Issue of
                WIRED iPhone Killer: The Secret History of the
                Apple Watch Article




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Trial Ex. No.                    Description                       Date           Date
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    699         05/2015 Article Appeared in the Issue of
                WIRED iPhone Killer: The Secret History of the
                Apple Watch Article
    700         5/1/2009 Email from Greg Olsen to Marcelo
                Lamego re Finger biometric alignment and
                identification
    701         Finger Biometric Alignment and Identification
                pdf (collection of documents) [attachment to
                Olsen Ex. 4 email]
    702         10/13/2004 Laboratory Notebook No. 301              11/6/2024      11/6/2024
                Issued to David Dalke
    703         Laboratory Notebook No. 00295 issued on             11/6/2024      11/6/2024
                07/14/2004 to Bob Smith
    704         08/19/2005 Email from Ammar Al-Ali to               11/5/2024      11/5/2024
                Mohamed Diab et al., re Rainbow Technology
                Open Issues [with attachment: "Rainbow
                Technology Issues 8-18-2005.doc"]
    705         Email from Steve Hotelling to Todd Whitehurst
                Re: Please invite Marcelo
    706         Email from Lynn Youngs to Steve Hotelling,          11/8/2024      11/8/2024
                Denby Sellers Re: Offer Extended - request for
                Marcelo / Lynn chat
    707         Email from Lamego to Kim Nguyen Re: Rory
                Carrillo - Medical Device Consultant, MS Cal
                Poly
    708         Withdrawn
    709         Email from Josh Thompson to O'Reilly Re:
                Mohammad Al-Sharif CV
    710         Withdrawn
    711         Email from O'Reilly to Amer Haider Re: From
                Doctella - update on cloud
    712         Email from O'Reilly to Sellers Re: Marcelo
    713         Email from Denby Frazier to Marcelo Lamego
                Re: availability for call
    714         Email from Kanaris to Culbert, Waydo, and
                Block Re: Largue user study action items
    715         Email from Dan Ryan to Daniel Culbert Re:
                Manan Goel - Algorithms
    716         Withdrawn
    717         Withdrawn


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Trial Ex. No.                    Description                       Date           Date
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    718         Email from Neil Martinez to Klaassen Re: pls
                approve Cornelius offer in Merlin
    719         Withdrawn
    720         Withdrawn
    721         Printout of Lamego's LinkedIn
    722         Email from Hotelling to Lamego Re: Rover
                changes from Sensing HW team
    723         Spreadsheet with job opening requirements
    724         Email from Klaassen to Hotelling, Land, and
                Kim Nguyen Re: [Req#36210201 Initiated]
                Candidate: Paul Mannheimer, Slot Code:
                Marcelo's Replacement
    725         N27A Feasibility Check: SpO2 Manual
    726         Email from Waydo to Lamego Re:
                Opal/Platinum DCS results
    727         Withdrawn
    728         Email from O'Reilly to Pekka Talke Re: PI talk

    729         Withdrawn
    730         Email from Adrian Perica to Paul Jansen re
                Time to talk regarding Masimo's medical
                products
    731         Withdrawn
    732         Email from Ben Silva to Waydo Re: Notes
                (5/18/16): Erbium Cross Functional Team
                Meeting
    733         Email thread between Mike O'Reilly, Afshad
                Mistri, and Divya Nag Re: How a biomedical
                expert inspired Apple to create ResearchKit
    734         Withdrawn
    735         Email thread between Adrian Perica, Mike
                O'Reilly, and Brian Land Re: Confirmed Onsite
                Interview Schedule for Paul Mannhemier on
                Wednesday, October 1, 2014
    736         Email from Waydo to Xiao Jin Re: A bad new, a       11/8/2024      11/8/2024
                good new, and a thought…
    737         Email from Sara Tavakoli to David Fang re
                Scandium Analytics attaching Scandium
                Scorecard
    738         Withdrawn


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Trial Ex. No.                    Description                       Date           Date
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    739         Withdrawn
    740         Withdrawn
    741         Email from Tao Shui to Klaassen and Zheng Re:
                Input from Shahrooz on Citrine Mod/Demod

    742         Keynote titled Azul/Hunter Analytics Through
                December 31,2020
    743         Email from Shankar Pennathur to James Foster
                Re: Some roadmap thoughts
    744         N27A Sensors High Level User Specifications
                Manual
    745         Email from Todd Whitehurst to James Foster
                Re: Sensor slides - rough draft
    746         Withdrawn
    747         Keynote titled Scandium Update
    748         Email from O'Reilly to Land, Waydo, Klaassen,
                and Kim Re: Slides
    749         Withdrawn
    750         Email from Klaassen to Albert Cerussi, Land,
                and Mannheimer Re: non invasive HB
                measurement
    751         Email from Daniel Culbert to Ehsan Maani Re:        11/8/2024      11/8/2024
                Health Sensor features roadmap attaching SpO2
                Analysis.zip
    752         Email from Hotelling to Donna Cerny Re: N27
                Possibilities
    753         Withdrawn
    754         Email from Hotelling to Debbie Rice and Donna
                Cerny Re: Update Marcelo
    755         Keynote titled N27/N127 improvement
                suggestions Part 1
    756         Keynote titled N27/N127 improvement
                suggestions Part 1
    757         5/3/2013 Masimo Meeting invite
    758         Withdrawn
    759         Email from Sellers to Mark Ryan and Mark
                Bentley Re: Linkedin
    760         Letter dated June 24, 2013 to Michael O'Reilly
                from Denby Frazier Re Offer position of VP,
                Medical Technologies at Apple


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Trial Ex. No.                    Description                     Date           Date
                                                               Identified     Admitted
    761         2013-10-30 Frazier email re Lamego
    762         Apple emails re Lamego interview
    763         Lamego email to Apple re start date
    764         Apple emails re Lamego acceptance
    765         US9861305(B1,X601).pdf
    766         Withdrawn
    767         Marcelo Lamego personnel file # 2
    768         Email chain with Kiani and Lamego re Apple        11/5/2024      11/5/2024
                recruiting
    769         5/19/2009 Masimo Labs Employee                    11/6/2024      11/6/2024
                Confidentiality Agreement - Marcelo Lamego
    770         Lamego Employee Termination Form
    771         Email from Kiani to O'Reilly Re: Apple            11/5/2024      11/5/2024
                Recruiter
    772         Lamego Workshop 13
    773         Email from MFI Program Team to Crystal Wei
                Re: Unable to access Mfi program; Follow-up:
                758634255
    774         US Pat Pub 20100030040.pdf
    775         US Pat Pub 20110082711.pdf
    776         US Pat Pub 20060211924.pdf                       11/12/2024     11/12/2024
    777         DR30477D.pdf                                      11/5/2024      11/5/2024
    778         1/24/2014 Letter from Steve Jensen to Tim
                Cook re Employee Obligations of Marcelo
                Lamego
    779         Withdrawn
    780         2013-09-28 Lamego email to Kiani re AP            11/5/2024      11/5/2024

    781         Vital Signals Incorporated - Business Plan        11/5/2024      11/5/2024
                (August 1989)
    782         Masimo office photos                              11/5/2024      11/5/2024
    783         Email from Joe Kiani to Michael O;Reilly re
                Important News
    784         7/20/2012 Email from Jesse Chen to Arun           11/6/2024      11/6/2024
                Panch, Marcelo Lamego, Sean Merritt, Mathew
                Paul re RE: package for Masimo
    785         BusinessWire article: Medical Pioneer Masimo
                Announces the Full Market Consumer Release
                of the Masimo W1, the First Watch to Offer
                Accurate, Continuous Health Data



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Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    786         2014-01-09 Lamego resignation email and Kiani        11/5/2024      11/5/2024
                response
    787         Masimo Laboratories, Inc. Certificate of
                Incorporation
    788         Kiani resignation letter to Newport Medical
                (April 11, 1989)
    789         Mutual Release between Newport Medical and
                Joe Kiani
    790         Kiani Decl. (April 1, 2003)
    791         2013-01-10 Email chain between Lamego and
                David Affourtit
    792         TW Press Releases (Jan. 4, 2016 - Apr. 8, 2016)

    793         J.G. Webster, Design of Pulse Oximeters              11/6/2024      11/6/2024
    794         Laboratory Notebook No. 13 issued on
                06/17/1992 to Bob Smith (returned on
                10/15/1992)
    795         US10219754(B1).pdf                                   11/6/2024      11/6/2024
    796         Withdrawn
    797         Hummingbird binder
    798         1994-09-20_Diab notebook                             11/5/2024      11/5/2024
    799         Withdrawn
    800         Rainbow Powerpoint Presentation (Rainbow
                Final Format_Prash.ppt)
    801         10/14/2014 Email from
                NewContactWins@masimo.com to Masimo
                Team - All re Big Rainbow Sales - Olathe,
                Kansas Fire Departments
    802         10/22/2013 Email from
                NewContactWins@masimo.com to Masimo
                Team - All re Big Rainbow Sale - Bolivar
                Medical Center
    803         10/22/2013 Email from
                NewContactWins@masimo.com to Masimo
                Team - All re New Hospital Win - Bingham
                Memorial Hospital
    804         11/19/2014 Email from to Masimo Team - All,
                re New Hospital Win - Drew Memorial Hospital




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Trial Ex. No.                   Description                       Date           Date
                                                                Identified     Admitted
    805         11/18/2014 Email from to Masimo Team - All,
                re Big rainbow Sale - San Diego Urban
                Search/Rescue
    806         10/6/2013 Email from Prashanth Iyengar to
                Mohamed Diab, re Rainbow Presentation
    807         Rainbow Final Format.ppt
    808         Marcelo Lamego's Personnel File                    11/6/2024      11/6/2024
    809         Marcelo Lamego Employment History
    810         JTX 0307 - 2000-06-26 Lamego Confidentiality       11/6/2024      11/6/2024
                Agreement.pdf
    811         Lab Notebook 241 - 2002 Dalke.pdf                  11/6/2024      11/6/2024
    812         Time Division Multiplexing (Walt Weber binder
                notes)
    813         7/1/2003 Email from Jim Coffin to Jim Coffin
                Al-Ali Lamego, Mohamed Diab re Review
                Rainbow raw die data/centroid analysis
    814         10/22/2004 Email from Ammar Al-Ali to
                Ammar Al-Ali Schmidt Abdul-Hafiz Novak
                Smith Dalke Rumbaugh Weber Pishney Trinh
                Diab Lamego Al-Rawi Hehre, Ron Coverston re
                Rainbow Group Meeting
    815         2/10/2004 Email from Walt Weber to Ammar
                Al-Ali Schmidt Coverston, re Initial Rainbow
                Task List
    816         Rainbow Task List.doc
    817         11/4/2004 Email from Ammar Al-Ali to Ammar
                Al-Ali Diab Lamego Weber, re Rainbow
                Algorithms
    818         12/3/2003 Email from Marcelo Lamego to Walt
                Weber, Ammar Al-Ali Diab re Software fix for
                rainbow sensor H series
    819         3/21/2005 Email from Ammar Al-Ali to Ammar
                Al-Ali Coverston Smith Dalke Flood Pishney
                Lamego Diab Mangosing Trinh Rumbaugh
                Weber Abdul-Hafiz Schmidt, re Rainbow
                Project Status and Update
    820         9/28/2004 Email from Ammar Al-Ali to Ammar
                Al-Ali Lamego Diab Weber, re Rainbow




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Trial Ex. No.                   Description                      Date           Date
                                                               Identified     Admitted
    821         10/6/2004 Email from Ammar Al-Ali to
                Mohamed Diab Lamego Weber, Ammar Al-Ali
                re Rainbow Open Issues
    822         10/8/2004 Email from Philip Trinh to Philip
                Trinh Rumbaugh Diab Al-Ali Weber Lamego
                Abdul-Hafiz Hehre Pishney, re Rainbow
                Characterization Tool brainstorm
    823         11/18/2004 Email from Jim Coffin to Jim
                Coffin Al-Ali Diab Lamego Bhaumik, re
                Meeting with III-V Compounds' Thomas Guan

    824         12/10/2004 Email from Philip Trinh to Philip
                Trinh Smith Lamego Abdul-Hafiz Rumbaugh Al-
                Ali, re Rainbow Sensor Characterization
                System Design
    825         8/18/2005 Email from Ammar Al-Ali to Ammar       11/12/2024     11/12/2024
                Al-Ali Lamego Weber Diab, re Rainbow
                Calibration
    826         9/19/2005 Email from Ammar Al-Ali to Ammar
                Al-Ali Diab Lamego Weber, re Rainbow

    827         9/5/2003 Dalke notebook                           11/6/2024      11/6/2024

    828         7/21/2006 Email from Marcelo Lamego to Joe        11/5/2024      11/5/2024
                Kiani, Mohamed Diab Lamego re List of new(?)
                ideas
    829         Test Report, Rainbow Single Patient Adhesive
                Sensor, Test Report R-TR15529A.doc
    830         2/9/2007 Email from Joe Kiani to Masimo Team      11/5/2024      11/5/2024
                - All re Marcelo Lamego
    831         Pronto-7 (User-Manual-1251764).pdf                11/5/2024      11/5/2024

    832         Poeze Notebook                                    11/5/2024      11/5/2024
    833         1/7/2009 Email from Marcelo Lamego to 'Sean
                Merritt', re template
    834         7/20/2012 Email from Arun Panch to Jesse
                Chen, Marcelo Lamego, Sean Merritt, Mathew
                Paul re RE: package for Masimo




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Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    835         7/20/2012 Email from Jesse Chen to Sean
                Merritt, Mathew Paul, Marcelo Lamego, re RE:
                Cercacor Requests
    836         8/15/2012 Email from Arun Panch to Marcelo
                Lamego et al., re Pronto-7 sourcefiles
                transferred to Masimo
    837         7/22/2012 Email from Prashanth Iyengar to
                Anand Sampath, re RE: package for Masimo
    838         6/5/2012 Email from Joe Kiani to Marcelo
                Lamego, re RE: Cercacor Requests
    839         6/4/2012 Email from Arun Panch to Sean
                Merritt, Marcelo Lamego, re FW: Cercacor
                Requests
    840         Pronto-7 Value Table.xls
    841         6/5/2012 Email from Marcelo Lamego to Joe
                Kiani, re RE: Cercacor Requests
    842         6/5/2012 Email from Marcelo Lamego to Jesse
                Chen, Mathew Paul, re FW: Cercacor Requests

    843         Pronto-7 Value Table.xls
    844         6/4/2012 Email from Marcelo Lamego to Joe
                Kiani, re FW: Cercacor Requests
    845         Pronto-7 Value Table.xls
    846         1/31/2014 Apple slide show entitled "Fitness
                and wellness technology development"
    847         Radar: N27A Platinum: Tracking List of             11/7/2024      11/7/2024
                recommended improvements
    848         3/11/2014 Email from Vik Gowreesunker to
                Brian Land, Marcelo Lamego, Louis Bokma,
                Dong Zheng re Re: Opal 2 proposal
    849         Citrine ASIC Engineering Requirements
                Specification
    850         3/14/14 Email from Dong Zheng to Marcelo
                Lamego, Brian Land re Re: amethyst asic
    851         5/15/2014 Email from Marcelo Lamego to , re        11/6/2024      11/6/2024
                template
    852         3/20/2014 Email from Marcelo Lamego to Ian         11/6/2024      11/6/2024
                Shapiro, Nima Ferdosi re Re: matlab templates




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Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    853         3/19/2014 Email from Marcelo Lamego to Ian           11/6/2024      11/6/2024
                Shapiro, Nima Ferdosi, re matlab templates
    854         3/19/2014 Email from Ian Shapiro to Marcelo
                Lamego re Re: matlab templates with
                attachment
                OpalModDemod_SignalHandling_ishapiro_031
                914.key.zip
    855         3/20/2014 Email from Ian Shapiro to Marcelo          11/6/2024      11/6/2024
                Lamego, Nima Ferdosi re Re: matlab templates

    856         3/19/2014 Email from Marcelo Lamego to Ian
                Shapiro re Re: matlab templates
    857         3/20/2014 Email from Marcelo Lamego to Nima
                Ferdosi, Ian Shapiro re Re: Mod/Demod
                algorithm deep-dive
    858         Graph, "One Cap LPF vs. cross coupled two cap
                LPF"
    859         6/18/2014 Apple Citrine ASIC Engineering            11/12/2024     11/12/2024
                Requirements Specification, Rev. 0.1
    860         9/17/2014 Email from Shafiq Jamal to Kambiz
                Shoarinejad, Min Gyu Kim, Broadcom-Citrine-
                coreteam-list, citrine-coreteam re Citrine: ERS
                v1.3
    861         Citrine ASIC Engineering Requirements
                Specification
    862         6/30/2014 Email from Marcelo Lamego to Steve
                Hotelling, Tim Cook, Dan Riccio, Lynn Youngs,
                Jeff Williams re Re: Gen 1 Alg help
    863         1/22/2014 Email from Alex Kanaris to Daniel
                Culbert, Alex Kanaris re Re: The DC
                component of ambient light - PREVIEW OF
                MY REPLY TO DONG
    864         1/30/2014 Email from Dong Zheng to Alex
                Kanaris, Brian Land, Chinsan Han, Daniel
                Culbert, Justin Shi re Re: The DC component of
                ambient light
    865         Citrine ASIC Engineering Requirements
                Specification
    866         Radar: LED brightness modulation study
                (including Marcelo's model)


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Trial Ex. No.                     Description                        Date           Date
                                                                   Identified     Admitted
    867         N27A Platinum Modulation/Demodulation +-
                HPF: Proposed Scan Plan to Accomodate
                Concurrent AGC and OWD slide deck
    868         9/24/2014 Email from Tao Shui to Keith Evans,
                Carlos Pineiro Cordero, , Broadcom-Citrine-
                coreteam-list, Bahjat Zafer re Re: Citrine: Some
                questions about ERS Rev1.3
    869         9/9/2014 Email from shiqin wang to Dong
                Zheng et al. re Re: Citrine ERS rev1.1 as of
                09/05/2014
    870         9/16/2014 Email from Tao Shui to Kambiz
                Shoarinejad, citrine-coreteam, Alex Chwu et al.
                re Re: Citrine: ERS 1.2 Questions on Digital

    871         10/7/2014 Email from shiqin wang to , Dong
                Zheng et al. re Re: Citrine: A couple of new
                updates
    872         9/9/2014 Email from Min (Zhongmin) Zhang to
                Dong Zheng et al. re RE: Citrine ERS rev1.1 as
                of 09/05/2014
    873         9/8/2014 Email from Keith Evans to Dong
                Zheng et al. re RE: Citrine ERS rev1.1 as of
                09/05/2014
    874         7/24/14 Email from Tao Shui to Dong Zheng re
                PSM support in Citrine?
    875         Email from Vivek Plant to Na Huang et al.
                attaching Alder Ambient Light Impact Study
    876         2021-10-01 Meeting notes - PPG Platform Sync

    877         2021-10-15 Meeting notes - PPG Platform Sync

    878         2007 Diab Notebook
    879         Withdrawn
    880         Lamego matlab script                                  11/6/2024      11/6/2024
    881         Diab's Notebook (1994-1996)                           11/5/2024      11/5/2024

    882         Excerpt from Diab Notebook
    883         Disp_620_805_1.S2
   883.1        File properties for Disp_620_805_1.S2
    884         Withdrawn


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Trial Ex. No.                   Description                Date         Date
                                                         Identified   Admitted
    885         Withdrawn
    886         Withdrawn
    887         Withdrawn
    888         Withdrawn
    889         Withdrawn
    890         Withdrawn
    891         Withdrawn
    892         Withdrawn
    893         Withdrawn
    894         Withdrawn
    895         Withdrawn
    896         Disp_620_805_1.s1
   896.1        File properties for Disp_620_805_1.s1
    897         Disp_620_805_1.s0
   897.1        File properties for Disp_620_805_1.s0
    898         Withdrawn
    899         Disp_620_805_1.CDB
   899.1        File properties for Disp_620_805_1.CDB
    900         Withdrawn
    901         Withdrawn
    902         Withdrawn
    903         Withdrawn
    904         Withdrawn
    905         Withdrawn
    906         Withdrawn
    907         Withdrawn
    908         Withdrawn
    909         Withdrawn
    910         Withdrawn
    911         RoomAirTest1.xls
   911.1        File properties for RoomAirTest1.xls
    912         RoomAirTest2.xls
   912.1        File properties for RoomAirTest2.xls
    913         Withdrawn
    914         Withdrawn
    915         Withdrawn
    916         Withdrawn
    917         Withdrawn
    918         Withdrawn
    919         Withdrawn


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Trial Ex. No.                     Description                 Date           Date
                                                            Identified     Admitted
    920         Marcelo_J5057_RM_Norm_IN_1.mat
   920.1        File properties for
                Marcelo_J5057_RM_Norm_IN_1.mat
    921         Withdrawn
    922         Withdrawn
    923         Withdrawn
    924         Withdrawn
    925         Mohamed_J5057_RM_Norm_IN_2.mat
   925.1        File properties for
                Mohamed_J5057_RM_Norm_IN_2.mat
    926         Withdrawn
    927         Marcelo_BpadsBottom_J4968.mat
   927.1        File properties for
                Marcelo_BpadsBottom_J4968.mat
    928         Marcelo_BShoe_Index_J4969.mat
   928.1        File properties for
                Marcelo_BShoe_Index_J4969.mat
    929         Marcelo_BShoe_Middle_J4969.mat
   929.1        File properties for
                Marcelo_BShoe_Middle_J4969.mat
    930         .mat file
   930.1        File properties for .mat file
    931         .mat file
   931.1        File properties for .mat file
    932         .mat file
   932.1        File properties for .mat file
    933         .mat file
   933.1        File properties for .mat file
    934         Withdrawn
    935         Protocol/Test Procedure Rainbow Sensor R-      11/5/2024      11/5/2024
                TP13980B.DOC
    936         Protocol/Test Procedure Pronto-7               11/5/2024      11/5/2024

    937         Protocol/Test Procedure; Forehead Sensor       11/5/2024      11/5/2024
                TP16811A.doc
    938         Picture of Test Box                            11/5/2024      11/5/2024

    939         Picture of Test Box Instructions               11/5/2024      11/5/2024

    940         ALL_BPad_DCI.jpg                               11/5/2024      11/5/2024



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Trial Ex. No.                    Description              Date           Date
                                                        Identified     Admitted
    941         BPad_Disposable_1.jpg                      11/5/2024      11/5/2024

    942         ExperimentLog.doc
   942.1        File properties for ExperimentLog.doc
    943         Withdrawn
    944         Withdrawn
    945         Withdrawn
    946         Withdrawn
    947         Withdrawn
    948         Withdrawn
    949         Withdrawn
    950         Testing Document
   950.1        File properties for Testing Document
    951         Withdrawn
    952         Withdrawn
    953         Withdrawn
    954         Testing Document
   954.1        File properties for Testing Document
    955         Withdrawn
    956         Withdrawn
    957         Withdrawn
    958         Withdrawn
    959         Testing Document
   959.1        File properties for Testing Document
    960         Withdrawn
    961         Withdrawn
    962         Withdrawn
    963         Withdrawn
    964         Withdrawn
    965         Withdrawn
    966         Withdrawn
    967         Testing Document
   967.1        File properties for Testing Document
    968         Testing Document
   968.1        File properties for Testing Document
    969         Withdrawn
    970         Testing Document
   970.1        File properties for Testing Document
    971         Withdrawn
    972         Withdrawn


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Trial Ex. No.                   Description                      Date         Date
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    973         Withdrawn
    974         Withdrawn
    975         Withdrawn
    976         Withdrawn
    977         Withdrawn
    978         Withdrawn
    979         Withdrawn
    980         Withdrawn
    981         Withdrawn
    982         Withdrawn
    983         Withdrawn
    984         Withdrawn
    985         Withdrawn
    986         Withdrawn
    987         Withdrawn
    988         Testing Document
   988.1        File properties for LPTestwoCage_Mopinky1.S2

    989         Testing Document
   989.1        File properties for LPTestwCage_Mopinky1.S2

    990         Withdrawn
    991         Withdrawn
    992         Testing Document
   992.1        File properties for LPTestwoCage_Mopinky1.S1

    993         Testing Document
   993.1        File properties for LPTestwCage_Mopinky1.S1

    994         Withdrawn
    995         Withdrawn
    996         Testing Document
   996.1        File properties for LeakageTest.mcd
    997         CalcLeak.pdf
    998         Testing Document
   998.1        File properties for LPTestwoCage_Mopinky1.S4

    999         Testing Document
   999.1        File properties for LPTestwCage_Mopinky1.S4




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Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    1000        Withdrawn
    1001        Withdrawn
    1002        Withdrawn
    1003        Testing Document
   1003.1       File properties for LPTestwoCage_Mopinky1.S0

    1004        Withdrawn
    1005        Testing Document
   1005.1       File properties for LPTestwCage_Mopinky1.S0

    1006        Testing Document
   1006.1       File properties for LPTestwoCage_Mopinky1.S3

    1007        Testing Document
   1007.1       File properties for LPTestwCage_Mopinky1.S3

    1008        Withdrawn
    1009        Withdrawn
    1010        Withdrawn
    1011        Withdrawn
    1012        Withdrawn
    1013        Testing Document
   1013.1       File properties for
                LPTestwoCage_Mopinky1.cdb
    1014        Withdrawn
    1015        Testing Document
   1015.1       File properties for LPTestwCage_Mopinky1.cdb

    1016        Meeting Minutes Modular Rainbow Sensor               11/5/2024      11/5/2024
                Design
    1017        Masimo Corp. Research Tax Credit Analysis,
                Subject Matter Expert Resume (713 Rainbow
                Sensors2010 - Yassir A.DOC)
    1018        Test 1 (MasimoLabs Document Cover                    11/6/2024      11/6/2024
                Sheet.doc)
    1019        6/29/2007 Email from Hung Vo to Marcelo
                Lamego, re RE: List with outstanding issues for
                next phase
    1020        Phase II, Hummingbird Project (outstanding
                list.doc)


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Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    1021        2/6/2010 Email from Marcelo Lamego to Sean
                Merritt
    1022        9/26/2006 Email from Marcelo Lamego to Sean        11/5/2024      11/5/2024
                Merritt
    1023        9/22/2006 Email from Marcelo Lamego to Sean
                Merritt Diab
    1024        notes
    1025        11/25/2008 Email from Sean Merritt to Marcelo
                Lamego Dalvi Vo Bruinsma Poeze Lesmana
                Rosario, re December plan
    1026        December PLAN.doc
    1027        Presentation Figures
    1028        Next_Steps_September_02_2008.ppt
    1029        First_phase_Argose.ppt
    1030        outstanding list.doc
    1031        Hummingbird Phase 2 (sean).doc
    1032        Assembly/Design Requirement, Pronto 7 AP
                Sensor Design Requirements (ADRxxxxA-
                APtHb_sensor.docx)
    1033        Masimo Presentation (Glucose.ppt)
    1034        Budgetary Plan (10-21-2010).pptx
    1035        Cercacor Board meeting (10-21-2010)[1].pptx

    1036        Cercacor Board meeting (10-21-2010).pptx
    1037        5/7/2011 Email from Marcelo Lamego to
                Howard Chan re Change Order 1892 has been
                APPROVED and is ready to be RELEASED

    1038        ADR-1003G-redline.docx
    1039        714 Masimo Labs - Memo update 2008.doc
    1040        Pronto 7 Sensor Best Practices v3.ppt
    1041        Picture of Masimo Sensor (picture 2.png)           11/5/2024      11/5/2024
    1042        Assembly Design Specification Neo-L and Inf-L
                Sensors Assembly Design Specifications
                ADS1232B
    1043        Assembly Design Specification Trauma Sensor
                Assembly Design Specification ADS1253B
    1044        Assembly Design Specification Neo-Pt-L Sensor
                Assembly Design Specification ADS1254B




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Trial Ex. No.                    Description                        Date           Date
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    1045        Fixture; Forehead Sensor DR-83005                    11/5/2024      11/5/2024

    1046        N27A: Platinum Exec Status _ 03-04-2014
    1047        3/17/2014 Email from Steve Hotelling to
                Marcelo Lamego, Brian Land re Fwd: Radar
                CC: Daily Notification with attachment
                PastedGraphic-4.png
    1048        Email from Marcelo Lamego to Mike Oreilly re
                This is slide describing what I believe is
                possible to implement in arevised N27/N127
                attaching It is possible to implement 6
                functionalities in a revised N27 slide deck
    1049        Fitness and wellness technology development
                slide deck
    1050        Email from Marcelo Lamego to Steve Hotelling
                re Gen 1 alg help attaching List with potential
                improvements for the N27 slide deck
    1051        N27 Revised slide deck
    1052        Fitness and Wellness Technology Development

    1053        Amended and retstated service agreement
    1054        Lamego Video (movie_with_wrist-
                pulse_ox_prototype_demo.mov)
    1055        4/1/2014 Email from Dong Zheng to Brian
                Land, Marcelo Lamego, Albert Wang re Sensor
                flex Tx & Rx crosstalk issue
    1056        4/6/2014 Email from Dong Zheng to Brian
                Land, Prashanth Holenarsipur, Albert Wang,
                Navid Moghadam, Marcelo Lamego re Sensor
                flex tx/rx crosstalk
    1057        4/9/2014 Email from Dong Zheng to Brian
                Land, Marcelo Lamego et al. re Sensor flex/Opal
                DC Tx/Rx crosstalk
    1058        6/20/2014 Email from Xiaoyi Mu to , Cat Tran,
                Tobias Harrison-Noonan re Re: mockup xtalk

    1059        N27A Platinum Core Module: AGENDA slide
                deck
    1060        N127A Platinum Sensor Development
                Overview slide deck


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Trial Ex. No.                     Description                       Date           Date
                                                                  Identified     Admitted
    1061        N27A Platinum External System HW ERS                 11/7/2024      11/7/2024
    1062        5/6/2014 Email from Alvin Hilario to Brian
                Land et al. re Re: 042714 Platinum Proto N REL
                Update
    1063        Email from Jennifer Kong re N27A Platinum            11/7/2024      11/7/2024
                Exec Update _0520_ with attachment N27A
                Platinum Agenda slide deck
    1064        N27A Platinum Agenda slide deck                      11/6/2024      11/6/2024
    1065        5/20/2014 Email from Justin Shi to Alvin
                Hilario, Jennifer Kong, Brian Land, Jason Huey
                re Re: Platinum Exec Agenda _ 0520 with
                attachment Optical Leakage REL
                05192014.key.zip
    1066        6/1/2015 Email from Guocheng Shao to Ueyn           11/12/2024     11/12/2024
                Block, Tobias Harrison-Noonan, Xiaoyi Mu re
                Re: Glass BC Xtalk test results
    1067        Engineering Requirements Specification
    1068        Technical Specification                              11/6/2024      11/6/2024
    1069        Watch Series 5 Hardware Verification Report          11/6/2024      11/6/2024
                for Irregular rhythm notification 2.0 (IRN2.0)
    1070        Technical Presentation                               11/6/2024      11/6/2024
    1071        Email from Kevin Wen to Benjamin Grena re
                ERS Test Plan
    1072        N187 Tissue simulations                              11/6/2024      11/6/2024
    1073        PastedGraphic-6.png
    1074        N64 BC Test Fixture Experiment Results slide
                deck
    1075        11/9/2018 Email from Mathieu Charbonneau-            11/6/2024      11/6/2024
                Lefort to Ueyn Block, re Scandium cross-talk
                spec
    1076        T393 - Impact of optical cross-talk slide deck       11/6/2024      11/6/2024
    1077        2/18/2019 Email from Amanda Simon to Steve           11/6/2024      11/6/2024
                Hotelling, Chris Prest, Martin Grunthaner, Shin
                John Choi, Sumant Ranganathan, Graham
                Townsend re Re: Materials For Future Sensors

    1078        Technical Presentation                               11/6/2024      11/6/2024
    1079        Scandium Discussion slide deck                       11/6/2024      11/6/2024
    1080        Technical Presentation                               11/6/2024      11/6/2024
    1081        Technical Presentation                               11/6/2024      11/6/2024



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Trial Ex. No.                   Description                     Date           Date
                                                              Identified     Admitted
    1082        Email from Mohamed Diab to Marcelo Lamego,
                Ammar Al-Ali, Bob Smith, David Dalke

   1082.1       Email from Mohamed Diab to Marcelo Lamego,       11/5/2024      11/5/2024
                Ammar Al-Ali, Bob Smith, David Dalke

   1082.2       Email from Mohamed Diab to Marcelo Lamego,       11/5/2024      11/5/2024
                Ammar Al-Ali, Bob Smith, David Dalke

    1083        8/18/2005 Masimo Rainbow Technology Open
                Issues
    1084        8/31/2005 Email from Bob Smith to Ammar Al-
                Ali
    1085        MX-1 Circuit Board Schematic R-
                DR40178A.PDF
    1086        MX-1 Circuit Board Schematic R-                  11/6/2024      11/6/2024
                DR40178E.pdf
    1087        MX-1 Circuit Board Schematic R-
                DR40178B.PDF
    1088        MX-1 Circuit Board Schematic R-
                DR40178C.PDF
    1089        MX-1 Circuit Board Schematic R-
                DR40178D.PDF
    1090        Diagrams of Rainbow Mx Board.pdf
    1091        MX-3 User's Manual.DOC                           11/6/2024      11/6/2024
    1092        MX-5 User Manual.docx
    1093        Design Capture MX-7 Circuit Board Hardware
                Design R-DC11725A
    1094        MX-3 Circuit Board Schematic R-
                DR40228A.pdf
    1095        MX-3 Circuit Board Schematic R-
                DR40228B.pdf
    1096        MX-3 Circuit Board Schematic R-
                DR40315A.pdf
    1097        MX-3 Circuit Board Schematic R-
                DR40315B.pdf
    1098        MX-3 Circuit Board Schematic R-
                DR40315C.pdf
    1099        MX-3 Circuit Board Schematic R-
                DR40315D.pdf


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Trial Ex. No.                    Description                         Date           Date
                                                                   Identified     Admitted
    1100        MX-3 Circuit Board Schematic R-
                DR40414A.pdf
    1101        MX-5 circuit board schematic R-DR40522D
    1102        MX-5 Circuit Board Schematic R-DR40522F
                (1).pdf
    1103        MX-7 Circuit Board Schematic DR40837H.PDF

    1104        Cozumel02 User Manual - DCxxxxxA.DOCX

    1105        Cozumel02 User Manual - DCxxxxxA.DOCX

    1106        Design Capture Cozumel ASIC User Manual -
                HW Rev02 DC-12149 Rev A
    1107        STK Sensor Circuit Board Schematic
                DR41360E.pdf
    1108        STK Sensor ASIC Circuit Board Schematic
                DR41442D.pdf
    1109        STK Sensor ASIC Circuit Board Schematic
                DR41442H
    1110        3/6/2014 Email from Craig Lewiston to Marcelo
                Lamego, Brian Land, Daniel Culbert et al. re Re:
                N27A: Platinum Improvements for ProtoS and
                beyond
    1111        Opal recommendation sync
    1112        3/8/2014 Email from Alan Chern to Marcelo
                Lamego, Brian Land, Daniel Culbert et al. re Re:
                N27A: Platinum Improvements for ProtoS and
                beyond
    1113        Meeting invite: Opal recommendation sync
    1114        3/11/2014 Email from Alan Chern to Marcelo            11/7/2024      11/7/2024
                Lamego, Brian Land, Daniel Culbert et al. re Re:
                N27A: Platinum Improvements for ProtoS and
                beyond
    1115        Opal recommendation sync
    1116        Opal recommendation sync
    1117        Opal recommendation sync
    1118        3/18/2014 Email from to Jack Fu, Brian Land,
                Trevor Ness et al. re Platinum DOEs




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Trial Ex. No.                     Description                          Date         Date
                                                                     Identified   Admitted
    1119        3/26/2014 Email from Shanti Vasudevan to
                Alan Chern, Louis Bokma, Jack Fu re Re:
                N27A: Platinum Improvements for ProtoS and
                beyond
    1120        3/26/2014 Email from Shanti Vasudevan to
                Alan Chern, Louis Bokma, Jack Fu re Re:
                N27A: Platinum Improvements for ProtoS and
                beyond
    1121        6/4/2014 Email from Jack Fu to Myra Haggerty,
                Jack Fu re Re: PPG (concrete tasks)

    1122        3/26/2014 Email from Alan Chern to Shanti
                Vasudevan, Louis Bokma, Jack Fu re Re: N27A:
                Platinum Improvements for ProtoS and beyond

    1123        N127 Platinum ASIC proposal slide deck
    1124        6/10/2014 Email from Shafiq Jamal to Dong
                Zheng et al. re Re: Citrine first set of questions
    1125        CSM Silicon Update slide deck
    1126        Spreadsheet identifying members of Broadcom's
                Citrine Core Team
    1127        6/23/2014 Email from Christopher Sheehan to
                Lynn Couillard, Jim (James) Jian, Todd
                Lepinski, citrine-coreteam re Broadcom- Citrine
                ERS- Draft Rev for review
    1128        Citrine ASIC Engineering Requirements
                Specification
    1129        9/13/2014 Email from Shafiq Jamal to Kambiz
                Shoarinejad, citrine-coreteam, Broadcom-
                Citrine-coreteam-list re Citrine: ERS Update
    1130        8/22/2014 Email from Shafiq Jamal to Iuri
                Mehr, Todd Brooks, Lynn Couillard, Claude
                Hayek, Sunil Malkani, citrine-coreteam re
                Citrine: Latest ERS
    1131        Citrine ASIC Engineering Requirements
                Specification
    1132        9/6/2014 Email from Shafiq Jamal to Todd
                Brooks, Broadcom-Citrine-coreteam-list, citrine-
                coreteam, Kambiz Shoarinejad re Citrine: ERS
                Rev1.1


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Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    1133        Citrine ASIC Engineering Requirements
                Specification
    1134        9/6/2014 Email from Alex Chwu to Kambiz
                Shoarinejad, Broadcom-Citrine-coreteam-list,
                citrine-coreteam re Citrine ERS rev1.1 as of
                09/05/2014
    1135        Citrine ASIC Engineering Requirements
                Specification
    1136        Citrine ASIC Engineering Requirements
                Specification
    1137        9/25/2014 Email from Shafiq Jamal to Tay
                Zheng, Min Zhang, citrine-coreteam, Broadcom-
                Citrine-coreteam-list, Todd Brooks re Citrine:
                ERS Rev1.4
    1138        Citrine ASIC Engineering Requirements
                Specification
    1139        10/3/2014 Email from Tao Shui to citrine-
                coreteam, Albert Wang, re Citrine ERS rev1p5
                release
    1140        Citrine ASIC Engineering Requirements               11/12/2024     11/12/2024
                Specification
    1141        10/16/2014 Email from Tao Shui to citrine-
                coreteam, Albert Wang, re [Citrine] ERS
                release of rev 1.6
    1142        Citrine ASIC Engineering Requirements
                Specification
    1143        10/24/2014 Email from Tao Shui to citrine-
                coreteam, re [Citrine] ERS Rev 2.0 released
    1144        10/31/2014 Email from Tao Shui to citrine-
                coreteam, re [Citrine] ERS Rev 2.1 Release
    1145        Citrine ASIC Engineering Requirements
                Specification
    1146        10/21/2014 Email from Dong Zheng to Tao
                Shui, re Re: [Citrine] Tx driver scheme settled
    1147        10/23/2014 Email from Tao Shui to Tay (Hui)
                Zheng, re Re: Citrine: regarding LEDx_HV_EN
                usage
    1148        Citrine_ERS_Rev2p0_pg3839.pdf




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Trial Ex. No.                     Description                        Date           Date
                                                                   Identified     Admitted
    1149        9/16/2014 Email from Kambiz Shoarinejad to
                Ali Motamed, Felix (Yee Ling) Cheung, citrine-
                coreteam, jasper-coreteam, Broadcom-Jasper-
                coreteam-list, Broadcom-Citrine-coreteam-list re
                Jasper and Citrine : ERS Specs
    1150        9/1/2014 Email from Kambiz Shoarinejad to
                shiqin wang, Min (Zhongmin) Zhang, citrine-
                coreteam, Broadcom-Citrine-coreteam-list re
                RE: Citrine: Initial digital micro-architecture
                review.
    1151        9/16/2014 Email from Kambiz Shoarinejad to
                Alex Chwu, , Ali Motamed, citrine-coreteam,
                Broadcom-Citrine-coreteam-list re Citrine:
                BRCM spec versus latest ERS 1.2 spec
    1152        Citrine RX SNR Spec Discussion
    1153        9/16/2014 Email from Kambiz Shoarinejad to
                Alex Chwu, , Ali Motamed, citrine-coreteam,
                Broadcom-Citrine-coreteam-list re RE: Citrine:
                BRCM spec versus latest ERS 1.2 spec

    1154        Excel Sheet
                (Citrine_ERS_vs_BRCM_2014_09_16.xlsx)
    1155        11/4/2014 Email from Tay (Hui) Zheng to et al.       11/12/2024     11/12/2024
                re RE: Jasper/Citrine: Block Diagrams
    1156        Citrine Analog IP Highlights                          11/6/2024      11/6/2024
    1157        Citrine ASIC Engineering Requirements
                Specification
    1158        ASIC Engineering Requirements Specification
    1159        ASIC Engineering Requirements Specification
    1160        ASIC Engineering Requirements Specification
    1161        Citrine ASIC Engineering Requirements
                Specification
    1162        Citrine ASIC Engineering Requirements
                Specification
    1163        ASIC Engineering Requirements Specification
    1164        Lamego Notes on Solver (Readmefirst.doc)
    1165        5/10/2007 MasimoLabs Document Cover Sheet,
                "3D finger model: finite difference solver and
                analysis files", Project Hummingbird, by
                Marcelo Lamego


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Trial Ex. No.                    Description                        Date         Date
                                                                  Identified   Admitted
    1166        Withdrawn
    1167        Withdrawn
    1168        Withdrawn
    1169        Withdrawn
    1170        Withdrawn
    1171        Withdrawn
    1172        Withdrawn
    1173        Withdrawn
    1174        Withdrawn
    1175        New Hire Onboarding for Rui Peterson
    1176        3/2/2014 Email from Jeff Williams to Marcelo
                Lamego, Chip Hills re Re: wrist 3d model
                (confidential and proprietary)
    1177        Untitled slide deck
    1178        Released Production - Apple Watch S5 44 Gold
                SS
    1179        3/3/2014 Email from Mike OReilly to Jack Fu,
                Marcelo Lamego, Steve Hotelling, Daniel
                Culbert re Re: cross-section of wrist
    1180        3/20/2014 Email from Marcelo Lamego to Steve
                Hotelling et al. re Re: scanning project with
                Stanford
    1181        Amended and retstated service agreement
    1182        6/20/2014 Email from Marcelo Lamego to
                Jennifer Kong, Rui Peterson, Nicole Hollopeter,
                re Stanford MRI project
    1183        5/29/2015 Email from Albert Cerussi to Erno
                Klaassen, re Re: Wrist MRI Screenshots
    1184        Sensing Hardware MRI Study Executive study
                slide deck
    1185        Scandium Status Update slide deck
    1186        Withdrawn
    1187        Withdrawn
    1188        Withdrawn
    1189        Withdrawn
    1190        Withdrawn
    1191        Withdrawn
    1192        Withdrawn
    1193        Withdrawn
    1194        Withdrawn


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Trial Ex. No.                   Description                       Date           Date
                                                                Identified     Admitted
    1195        Withdrawn
    1196        Withdrawn
    1197        Withdrawn
    1198        Withdrawn
    1199        Withdrawn
    1200        Withdrawn
    1201        Withdrawn
    1202        Withdrawn
    1203        Withdrawn
    1204        Withdrawn
    1205        US20110082711
    1206        US20060211924                                      11/7/2024      11/6/2024
    1207        US20100030040                                      11/5/2024      11/5/2024

    1208        Withdrawn
    1209        Omni MedSci, Inc. v. Apple Inc. Apple's            11/6/2024      11/6/2024
                Invalidity Contentions Exhibit U
    1210        Omni MedSci, Inc. v. Apple Inc. Apple's
                Invalidity Contentions Exhibit V
    1211        Omni MedSci, Inc. v. Apple Inc. Sarrafzedeh        11/6/2024      11/6/2024
                Expert Report Regarding Invalidity
    1212        Withdrawn
    1213        Withdrawn
    1214        Diab Notebook
    1215        Withdrawn
    1216        Withdrawn
    1217        U.S. Patent 10,524,671
    1218        U.S. Patent No. 9,723,997
    1219        Withdrawn
    1220        2/3/2014 Email from Steve Hotelling to Graham
                Townsend, Benjamin Lyon, Marcelo Lamego re
                Re: My first slide
    1221        Apple Radar: iPhone medical device
    1222        Masimo Engineering Drawing (Pad, Bottom,
                Reflectance Sensor DR30477E.pdf)
    1223        Masimo Engineering Drawing (Pad, Bottom,
                Reflectance Sensor DR30477F.pdf)
    1224        Masimo Engineering Drawing (Pad, Bottom,
                Reflectance Sensor DR30477A.pdf)




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Trial Ex. No.                     Description                         Date           Date
                                                                    Identified     Admitted
    1225        Masimo Engineering Drawing (Pad, Bottom,
                Reflectance Sensor DR30477B.pdf)
    1226        Masimo Engineering Drawing (Pad, Bottom,
                Reflectance Sensor DR30477C.pdf)
    1227        Diab Notebook                                          11/5/2024      11/5/2024

    1228        N61 onyx window engineering drawing
    1229        5/28/2014 Email from Jennifer Kong to Steve
                Hotelling, Jack Fu, Chinsan Han, Dong Zheng,
                Steve Waydo, Brian Land, Trevor Ness, Marcelo
                Lamego, et al. re Platinum Proto2 BRR

    1230        N27 N28 Platinum: Proto 2 BRR
    1231        5/21/2014 Email from to Jack Fu, Steve
                Waydo, Brian Land, Trevor Ness, Daniel
                Culbert et al. re Re: Platinum Core Module _
                Slides Input Needed
    1232        5/19/2014 Email from to Trevor, Dave
                Nazzaro, Tobias Harrison-Noonan re Re:
                Sample materials for Proto2 window dressings
    1233        4/22/2014 Email from Dave Nazzaro to Wolf
                Oetting, Trevor Ness et al. re Re: Color match of
                window ink to Zr BC
    1234        5/20/2014 Email from Jennifer Kong to Fletcher
                Rothkopf, Paul Nangeroni, Trevor Ness, Dave
                Nazzaro, Brian Land re N27A Platinum Exec
                Update (weekly)
    1235        N27A Platinum Exec Update (weekly)
    1236        Reflective Treatments 0613.key.zip
    1237        5/30/2015 Email from Maegan Spencer to Wolf
                Oetting, , Trevor Ness, Matsu Matsuyuki, Chris
                (PD) Graham, Dave Kim re Re: non conductive
                reflector coating for next gen BC

    1238        6/8/2015 Email from Tobias Harrison-Noonan
                to Ueyn Block, Trevor Ness, Steve Waydo et al.
                re Re: N2XB zirconia BC *new* color options

    1239        U.S. Patent 10,078,052                                 11/8/2024      11/8/2024




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Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    1240        4/25/2014 Email from Dave Nazzaro to , Wolf
                Oetting, Brian Land, Trevor Ness, Ueyn Block
                et al. re Re: Upcoming BC Window DOEs


    1241        U.S. Patent No. 10,247,670                         11/8/2024      11/8/2024
    1242        File History re U.S. Patent No. 10,247,670
    1243        N27/N127 improvement suggestions Part 1 slide
                deck
    1244        N27/N127 improvement suggestions Part 1 slide
                deck
    1245        N27/N127 improvement suggestions Part 1 slide
                deck
    1246        N27/N127 improvement suggestions Part 1 slide
                deck
    1247        N27/N127 improvement suggestions Part 1 slide
                deck
    1248        N27/N127 improvement suggestions Part 1 slide
                deck
    1249        N27/N127 improvement suggestions slide deck

    1250        N27/N127 improvement suggestions Part 1 slide
                deck
    1251        N27/N127 improvement suggestions Part 1 slide
                deck
    1252        N27/N127 improvement suggestions Part 1 slide
                deck
    1253        N27/N127 improvement suggestions Part 1 slide
                deck
    1254        N27/N127 improvement suggestions Part 1 slide
                deck
    1255        N27/N127 improvement suggestions Part 1 slide
                deck
    1256        N27/N127 improvement suggestions Part 1 slide
                deck
    1257        N27/N127 improvement suggestions Part 1 slide
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    1258        N27/N127 improvement suggestions Part 1 slide
                deck
    1259        N27/N127 improvement suggestions Part 1 slide
                deck


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Trial Ex. No.                   Description                       Date           Date
                                                                Identified     Admitted
    1260        N27/N127 improvement suggestions Part 1 slide
                deck
    1261        4-LED modulation with 50 and 60 Hz network
                rejection slide deck
    1262        U.S. Patent No. 10,219,754                         11/5/2024      11/5/2024

    1263        Apple Presentation Slide (Proto-2 SiP HW
                changes and risks slide deck)
    1264        N27/N127 improvement suggestions Part 1 slide
                deck
    1265        2020-08-18 [119] [SEALED] Declaration of
                Mohamed Diab in Support of Motion for
                Preliminary Injunction.PDF
    1266        2020-08-18 [120] [SEALED] Declaration of
                Jeroen Poeze in Support of Motion for
                Preliminary Injunction.PDF
    1267        U.S. Patent No. 5,632,272                          11/5/2024      11/5/2024

    1268        U.S. Patent No. 9,952,095                          11/6/2024      11/6/2024
    1269        U.S. Patent No. 11,009,390                         11/6/2024      11/6/2024
    1270        Masimo 2014 Annual Report                          11/5/2024      11/5/2024
    1271        Masimo 2016 Annual Report
    1272        Withdrawn
    1273        Withdrawn
    1274        Withdrawn
    1275        Withdrawn
    1276        Withdrawn
    1277        Withdrawn
    1278        Withdrawn
    1279        Withdrawn
    1280        Withdrawn
    1281        Withdrawn
    1282        Withdrawn
    1283        Withdrawn
    1284        Withdrawn
    1285        Withdrawn
    1286        Withdrawn
    1287        Withdrawn
    1288        Withdrawn
    1289        Withdrawn


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Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    1290        Withdrawn
    1291        Withdrawn
    1292        Withdrawn
    1293        Withdrawn
    1294        Withdrawn
    1295        Withdrawn
    1296        Withdrawn
    1297        Withdrawn
    1298        Withdrawn
    1299        Withdrawn
    1300        Withdrawn
    1301        Withdrawn
    1302        Withdrawn
    1303        Withdrawn
    1304        Confidentiality Agreement (Thanh Van Le.pdf)
    1305        Confidentiality Agreement (Alisa Lesk.pdf)
    1306        Confidentiality Agreement (Cristiano Dalvi.pdf)

    1307        Confidentiality Agreement (Ferdyan
                Lesmana.pdf)
    1308        Confidentiality Agreement (Hung The Vo.pdf)
    1309        Confidentiality Agreement (Jeroen Poeze.pdf)         11/5/2024      11/5/2024
    1310        Confidentiality Agreement (Johannes
                Bruinsma.pdf)
    1311        Confidentiality Agreement (Kamila
                Maciejewska.pdf)
    1312        Confidentiality Agreement (Marcelo                   11/6/2024      11/6/2024
                Lamego.pdf)
    1313        Confidentiality Agreement (Sean Merritt.pdf)
    1314        Withdrawn
    1315        Withdrawn
    1316        Withdrawn
    1317        Withdrawn
    1318        Withdrawn
    1319        Withdrawn
    1320        Withdrawn
    1321        Withdrawn
    1322        Withdrawn
    1323        Withdrawn
    1324        Withdrawn


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Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    1325        Withdrawn
    1326        Withdrawn
    1327        Withdrawn
    1328        Withdrawn
    1329        Withdrawn
    1330        Withdrawn
    1331        Withdrawn
    1332        Withdrawn
    1333        Withdrawn
    1334        Withdrawn
    1335        Withdrawn
    1336        Withdrawn
    1337        Withdrawn
    1338        Withdrawn
    1339        Withdrawn
    1340        Withdrawn
    1341        Withdrawn
    1342        Withdrawn
    1343        5/2/1998 Masimo - Masimo Labs Cross-
                Licensing Agreement
    1344        Amended and Restated Cross-Licensing                11/5/2024      11/5/2024
                Agreement between Masimo Laboratories and
                Masimo Corporation, effective January 1, 2007

    1345        Patent Transfer - 7-06-2015 - Cercacor
                signed.pdf
    1346        October 17, 2012 Smart Body, Smart World
    1347        12/1/13 The Future of Wearable Electronics:
                Forecasts, Segmentation and Applications
    1348        4/29/15 The Wearable Market
    1349        February 2019 Update CCS Insight Market
                Forecast Wearable Worldwide, 2019-2023
    1350        Wearable device market study (smartwatches
                and fitness devices) slide deck
    1351        Apple Watch Series 6 Launch Video                   11/7/2024      11/7/2024
    1352        Video, Apple Watch Series 6, Introducing Apple
                Watch Series 6 It Already Does That
    1353        https://www.apple.com/apple-watch-series-6          11/7/2024      11/7/2024
    1354        2019 Annual Report.pdf                              11/5/2024      11/5/2024
    1355        Withdrawn


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Trial Ex. No.                    Description                    Date           Date
                                                              Identified     Admitted
    1356        Withdrawn
    1357        Withdrawn
    1358        Withdrawn
    1359        Withdrawn
    1360        Withdrawn
    1361        Masimo W1 manual
    1362        Traditional 510(K) Pre-Market Notification
    1363        Freedom Aug QBR 2022                             11/5/2024      11/5/2024
    1364        9/1/2019 Masimo - Samsung NDA
    1365        January 5, 2020 Samsung Integrated Health
                Thesis
    1366        3/26/2013 Email from Paul Jansen to Adrian
                Perica, re FW: Checking In
    1367        4/15/2013 Email from Tom McClenahan to
                Steve Smith, Paul Jansen, Robin Diane
                Goldstein re RE: Checking In
    1368        4/11/2013 Email from Steve Smith to Paul
                Jansen, Tom McClenahan, Robin Diane
                Goldstein re Re: Checking In
    1369        Confidentiality Agreement between Apple and
                Masimo (20130415091945248.pdf)
    1370        1/20/2019 Email from Luca Maestri to Adrian
                Perica, re Re: Joe Kiani - Masimo CEO
    1371        Withdrawn
    1372        Apple Watch Board of Directors Update
    1373        Apple Watch Series 6 - Apple[2160, Mp4].mp4

    1374        Apple Watch Series 8 launch video
    1375        1/23/2013 Rover keynote
    1376        Watch Operations Expenditures
    1377        Project Team Member List
    1378        Cercacor Wearable Rainbow                        11/5/2024      11/5/2024
    1379        Wrist Transmission SpO2
    1380        1/3/2018 Cercacor Investigator's Brochure
    1381        Technical Presentation
    1382        Withdrawn
    1383        Apple Health | Week of September 16th
    1384        Withdrawn
    1385        Withdrawn




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Trial Ex. No.                     Description                        Date         Date
                                                                   Identified   Admitted
    1386        9/1/2007 Masimo - Industrial Vallera De
                Mexicali Lease Agreement
    1387        9/1/2007 Masimo - Industrial Vallera De
                Mexicali Lease Agreement
    1388        Withdrawn
    1389        Apple Watch US Price Committee August 2021

    1390        August 2014 DRAFT Price Committee
                N27/N28
    1391        2020 04 26 Shara Tibken - Remember when
                Apple Watch was a luxury item - Cnet.pdf
    1392        Withdrawn
    1393        2020 09 26 Apple Watch Series 6 - Apple.pdf

    1394        2020 09 15 Apple Watch Series 6 delivers
                breakthrough wellness and fitness capabilities -
                Apple.pdf
    1395        Withdrawn
    1396        1/17/2006 Masimo - Nellcor Settlement
                Agreement and Release of Claims
    1397        1/17/2006 Masimo - Nellcor Third Amendment
                to Settlement Agreement and Release of Claims

    1398        2019 Apple 10-K.pdf
    1399        Withdrawn
    1400        Withdrawn
    1401        Withdrawn
    1402        Withdrawn
    1403        Withdrawn
    1404        Withdrawn
    1405        Withdrawn
    1406        Withdrawn
    1407        Withdrawn
    1408        Withdrawn
    1409        Withdrawn
    1410        Masimo Financial Exports and Analyses
    1411        Masimo Wrist Worn R&D Expenditures
    1412        Masimo Lease Schedule




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Trial Ex. No.                  Description                   Date           Date
                                                           Identified     Admitted
    1413        Apple Inc. WW Sales_Apple Wathc All           11/7/2024      11/7/2024
                Models_FY22P07-FY22P09 -- Highly
                Confidential
    1414        Withdrawn
    1415        Withdrawn
    1416        Withdrawn
    1417        Withdrawn
    1418        Withdrawn
    1419        Withdrawn
    1420        Withdrawn
    1421        Q4FY17-Q3FY20 Watch Sport N111s & N111b
                BOM
    1422        Q4FY17-Q3FY20 Watch Sport N121s & N121b
                BOM
    1423        Withdrawn
    1424        Withdrawn
    1425        BOM
    1426        BOM
    1427        Withdrawn
    1428        BOM
    1429        Q4FY19-Q3FY20 N144s & N144b
    1430        Withdrawn
    1431        Withdrawn
    1432        Withdrawn
    1433        Withdrawn
    1434        Withdrawn
    1435        Withdrawn
    1436        Q3FY15-Q4FY16 N27A & N28A BOM
    1437        Q4FY16-Q4FY17 N74 & N75 BOM
    1438        Q4FY16-Q3FY18 N27D & N28D BOM
    1439        Q3FY21 SE Sport N140s & N140b BOM
    1440        Q3FY21 N121s & N121b BOM
    1441        Technical Presentation
    1442        Apple Watch Buyer Survey FY19-Q1 Report       11/7/2024      11/7/2024
                slide deck
    1443        Apple Watch Buyer Survey FY 19-Q2 Report      11/7/2024      11/7/2024

    1444        Apple Watch Buyer Survey FY19-Q3 Report       11/7/2024      11/7/2024
                slide deck




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Trial Ex. No.                  Description                   Date           Date
                                                           Identified     Admitted
    1445        Apple Watch Buyer Survey FY19-Q4 Report       11/7/2024      11/7/2024
                slide deck
    1446        Apple Watch Buyer Survey FY20-Q1 Report       11/7/2024      11/7/2024
                slide deck
    1447        Apple Watch Buyer Survey FY20-Q2 Report       11/7/2024      11/7/2024
                slide deck
    1448        Apple Watch Buyer Survey FY20-Q3 Report       11/7/2024      11/7/2024
                slide deck
    1449        Apple Watch Buyer Survey FY20-Q4 Report       11/7/2024      11/7/2024
                slide deck
    1450        Q4FY20 Watch Sport N144s & N144b BOM

    1451        Q4FY20 Watch Sport/Viper/Iceman N146s &
                N146b BOM
    1452        Q4FY20-Q2FY21 Watch SE Sport N140s &
                N140b BOM
    1453        Q4FY20-Q2FY21 Watch SE Sport N142s &
                N142b BOM
    1454        Q3FY21 SE Sport N142s & N142b BOM
    1455        BOM
    1456        Technical Presentation
    1457        BOM
    1458        12/17/2021 Product Cost Details Product:
                AppleWatch N187b
    1459        12/17/2021 Product Cost Details Product:
                AppleWatch N188s
    1460        12/17/2021 Product Cost Details Product:
                AppleWatch 188b
    1461        3/25/2022 Product Cost Details Product:
                AppleWatch N188s
    1462        3/25/2022 Product Cost Details Product:
                AppleWatch N188b
    1463        3/25/2022 Product Cost Details Product:
                AppleWatch N187b
    1464        2010 Apple 10-K.pdf
    1465        2011 Apple 10-K.pdf
    1466        2012 Apple 10-K.pdf
    1467        2014 Apple 10-K.pdf
    1468        2015 Apple 10-K.pdf
    1469        2016 Apple 10-K.pdf


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Trial Ex. No.                   Description                     Date         Date
                                                              Identified   Admitted
    1470        2017 Apple 10-K.pdf
    1471        2018 Apple 10-K.pdf
    1472        Masimo 2010 Blanace Sheet and Income
                Statement
    1473        Masimo 2011 Income Statement
    1474        Masimo 2012 Income Statement
    1475        Masimo 2014 Income Statement
    1476        Masimo 2015 Income Statement
    1477        Masimo 2016 Income Statement
    1478        Masimo 2017 Income Statement
    1479        Masimo 2018 Income Statement
    1480        Masimo 2019 Income Statement
    1481        Masimo 2020 Income Statement
    1482        9/28/2005 Masimo - Radiometer Medical APS
                Purchasing and Licensing Agreement
    1483        Masimo - Radiometer Medical ApS & Linde
                Amendment Number One to Purchasing and
                Licensing Agreement
    1484        10/20/2005 Masimo - Nellcor Binding
                Memorandum of Understanding
    1485        4/25/2006 Masimo - Dolphin Binding
                Settlement Agreement
    1486        6/19/2006 Masimo - Respironics MX-1 Binding
                Licensing Letter of Intent
    1487        7/26/2006 Amendment to Respironics - Masimo
                MX-1 Binding Licensing Letter of Intent

    1488        10/17/2006 Masimo - Spacelabs Settlement
                Agreement
    1489        10/28/2006 Draeger Masimo Summary
                Agreement
    1490        3/31/2007 Masimo - Draeger Medical AG & Co.
                KG Procurement and License Agreement
    1491        4/23/2009 Masimo - Iradimed Purchasing and
                Licensing Agreement
    1492        4/30/2009 Masimo - Respironics Settlement
                Agreement
    1493        7/1/2009 Masimo - Draeger Amendment One to
                Procurement and License Agreement




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Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    1494        11/16/2015 Masimo - Mindray Settlement and
                Convenant not to Sue Agreement
    1495        11/16/2015 Exhibit C to Mindray Settlement
                and Covenant not to Sue Agreement,
                Assignment
    1496        11/05/2016 Masimo - Philips Settlement
                Agreement and Release of Claims
    1497        11/5/2016 Masimo - Philips Supply Agreement

    1498        Apple Presentation, WATCH: A Brief History
                slide deck
    1499        9/30/2013 Email from Daniel Culbert to Myra
                Haggerty, Jack Fu re Re: Masimo collaboration
                & move feedback?
    1500        Marketing Plan iSpO2 PLN-1737A.docx
    1501        Masimo Product Brief (PRB-1181A.docx)
    1502        UH - Masimo SafetyNet - Rev A.pdf
    1503
                Clinical Study Cost Time Discussion rev 6.pptx
    1504        Cercacor Clinincal Study Strategy -
                DRAFT.pptx
    1505        Withdrawn
    1506        Kiani 1990-01-11 (Ex. 1146).pdf                     11/5/2024      11/5/2024
    1507        https_www.masimopersonalhealth.com_product
                s_masimo-w1.pdf
    1508        Withdrawn
    1509        Withdrawn
    1510        Withdrawn
    1511        Withdrawn
    1512        Withdrawn
    1513        Withdrawn
    1514        Withdrawn
    1515        Withdrawn
    1516        Withdrawn
    1517        Withdrawn
    1518        Withdrawn
    1519        Withdrawn
    1520
                Apple Watch Series 6 Website from 12/28/2020
                (S6211599-apple-watch-series-6-overview.PDF)


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Trial Ex. No.                   Description                     Date         Date
                                                              Identified   Admitted
    1521        Email from Bronwyn Harris to Steve Waydo re
                ANPP Scandium Project (Shadow iCal)
                attaching 6/26/2019 Scandium Feature Lock
                Review keynote
    1522        Withdrawn
    1523        Withdrawn
    1524        Masimo SafetyNet brochure
    1525        Withdrawn
    1526        Withdrawn
    1527        Withdrawn
    1528        Withdrawn
    1529        Withdrawn
    1530        Withdrawn
    1531        Withdrawn
    1532        Withdrawn
    1533        10/4/2013 Proposed New Sensors for Next-
                Generation N27 Device keynote
    1534        Withdrawn
    1535        Withdrawn
    1536        Withdrawn
    1537        Withdrawn
    1538        Withdrawn
    1539        Withdrawn
    1540        Withdrawn
    1541        Withdrawn
    1542        Withdrawn
    1543        Withdrawn
    1544        Steve Jobs The Lost Interview
    1545        Steve Jobs The Lost Interview
    1546        Steve Jobs The Lost Interview
    1547        Steve Jobs The Lost Interview
    1548        Steve Jobs The Lost Interview
    1549        Steve Jobs The Lost Interview
    1550        Withdrawn
    1551        Withdrawn
    1552        Withdrawn
    1553        Withdrawn
    1554        Withdrawn
    1555        Withdrawn
    1556        Withdrawn


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Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    1557        10/15/2013 Project Everest keynote                  11/8/2024      11/8/2024
    1558        10/30/2013 Email from Jeff Williams to Mike
                OReilly, re Re: Everest
    1559
                2/12/2013 Rover Discussion Materials keynote
    1560        Withdrawn
    1561        5/30/2013 Email from Denby Frazier to stephen
                zadesky, re Re: Mike O'Reilly/Candidate for
                Bob
    1562        Withdrawn
    1563        8/29/2013 Email from Steve Hotelling to Adrian
                Perica and Steve Smith re Fwd: Rover | 8/28
                with attachment PastedGraphic-1.png
    1564        Withdrawn
    1565        Withdrawn
    1566        Withdrawn
    1567        Withdrawn
    1568        Withdrawn
    1569
                9/24/2013 Email from Mike OReilly to Jennifer
                Walker, David Coletta re Re: Congrats
    1570        Withdrawn
    1571        Withdrawn
    1572        Withdrawn
    1573        Withdrawn
    1574        Withdrawn
    1575        PLM-
                11119A_Technical_Bulletin_HL7_Deployment
                _and_Configuration_Guide_For_Masimo_Produ
                ct_US.pdf
    1576        LAB7979A_Technical_Bulletin_Patient_Safety
                Net_HL7.pdf
    1577        ATT A-13_Masimo Brochure_Patient
                SafetyNet.pdf
    1578        Withdrawn
    1579        Withdrawn
    1580        Withdrawn
    1581        https_www.apple.com_healthcare_.pdf                11/12/2024     11/12/2024
    1582        9/20/18 Apple Watch Physician Website -- Early
                Draft


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Trial Ex. No.                   Description                    Date         Date
                                                             Identified   Admitted
    1583        Withdrawn
    1584        Withdrawn
    1585        Withdrawn
    1586        Masimo_KSA_MOH_GE_MDI_
                Proposal_v5.docx
    1587        Cercacor Brain storming 2014_01_30.docx
    1588        Withdrawn
    1589        Withdrawn
    1590        Withdrawn
    1591        Withdrawn
    1592        Withdrawn
    1593        Withdrawn
    1594        Withdrawn
    1595        Withdrawn
    1596        Withdrawn
    1597        Michael O'Reilly Folder.pdf
    1598        Withdrawn
    1599        Withdrawn
    1600        Withdrawn
    1601        Withdrawn
    1602        Withdrawn
    1603        Withdrawn
    1604        Withdrawn
    1605        Withdrawn
    1606        Withdrawn
    1607        Withdrawn
    1608        Withdrawn
    1609        Withdrawn
    1610        Withdrawn
    1611        Withdrawn
    1612        Withdrawn
    1613        Withdrawn
    1614        Withdrawn
    1615        Withdrawn
    1616        Withdrawn
    1617        Clinical Study Request Form 000417
                INVSENSOR00040 (Air Watch) Feasibility
    1618        Clinical Study Request (CSR) Form 000417 -
                INVSENSOR00040 (Air Watch) Feasibility
    1619        Cigalah Healthcare Company Purchase Order


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Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    1620        STK Sensor Assembly Video
    1621        W1 List of Voluntary Standards
    1622        W1 Cybersecurity Post-Market Management
                Plan
    1623        Test Report Clinical Performance Validation of
                Masimo W1 for Heart Rate Measurement
    1624        Test Report Masimo W1 - IEC 60601-1, 3rd,
                Ed, A1
    1625        Test Report STK; Environmental Storage and
                Transport Test Report
    1626        Test Report STK; Environmental Operational
                Conditions Test Report
    1627        Test Report STK; Ingress Protection and
                Spillage Test Report
    1628        Protocol/Test Procedure Environmental Storage
                and Transport Conditions Tests, Masimo
                Sensors & Cables
    1629        Test Report W1 AIM Test Report
    1630        STK; Optical Component Assembly; Tested
    1631        Test Report Cleaning Validation for Masimo
                W1 (Bands) using 70% Isopropyl Alcohol (Pass)

    1632        Test Report STK; Biocompatibility Test Report

    1633        Picture of Masimo Physical
                (MASA_P_096_A.jpg)
    1634        Picture of Masimo Physical
                (MASA_P_096_B.jpg)
    1635        Picture of Masimo Physical
                (MASA_P_097_A.jpg)
    1636        Picture of Masimo Physical
                (MASA_P_097_B.jpg)
    1637        Masimo Watch Clinical Expenditures
    1638        Masimo Watch Regulatory and QA
                Expenditures
    1639        STK Front End Expenses March 2021-June
                2022
    1640        STK-Production tooling CAR#20-53 November
                2021-June 2022




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Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    1641        STK_QA CAR#20-51 March 2021-March 2022

    1642        STK-Manufcaturing tooling & Equipment
                CAR#20-47
    1643        W1 Testing TUV SUD W1 Testing Quotation
    1644        Diab Looseleafs (2005_Diab_looseleafs8.pdf)         11/5/2024      11/5/2024
    1645        STK Summary for Finance
    1646        Withdrawn
    1647        Withdrawn
    1648        Withdrawn
    1649        Withdrawn
    1650        Withdrawn
    1651        Withdrawn
    1652        Masimo Press Release: "Masimo iSpO2 Pulse
                Oximeter for iOS Platform (iPhone, iPad & iPod
                touch) for Consumers to Debut at CES"
    1653        Email from Adrian Perica to Paul Jansen re
                Apple-Masimo Meeting in Early 2013
    1654        Email from Marcelo Lamego to Tim Cook re
                "The three equations"
    1655        Withdrawn
    1656        Email from Aditya Dua to Steven Rybicki re
                Obfuscating Purchase of Masimo Sensors, dated
                January 14, 2020
    1657        Apple N27A Platinum 3rd Party Hardware
                Benchmarking Presentation, dated August 12,
                2013
    1658        Masimo Freedom Watch Go-to-Market Plan -
                November 24, 2020 Presentation
    1659        Masimo Watch (STK) Algorithms/Sensor -
                October 6, 2020 Presentation
    1660        Masimo Watch (STK) SpO2/Pulse Rate
                Measurement Accuracy Plots
    1661        Masimo Air Watch V1 - Technical Presentation -
                December 2, 2020 Presentation
    1662        Masimo Watch Presentation - March 8, 2021
    1663        Apple BC Architecture Development
                Presentation




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Trial Ex. No.                     Description                         Date           Date
                                                                    Identified     Admitted
    1664        Article: "Apple Pays for Its Patent Infringement,
                But Important Legal Cases Continue"

    1665        Article: "Tech Giants Are Using Efficient
                Infringement (a.k.a. Invention Theft) to Crush
                Competitors and Kill Innovation"
    1666        Article: "The Patent Troll Smokescreen"
    1667        Congressional Questions, "Online Platforms and
                Market Power Part 6: Examining the Dominance
                of Amazon, Apple, Facebook, and Google,"
                "Questions for the Record from the Honorable
                Henry "Hank" Johnson, Jr.," "Questions for Tim
                Cook, CEO, Apple, Inc.
    1668        David Dalke Employee folder 2.5.pdf
    1669        David Dalke Employee folder 2.14.pdf
    1670        David Dalke Employee folder 2.22.pdf
    1671        David Dalke Employee folder 2.33.pdf
    1672        David Dalke Employee folder 2.40.pdf
    1673        Mohamed Diab Folder 8.26.2021.pdf                      11/6/2024      11/6/2024
    1674        Lamego - Masimo Confidentiality Agreement
    1675        1/28/2003 Masimo Employee Confidentiality
                Agreement - Marcelo Lamego
    1676        Lamego - Masimo Confidentiality Agreement
    1677        5/14/2009 Jeroen Poeze Confidentiality                 11/5/2024      11/5/2024
                Agreement
    1678        Robert Smith Folder 1.15.pdf
    1679        Robert Smith Folder 1.16.pdf
    1680        Robert Smith Folder 1.28.pdf
    1681        Robert Smith Folder 1.35.pdf
    1682        Robert Smith Folder 1.74.pdf
    1683        Robert Smith Folder 1.77.pdf
    1684        5/11/1993 Robert Smith Confidentiality
                Agreement
    1685        Greg Olsen - Agreements & Onboarding
                Docs.pdf
    1686        Confidentiality Agreement (Phil Weber folder 2
                -3.31.22.6.pdf)
    1687        Confidentiality Agreement (Phil Weber folder 2
                -3.31.22.19.pdf)




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Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    1688        Confidentiality Agreement (Phil Weber folder 2
                -3.31.22.32.pdf)
    1689        Confidentiality Agreement (Walt)
                (Weber_33.pdf)
    1690        Acknowledgment of Receipt and At-Will
                Agreement (Walt) (Weber_46.pdf)
    1691        3/16/2018 Walter Weber Confidentiality
                Agreement
    1692        5/7/1993 Walter Weber Confidentiality
                Agreement
    1693        10/15/1995 Walter Weber Acknowledgment of
                Reciept of Masimo Corporation Employee
                Handbook
    1694        3/24/1992 Walter Weber Nondisclosure and
                Confidentiality Agreement
    1695        10/30/1992 Walter Weber Acknowledgment of
                Receipt of Vital Signals Inc. Employee
                Handbook
    1696        5/18/1993 Walter Weber Acknowledgment of
                Receipt of Masimo Corporation Employee
                Handbook
    1697        3/3/2010 Walter Weber Confidentiality
                Agreement
    1698        2/1/2005 Walter Weber Confidentiality
                Agreement
    1699        5/10/1999 Walter Weber Acknowledgement of
                Receipt and At-Will Agreement
    1700        Personnel File (Ammar Al-Ali Folder 1.pdf)
    1701        Personnel File (Ammar Al-Ali Folder 1.pdf)
    1702        Personnel File (Ammar Al-Ali Folder 2.pdf)
    1703        Amendment to Employee Confidentiality
                Agreement (Al-Ali_6.pdf)
    1704        Confidentiality Agreement (James Pishney
                employment folder 2.3.pdf)
    1705        Amendment to Employee Confidentiality
                Agreement (James Pishney employment folder
                2.25.pdf)
    1706        Confidentiality Agreement (James Pishney
                employment folder 2.28.pdf)




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Trial Ex. No.                     Description                       Date           Date
                                                                  Identified     Admitted
    1707        Confidentiality Agreement (James Pishney
                employment folder 2.49.pdf)
    1708        Confdientiality Agreement (James Pishney
                employment folder 2.72.pdf)
    1709        Acknowledgment of Receipt of Masimo
                Corporation Employee Handbook (James
                Pishney employment folder 2.74.pdf)
    1710        Masimo 8K (2015-11-05 8-K.pdf)
    1711        Masimo 8K (2017-08-02 8-K.pdf)
    1712        Masimo S-1 (2007-04-17 S-1.pdf)
    1713        1/27/2014 Strategic Deals Health Monitoring
                Sourcing List
    1714        2014-02-11 Meeting Invite "Patent Meeting
                Continued"
    1715        2014-02-11 Meeting Invite "Patent Meeting
                Continued"
    1716        9/28/2013 Email from Joe Kiani to Marcelo            11/5/2024      11/5/2024
                Lamego re AP
    1717        Masimo’s Email Use Policy
    1718        10/2012 Apple Presentation, "Rover Discussion
                Materials"
    1719        10/2/2013 Email from Marcelo Lamego to Tim           11/7/2024      11/7/2024
                Cook re The three equations
    1720        12/4/2013 Email from Lynn Youngs to Denby
                Frazier re Marcelo/Propsed Offer
    1721        6/30/2014 Email from Marcelo Lamego to Steve
                Hotelling re Gen 1 Alg help [no attachments]

    1722        9/9/2014 U.S. Patent Provisional Application
                No. 62/047,818
    1723        File history of U.S. Patent Application No.
                14/621,268 (U.S. Patent No. 10,219,754)
    1724        3/4/2014 Email from Apple patent system to
                Marcelo Lamego re P22733-Frontend, led
                driver, and modulation and demodulation
                algorithm for high quality fitness and wellness
                data collection system




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Trial Ex. No.                     Description                       Date           Date
                                                                  Identified     Admitted
    1725        3/16/2014 Email from Apple patent system to
                Marcelo Lamego re P22879-Modulation and
                demodulation schemes for noninvasive fitness
                and wellness devices
    1726        Madisetti Report Appendix 3 - Plaintiffs' Trade
                Secrets
    1727        Capture of Masimo website re its 2012 Press
                Releases
    1728        1/7/2009 Email from Marcelo Lamego to Sean
                Merritt re template [with attachment]
    1729        Curriculum Vitae of Vijay Madisetti, Ph.D.           11/6/2024      11/6/2024
    1730        Withdrawn
    1731        Withdrawn
    1732        Withdrawn
    1733        Withdrawn
    1734        Withdrawn
    1735        Withdrawn
    1736        Withdrawn
    1737        Withdrawn
    1738        Exhibit 3.A to Kinrich Expert Report Updated
                10-17-22 – Lost Sensor Sales Price Elasticity
                Adjustment Q1 FY 2018 – Q3 FY 2022
    1739        Exhibit 3.B to Kinrich Expert Report Updated
                10-17-22 – Masimo Subscription Annual Price
                Adjustment Q1 FY 2018 – Q3 FY 2022

    1740        Withdrawn
    1741        Withdrawn
    1742        Exhibit 5.B to Kinrich Expert Report Updated         11/7/2024      11/7/2024
                10-17-22 – Apple Gross Profits Benefits U.S.
                FY 2020 – Q3 FY 2022
    1743        Exhibit 5.C to Kinrich Expert Report Updated         11/7/2024      11/7/2024
                10-17-22 – Apple Gross Profits Benefits
                Worldwide
                FY 2020 – Q3 FY 2022
    1744        Exhibit 5.D to Kinrich Expert Report Updated         11/7/2024      11/7/2024
                10-17-22 – Incremental Gross Proft of Apple
                Watch 6 and 7 versus SE U.S. and Worldwide
                Q4 FY 2020 – Q3 FY 2022




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Trial Ex. No.                     Description                      Date           Date
                                                                 Identified     Admitted
    1745        Exhibit 6.A to Kinrich Expert Report Updated
                10-17-22 – Present Value of Lost Profits and
                Running Royalty Excluding Subscription Q1 FY
                2018 – Q3 FY 2022
    1746        Exhibit 6.B to Kinrich Expert Report Updated
                10-17-22 – Present Value of Lost Profits U.S.,
                Excluding Subscription Q1 FY 2018 – Q3 FY
                2022
    1747        Exhibit 6.C to Kinrich Expert Report Updated
                10-17-22 – Present Value of Lost Profits
                Worldwide, Excluding Subscription Q1 FY
                2018 – Q3 FY 2022
    1748        Exhibit 6.D to Kinrich Expert Report Updated
                10-17-22 – Present Value of Running Royalty
                U.S., Excluding Subscription Q1 FY 2018 – Q3
                FY 2022
    1749        Exhibit 6.E to Kinrich Expert Report Updated
                10-17-22 – Present Value of Running Royalty
                Worldwide, Excluding Subscription Q1 FY
                2018 – Q3 FY 2022
    1750        Exhibit 6.B-E to Kinrich Expert Report Updated
                10-17-22 – Present Value of Lost Profits and
                Running Royalty Excluding Subscription
                (Notes)
    1751        Exhibit 6.F to Kinrich Expert Report Updated
                10-17-22 – Present Value of Incremental
                Development Expense, June 1, 2013 – June 30,
                2022
    1752        Exhibit 7.A to Kinrich Expert Report Updated
                10-17-22 – Total Royalty Owed to Masimo U.S.
                vs. Worldwide Q4 FY 2016 – Q3 FY 2022

    1753        Exhibit 7.B to Kinrich Expert Report Updated
                10-17-22 – Total Royalty Owed to Masimo Q4
                FY 2016 – Q3 FY 2022
    1754        Exhibit 8.A to Kinrich Expert Report Updated        11/7/2024      11/7/2024
                10-17-22 – Apple Watch Sales Q3 FY 2015 –
                Q3 FY 2022




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Trial Ex. No.                     Description                         Date           Date
                                                                    Identified     Admitted
    1755        Exhibit 8.B to Kinrich Expert Report Updated           11/7/2024      11/7/2024
                10-17-22 – Apple Watch Sales Worldwide
                Q3 FY 2015 – Q3 FY 2022
    1756        Exhibit 9.A to Kinrich Expert Report Updated
                10-17-22 – Apple Watch Average Price and
                Standard Profit per Unit U.S. Q3 FY 2015 – Q3
                FY 2022
    1757        Exhibit 9.B to Kinrich Expert Report Updated
                10-17-22 – Apple Watch Average Price and
                Standard Profit per Unit Worldwide Q3 FY
                2015 – Q3 FY 2022
    1758        Exhibit 10.A to Kinrich Expert Report Updated
                10-17-22 – U.S. Apple Watch Buyer Survey
                Responses - Responses to Q. 171 "For which of
                these purposes did you decide to get an Apple
                Watch? (select all that apply)" Q1 FY 2019–Q1
                FY 2021
    1759        Exhibit 10.B to Kinrich Expert Report Updated
                10-17-22 – U.S. Apple Watch Buyer Survey
                Responses - Responses to Q. 172 "And which of
                these was the most important purpose why you
                decided to get an Apple Watch? (select one)" Q1
                FY 2019–Q1 FY 2021


    1760        Exhibit 10.C to Kinrich Expert Report Updated          11/7/2024      11/7/2024
                10-17-22 – U.S. Apple Watch Buyer Survey
                Responses - Responses to Q. 173 "Which of
                these new features, if any, were most influential
                in your decision to get the Apple Watch? (select
                all that apply)" Q1 FY 2019–Q1 FY 2021


    1761        Exhibit 11.A to Kinrich Expert Report Updated
                10-17-22 – Summary of Apple Watch Bill of
                Materials and Estimation of Cost of Apple
                Sensor Module, Apple Watch Series 4, Q4 FY
                2018–Q4 FY 2019




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Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    1762        Exhibit 11.B to Kinrich Expert Report Updated
                10-17-22 – Summary of Apple Watch Bill of
                Materials and Estimation of Cost of Apple
                Sensor Module, Apple Watch Series 5, Q4 FY
                2019–Q4 FY 2020
    1763        Exhibit 11.C to Kinrich Expert Report Updated
                10-17-22 – Summary of Apple Watch Bill of
                Materials and Estimation of Cost of Apple
                Sensor Module, Apple Watch SE, Q4 FY
                2020–Q3 FY 2021
    1764        Exhibit 11.D to Kinrich Expert Report Updated
                10-17-22 – Summary of Apple Watch Bill of
                Materials and Estimation of Cost of Apple
                Sensor Module, Apple Watch Series 6, Q4 FY
                2020–Q3 FY 2021
    1765        Exhibit 11.E to Kinrich Expert Report Updated
                10-17-22 – Summary of Apple Watch Bill of
                Materials and Estimation of Cost of Apple
                Sensor Module, Apple Watch Series 7, Q1 FY
                2022–Q2 FY 2022
    1766        Exhibit 12 to Kinrich Expert Report Updated 10-      11/7/2024      11/7/2024
                17-22 – Apple Watch Line of Business Report
                (Worldwide) Q3 FY 2015 – Q2 FY 2022

    1767        Exhibit 13.A to Kinrich Expert Report Updated
                10-17-22 – Apple Inc. Income Statement FY
                2010 – FY 2021
    1768        Exhibit 13.B to Kinrich Expert Report Updated
                10-17-22 – Masimo Corp. Income Statement
                Q4 2010 – Q3 2020

    1769        Exhibit 14 to Kinrich Expert Report Updated 10-      11/7/2024      11/7/2024
                17-22 – Apple Watch Feature Comparison,
                Series 4 through Series 7, 2018—2021

    1770        Exhibit 15.A to Kinrich Expert Report Updated
                10-17-22 – Apple Agreements




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Trial Ex. No.                     Description                          Date           Date
                                                                     Identified     Admitted
    1771        Exhibit 15.B to Kinrich Expert Report Updated
                10-17-22 – Masimo Agreements with Third
                Parties and Masimo – Cercacor Agreements

    1772        Withdrawn
    1773        Withdrawn
    1774        Withdrawn
    1775        Withdrawn
    1776        Withdrawn
    1777        Withdrawn
    1778        Withdrawn
    1779        Withdrawn
    1780        Withdrawn
    1781        Withdrawn
    1782        8/15/2022 Apple's Objections and Responses to
                Plaintiffs' First Set of Requests for Admissions
                (Nos. 1-50)
    1783        9/6/2022 [HC-AEO] Apple's Supplemental
                Objections and Responses to Plaintiffs' First Set
                of Interrogatories (Nos. 1-5)
    1784        5/25/2022 [HC-AEO] Apple's Fourth
                Supplemental Objections and Responses to
                Plaintiffs' Second Set of Interrogatories (No. 6)

    1785        9/6/2022 [HC-AEO] [Redacted] Apple's
                Supplemental Objections and Responses to
                Plaintiffs' Second Set of Interrogatories (Nos. 6-
                10)
    1786        10/7/2022 [HC-AEO] Apple's Supplemental
                Objections and Responses to Plaintiffs' Third
                Set of Interrogatories to Apple (Nos. 11-13)
   1786.1       10/7/2022 [HC-AEO] Apple's Supplemental                 11/8/2024      11/8/2024
                Objections and Responses to Plaintiffs' Third
                Set of Interrogatories to Apple (Nos. 11-13) -
                EXCERPT
    1787        10/7/2022 [HC-AEO] Apple's Supplemental
                Objections and Responses to Plaintiffs' Fourth
                Set of Interrogatories to Apple (Nos. 14-16)




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Trial Ex. No.                      Description                          Date           Date
                                                                      Identified     Admitted
    1788        3/4/2022 Apple's Supplemental Objections and
                Responses to Plaintiffs' Fifth Set of
                Interrogatories (No. 19)
    1789        8/5/2022 [HC-AEO] Apple's Fifth
                Supplemental Objections and Responses to
                Plaintiffs' Fifth Set of Interrogatories (Nos. 20-
                21)
    1790        9/12/2022 [HC-AEO] [Corrected] Apple' s                  11/6/2024      11/6/2024
                Supplemental Objections and Responses to
                Plaintiffs_ Fifth Set of Interrogatories (Nos. 17-
                22)
   1790.1       9/12/2022 [HC-AEO] [Corrected] Apple' s                 11/12/2024     11/12/2024
                Supplemental Objections and Responses to
                Plaintiffs_ Fifth Set of Interrogatories (Nos. 17-
                22)
    1791        9/6/2022 [HC-AEO] Apple's Supplemental
                Objections and Responses to Plaintiffs' Sixth Set
                of Interrogatories (Nos. 23-24)
    1792        4/29/2022 [HC-AEO] Apple's Supplemental
                Objections and Responses to Plaintiffs' Seventh
                Set of Interrogatories (No. 25)
    1793        6/15/2022 [HC-AEO] Apple's Objections and
                Responses to Plaintiffs' Eighth Set of
                Interrogatories (Nos. 26-35)
    1794        8/5/2022 [HC-AEO] Apple's Supplemental
                Objections and Responses to Plaintiffs' Eighth
                Set of Interrogatories (Nos. 26-27, 30, 34)
    1795        9/15/2022 [HC-AEO] Apple's Supplemental                 11/12/2024     11/12/2024
                Objections and Responses to Plaintiffs' Eighth
                Set of Interrogatories (No. 32)
    1796        9/6/2022 [HC-AEO] [Redacted] Apple's
                Supplemental Objections and Responses to
                Plaintiffs' Eighth Set of Interrogatories (Nos. 26-
                35)
    1797        INTENTIONALLY OMITTED
    1798        2/8/2021 Email from David Fang to Heather
                (HI) Daniel et al. re [Reg Scandium]
                Competitive Analysis [with attachment]
    1799        INTENTIONALLY OMITTED



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Trial Ex. No.                     Description                     Date           Date
                                                                Identified     Admitted
    1800        1/30/2020 Email from Ron Cordell to Aditya
                Dua re Scandium Liveon
    1801        2/19/2021 Email from Hai Pham to David Fang
                re Masimo SpO2 Ref Devices in Inventory?

    1802        1/14/2020 Email from Aditya Dua to Steven
                Rybicki re Buying Masimo Bluetooth SpO2
                Sensors for Scandium live-on
    1803        INTENTIONALLY OMITTED
    1804        Data Flow Presentation
    1805        INTENTIONALLY OMITTED
    1806        1/17/2019 Email from Chau Nguyen to Dong
                Zheng re ASIC
    1807        5/20/2021 Dkt. No. 379-5 [HC-AEO]
                Declaration of Michael O'Reilly in Support of
                Apple's Opposition to Plaintiffs' Motion to
                Compel Tim Cook's ESI
    1808        5/20/2021 Dkt. No. 379-6 [HC-AEO]
                Declaration of Adrian Perica in Support of
                Apple's Opposition to Plaintiffs' Motion to
                Compel Tim Cook's ESI
    1809        Withdrawn
    1810        Withdrawn
    1811        Withdrawn
    1812        Withdrawn
    1813        Withdrawn
    1814        Apple Website- Healthcare                         11/12/2024     11/12/2024
    1815        Apple Website- Empower your patients with
                their health data
    1816
                Apple Website- See more of yourself in Health
    1817        Apple Website- Apple Watch. Empowering your
                patients to live a healthier day.
    1818        Masimo Website- Patient SafetyNet
    1819        Masimo Website- W1
    1820        Withdrawn
    1821        Withdrawn
    1822        Withdrawn
    1823        Masimo Marketing Plan for iSpO2 (Consumer
                and Rx)


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Trial Ex. No.                     Description                        Date           Date
                                                                   Identified     Admitted
    1824        Cercacor Marketing Plan for G2
    1825        Withdrawn
    1826        Withdrawn
    1827        Technical Presentation                                11/4/2024      11/4/2024
    1828        ASIC Specifications and Requirements                  11/4/2024      11/4/2024
    1829        6/12/2020 Apple Drawing Number 380-00124,
                Rev. A, ASSEMBLY, OPT.A, FOLSOM, ASE,
                X1606
    1830        8/10/2020 Apple Drawing Number 613-13494,
                Rev. A, X1680, BC ASSY, FS, SM
    1831        Apple Presentation, "BC Architecture"
    1832        2/28/14 Han slides on BC component-level
                ambient intrusion tests
    1833        2/21/14 Han slides on optical leakage mitigation

    1834         1/21/14 Email from Hotelling regarding
                Lamego 1/27 start date
    1835        N27 Platinum refinement plan meeting
                invitation 3/7/14, includes Lamego and only 4
                others
    1836        Optical Architecture Weekly restricted meeting
                invitation 2/3/14, includes Lamego and only 4
                others
    1837        Multiple Channel Pulse Oximetry restricted
                meeting invitation 2/6/14, includes Lamego and
                only 4 others
    1838        N27 sensor review meeting invitation 1/31/14,
                includes Lamego
    1839        2/18/14 N27A Platinum Exec Update (weekly),
                includes Lamego, O’Reilly and many others

    1840        2/19/14 slides showing N27A Platinum
                Algorithm Update
    1841        2/25/14 slides on N27A Platinum Exec Status
    1842        Series 2 (N7x) Visual BOM
    1843        Visual BOM
    1844        Recognition for Excellence
    1845        Withdrawn
    1846        Masimo Awards from website (2009)
    1847        Masimo Awards webpage (2020)                          11/5/2024      11/5/2024



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Trial Ex. No.                   Description                       Date           Date
                                                                Identified     Admitted
    1848        Masimo.com Recognitions for Excellence
                (2014)
    1849        DOTmed News WHO provides insights into
                global medical technology needs August 25,
                2010
    1850        Withdrawn
    1851        Withdrawn
    1852        Withdrawn
    1853        Withdrawn
    1854        WSJ Patent Scorecard for 2010
    1855        SCCM Technology Excellence Award
    1856        Masimo - Awards
    1857        Safe Care Magazine Joe Kiani Cover Story "Can      11/5/2024      11/5/2024
                this man save American healthcare?
    1858        Patient Safety Movement Announces 69,519
                Lives Saved _ Patient Safety Movement
    1859        Medical Technology Companies Have Signed
                the Patient Safety Movement’s Open Data
                Pledge - Patient Safety Movement
    1860        About - Patient Safety Movement
    1861        Masimo CEO Joe Kiani Named Ernst & Young
                Entrepreneur of the Year
    1862        Market Engineering Award for Competive
                Strategy
    1863        Medical Design Excellence Awards
    1864        Market Engineering Awards for the Blood and
                Gas Monitoring Equipment Market
    1865        SCCM Technology Excellence Award February
                2000
    1866        Highest Audie Lewis customent satisfaction
                rating ever
    1867        Masimo Receives Frost & Sullivan's Product
                Quality Leadership Award
    1868        2003 Frost & Sullivan Honors Masimo for            11/5/2024      11/5/2024
                Setting Patient Monitoring Standard of Care
    1869        AEA Honors Masimo with Innovative                  11/5/2024      11/5/2024
                Product/Technology Award 2001
    1870        2001 Medical Design Excellence Award for           11/5/2024      11/5/2024
                RadicalSignal Extraction Pulse Oximenter




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Trial Ex. No.                     Description                     Date           Date
                                                                Identified     Admitted
    1871        Masimo Corp. Outstanding Medical Device Co. -      11/5/2024      11/5/2024
                AEA 2000 high tech Award Winner
    1872        SCCM Technology Excellence Award
    1873        Masimo Awards
    1874        The Society for Critical Care Medicine Honors
                Masimo Corp. with the SCCM Technology
                Excellence Award
    1875        Early Photo of Kiani Diab
    1876        Kiani Fortune Cookie Fortune
    1877        2003 Masimo Press Releases
    1878        2004 Masimo Press Releases
    1879        2005 Masimo Press Releases                         11/5/2024      11/5/2024
    1880        2006 Masimo Press Releases
    1881        2007 Masimo Press Releases
    1882        2008 Masimo Press Releases                         11/5/2024      11/5/2024
    1883        2009 Masimo Press Releases
    1884        Masimo in the News April 2010
    1885        Masimo in the News December 2009
    1886        Masimo in the News February 2010
    1887        Masimo in the News January 2010
    1888        Masimo in the News July 2010
    1889        Masimo in the News March 2010
    1890        Masimo in the News May-June 2010
    1891        Masimo in the News October-November 2009

    1892        Masimo Press Releases 2010
    1893        Masimo Press Releases 2011
    1894        Masimo Press Releases 2012
    1895        Masimo Press Releases 2013
    1896        2017 Masimo Annual Report
    1897        File History for U.S. Patent No. 9,723,997
   1897.1       Excerpt of file history of U.S. Patent No.         11/5/2024      11/5/2024
                9,723,997
    1898        File History for U.S. Patent No. 10,078,052
    1899        File History for U.S. Patent No. 10,219,754
   1899.1       Excerpt of file history of U.S. Patent No.         11/5/2024      11/5/2024
                10,219,754
    1900        File History for U.S. Patent No. 9,952,095
   1900.1       Excerpt of file history of U.S. Patent No.         11/5/2024      11/5/2024
                9,952,095


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Trial Ex. No.                   Description                      Date           Date
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    1901        File History for U.S. Patent No. 11,009,390
    1902        Photo of Diab and Kiani                           11/5/2024      11/5/2024
    1903        1990 Diab lab notebook
    1904        Photo of Diab and "Big Red" Cluster               11/5/2024      11/5/2024
    1905        Masimo's progress report on HbCO
                development and Rainbow Feasibility Study
    1906        Photo of Diab and Lamego                          11/5/2024      11/5/2024
    1907        Email from Joe Kiani announcing promotion of
                Lamego to Chief Technical Officer
    1908        Rainbow Project-Feasibility Study for             11/5/2024      11/5/2024
                Noninvasive Detection of Carbon Monoxide
    1909        Diab's lab notebook
    1910        Diab's 1990 lab notebook                          11/6/2024      11/6/2024
    1911        Source.zip (Pronto-7 MATLAB code archive)

    1912        compare.m (Pronto-7 MATLAB code file)             11/6/2024      11/6/2024
    1913        Algorithm.zip (Pronto-7 MATLAB code
                archive)
    1914        immediate_7.m (Pronto-7 MATLAB code file)

    1915        USP 10524671 File History
    1916        Withdrawn
    1917        Withdrawn
    1918        Frontendalg.m
    1919        Withdrawn
    1920        Withdrawn
    1921        Crosstalk degradation investigation
    1922        1992-_Diab_Black Bound Notebook.pdf
    1923        1994 Diab Notebook
    1924        Withdrawn
    1925        Withdrawn
    1926        Withdrawn
    1927        Dalke Notebook 105 - 1997
    1928        Bob Smith Lab Notebook 295
    1929        Dalke Notebook 301
    1930        Dalke Notebook 370
    1931        Dalke Notebook 444
    1932        Dalke Notebook 620
    1933        Dalke Notebook 90
    1934        Smith Notebook 410


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Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    1935        Smith noteboook 425
    1936        Smith notebook 238
    1937        Dalke Notebook 550
    1938        Smith Notebook 282
    1939        Withdrawn
    1940        Withdrawn
    1941        Withdrawn
    1942        Withdrawn
    1943        Withdrawn
    1944        Withdrawn
    1945        Withdrawn
    1946        Withdrawn
    1947        Withdrawn
    1948        Withdrawn
    1949        Withdrawn
    1950        Withdrawn
    1951        Dalke Notebook 281                                 11/6/2024      11/6/2024
    1952        Withdrawn
    1953        Masimo MX-3 Board System Design (R-
                SD10042B.doc)
    1954        Withdrawn
    1955        Withdrawn
    1956        Withdrawn
    1957        U.S. Patent No. 9,519,077
    1958        U.S. Patent Publication US20210405594A1
    1959        5/30/2013 MFi Manufacturing License between
                Masimo Corporation and Apple Inc. (Contract #
                C56-13-01786)
    1960        Withdrawn
    1961        Withdrawn
    1962        Withdrawn
    1963        Withdrawn
    1964        Withdrawn
    1965        Withdrawn
    1966        Withdrawn
    1967        Withdrawn
    1968        Withdrawn
    1969        Withdrawn
    1970        Withdrawn
    1971        Withdrawn


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Trial Ex. No.                    Description                      Date         Date
                                                                Identified   Admitted
    1972        Withdrawn
    1973        Withdrawn
    1974        Withdrawn
    1975        Withdrawn
    1976        Withdrawn
    1977        Withdrawn
    1978        Withdrawn
    1979        Withdrawn
    1980        Withdrawn
    1981        Withdrawn
    1982        Withdrawn
    1983        Withdrawn
    1984        Withdrawn
    1985        Withdrawn
    1986        7/17/2014 Apple Citrine ASIC Engineering
                Requirements Specification, Rev. 0.0 (APL-
                MAS_00102201)
    1987        Withdrawn
    1988        Withdrawn
    1989        7/29/2014 Email from Ueyn Block to Erno
                Klaassen, Guocheng Shao, Ravi Shaga, Jon
                Gale, Rui Peterson re Re: Equipment Lent to
                Marcelo
    1990        Withdrawn
    1991        Withdrawn
    1992        Withdrawn
    1993        Withdrawn
    1994        Withdrawn
    1995        Withdrawn
    1996        Withdrawn
    1997        Withdrawn
    1998        Withdrawn
    1999        7/29/2014 Email from Erno Klaassen to Ueyn
                Block, re Re: Equipment from Marcelo's office

    2000        Withdrawn
    2001        Withdrawn
    2002        Withdrawn
    2003        Withdrawn
    2004        Withdrawn


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Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    2005        Withdrawn
    2006        Withdrawn
    2007        Withdrawn
    2008        Withdrawn
    2009        Withdrawn
    2010        5/6/2013 Email from Brian Land to , re Re:
                Masimo Rainbow ReSposable probes
    2011        Withdrawn
    2012        Withdrawn
    2013        Withdrawn
    2014        Withdrawn
    2015        Withdrawn
    2016        Withdrawn
    2017        Withdrawn
    2018        Withdrawn
    2019        Withdrawn
    2020        Withdrawn
    2021        7/14/2017 Email from Shin John Choi to Steve
                Hotelling, re Fwd: [Offer] Ehsan Masoumi |
                Offer#: 86389520 | Req. #55544243 | Slot Code:
                Pey-Jiun Ko Backfill with attachments

    2022        Withdrawn
    2023        Withdrawn
    2024        Withdrawn
    2025        Withdrawn
    2026        Withdrawn
    2027        Withdrawn
    2028        Withdrawn
    2029        Withdrawn
    2030        Withdrawn
    2031        Withdrawn
    2032        Withdrawn
    2033        Withdrawn
    2034        Withdrawn
    2035        3/6/2014 Email from Alan Chern to Marcelo
                Lamego, Brian Land, Daniel Culbert et al. re
                N27A: Platinum Improvements for ProtoS and
                beyond
    2036        Withdrawn


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Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    2037        Withdrawn
    2038        Withdrawn
    2039        Withdrawn
    2040        Withdrawn
    2041        Withdrawn
    2042        Withdrawn
    2043        Withdrawn
    2044        Withdrawn
    2045        Withdrawn
    2046        Withdrawn
    2047        Withdrawn
    2048        Withdrawn
    2049        Withdrawn
    2050        Withdrawn
    2051        Withdrawn
    2052        Withdrawn
    2053        Withdrawn
    2054        5/27/2019 Letter from Don Ginsburg (Apple) to
                Bilal Muhsin (Masimo) re Notice of
                Termination for Inactivity of MFi Agreem - MFI
                Manufacturing License C56-13-01787
    2055        Withdrawn
    2056        Withdrawn
    2057        Withdrawn
    2058        Withdrawn
    2059        Withdrawn
    2060        Withdrawn
    2061        Withdrawn
    2062        Withdrawn
    2063        Withdrawn
    2064        Withdrawn
    2065        Withdrawn
    2066        Withdrawn
    2067        Withdrawn
    2068        Withdrawn
    2069        Withdrawn
    2070        Withdrawn
    2071        10/2/2013 Email from Mike OReilly to Denby
                Frazier, re Re: Marcelo Lamego
    2072        Withdrawn


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Trial Ex. No.                   Description                      Date         Date
                                                               Identified   Admitted
    2073        Withdrawn
    2074        Withdrawn
    2075        3/26/2014 Email from Daniel Culbert to
                Marcelo Lamego, Jack Fu re Algorithm
                improvements
    2076        Table of activities addressed and algorithms
    2077        Withdrawn
    2078        Withdrawn
    2079        Withdrawn
    2080        Withdrawn
    2081        Withdrawn
    2082        Withdrawn
    2083        5/29/2013 Email from Adrian Perica to Cathy
                Meehan, re Re: Suggested Next Step - Masimo
                CEO meeting in Irvine, CA
    2084        5/15/2013 Email from Adrian Perica to Robert
                Mansfield, re Re: Masimo
    2085        Withdrawn
    2086        Withdrawn
    2087        Withdrawn
    2088        Withdrawn
    2089        Withdrawn
    2090        Withdrawn
    2091        Withdrawn
    2092        Withdrawn
    2093        Withdrawn
    2094        Withdrawn
    2095        Withdrawn
    2096        Withdrawn
    2097        Withdrawn
    2098        Withdrawn
    2099        Withdrawn
    2100        Withdrawn
    2101        Withdrawn
    2102        Withdrawn
    2103        Withdrawn
    2104        Withdrawn
    2105        Withdrawn
    2106        Withdrawn
    2107        Withdrawn


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Trial Ex. No.                   Description                      Date           Date
                                                               Identified     Admitted
    2108        Withdrawn
    2109        Withdrawn
    2110        Withdrawn
    2111        Withdrawn
    2112        Withdrawn
    2113        Withdrawn
    2114        Withdrawn
    2115        Withdrawn
    2116        Withdrawn
    2117        Withdrawn
    2118        Withdrawn
    2119        Withdrawn
    2120        Withdrawn
    2121        Withdrawn
    2122        Withdrawn
    2123        Withdrawn
    2124        Withdrawn
    2125        Withdrawn
    2126        7/30/2014 Email from Ueyn Block to Nick
                Allec, re masimo sensor with attachment N27A
                Platinum 3rd Party Hardware Benchmarking

    2127        12/3/2013 Email from Lan Nguyen to Steve          11/8/2024      11/8/2024
                Hotelling, re Re: Recruiting from Masimo
    2128        Withdrawn
    2129        Withdrawn
    2130        Withdrawn
    2131        Withdrawn
    2132        Withdrawn
    2133        Withdrawn
    2134        Withdrawn
    2135        Withdrawn
    2136        Withdrawn
    2137        Withdrawn
    2138        Withdrawn
    2139        Withdrawn
    2140        Withdrawn
    2141        Withdrawn
    2142        Withdrawn
    2143        Withdrawn


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Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    2144        Withdrawn
    2145        Withdrawn
    2146        3/2019 Apple Presentation, "Health/Apple
                Watch"
    2147        Withdrawn
    2148        Withdrawn
    2149        Withdrawn
    2150        Withdrawn
    2151        Withdrawn
    2152        Withdrawn
    2153        Withdrawn
    2154        2/12/2013 Email from Adrian Perica to James
                Foster, Steve Smith re Re: Can we get together
                tomorrow to discuss targets ?
    2155        2/2013 Apple Presentation, "Rover Discussion
                Materials" [draft]
    2156        Withdrawn
    2157        Withdrawn
    2158        Withdrawn
    2159        Withdrawn
    2160        Withdrawn
    2161        Withdrawn
    2162        Withdrawn
    2163        Withdrawn
    2164        Withdrawn
    2165        Withdrawn
    2166        Withdrawn
    2167        Withdrawn
    2168        Apple Inc. Confidentiality Agreement (Mutual)
                between Apple Inc. and Masimo Corporation
                [blank]
    2169        Withdrawn
    2170        Withdrawn
    2171        Withdrawn
    2172        Withdrawn
    2173        Withdrawn
    2174        7/12/2013 T126 P1 Ruby Card V2
    2175        3/5/2014 SIP
    2176        Withdrawn




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Trial Ex. No.                    Description                      Date         Date
                                                                Identified   Admitted
    2177        3/4/2014 Apple Drawing No. 051-1903, X81
                Flex Sensor 4X, Size D, Rev. 0.4.0
    2178        Withdrawn
    2179        Withdrawn
    2180        Withdrawn
    2181        Withdrawn
    2182        3/6/2014 Apple Drawing No. 951-4705,
                Daughter_Opal_SCH, Size D, Rev. S
    2183        8/29/2013 Email from Steve Hotelling to Myra
                Haggerty and Jack Fu re Fwd: Rover 8/28" with
                Masimo Meeting invite attachment
    2184        2/19/2013 iMessage re Masimo
    2185        Withdrawn
    2186        Withdrawn
    2187        Withdrawn
    2188        Withdrawn
    2189        Withdrawn
    2190        Withdrawn
    2191        Withdrawn
    2192        Withdrawn
    2193        Withdrawn
    2194        Withdrawn
    2195        1/22/2020 Email from Aditya Dua to
                Christopher McElhatton, Merraya Boyer,
                Timothy Wood et al. re Re: Masimo devices for
                Scandium Live-on Study
    2196        Withdrawn
    2197        Withdrawn
    2198        12/6/2021 Letter from Ryan J. Fletcher to
                Joshua Lerner re Withdraw from the 3/3/21
                Confidentiality Agreement and the 3/3/21
                Common Interest and Confidentiality
                Agreement
    2199        Withdrawn
    2200        Withdrawn
    2201        Withdrawn
    2202        Withdrawn
    2203        Withdrawn
    2204        Withdrawn
    2205        Withdrawn


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Trial Ex. No.                   Description                       Date           Date
                                                                Identified     Admitted
    2206        Withdrawn
    2207        Withdrawn
    2208        Withdrawn
    2209        Withdrawn
    2210        Withdrawn
    2211        Withdrawn
    2212        12/16/2020 Email from Denby Sellers to Karina
                Venegas, Mark Ryan, Mark Bentley re Re:
                Urgent - Masimo
    2213        Withdrawn
    2214        Withdrawn
    2215        Withdrawn
    2216        Withdrawn
    2217        Masimo Information Security Policy                 11/6/2024      11/6/2024
                (IS10001B.DOC)
    2218        Withdrawn
    2219        Withdrawn
    2220        Withdrawn
    2221        Withdrawn
    2222        Withdrawn
    2223        Withdrawn
    2224        Withdrawn
    2225        Withdrawn
    2226        Withdrawn
    2227        Withdrawn
    2228        Withdrawn
    2229        Withdrawn
    2230        Withdrawn
    2231        Withdrawn
    2232        Withdrawn
    2233        Lamego Confidentiality Agreement                   11/5/2024      11/5/2024
                (MASM0142435-2438.PDF)
    2234        Masimo Information Security Policy
                (IS10001A.DOC)
    2235        Masimo Information Security Policy
                (IS10001B.DOC)
    2236        Masimo Information Systems Process/Procedure
                (IS10001C.DOC)
    2237        Masimo Information Systems Process/Procedure
                (IS10001D.DOC)


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Trial Ex. No.                     Description                         Date         Date
                                                                    Identified   Admitted
    2238        Masimo Information Systems Process/Procedure
                (IS10001E.DOC)
    2239        Masimo Information Systems Process/Procedure
                (IS10001H.DOC)
    2240        Masimo Information Systems Process/Procedure
                (IS10001L_Information_Security_Policy_ENG_
                Spanish_Swedish_Japanese.docx)

    2241        Masimo Information Systems Process/Procedure
                (IS10001M_Information_Security_Policy_ENG
                _Spanish_Swedish_Japanese.docx)

    2242        Masimo Computer Equpment Acceptable Use
                Policy (IS10031A.DOC)
    2243        Masimo Computer Equpment Acceptable Use
                Policy (IS10031B.DOC)
    2244        Masimo Computer Equpment Acceptable Use
                Policy (IS10031C.DOC)
    2245        Masimo Computer Equpment Acceptable Use
                Policy (IS10031D.DOC)
    2246        Masimo Computer Equpment Acceptable Use
                Policy (IS10031E.DOC)
    2247        Masimo Computer Equpment Acceptable Use
                Policy (IS10031F.doc)
    2248        Masimo Information Technology Acceptable
                Use Policy (IS10031G.doc)
    2249        Masimo Information Systems Policy/Procedure
                (IS-
                10031H_AcceptableUsePolicy_ENG_Spanish_
                Swedish_Japanese.docx)
    2250        Withdrawn
    2251        2019 09 05 Reed Albergotti - Apple has copied
                some of the most popular apps in the App Store
                for its iPhone, iPad and other software updates -
                The Washington Post.pdf
    2252        Withdrawn
    2253        Withdrawn
    2254        Withdrawn
    2255        Withdrawn
    2256        Withdrawn


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Trial Ex. No.                   Description                       Date            Date
                                                                Identified      Admitted
    2257        Withdrawn
    2258        Withdrawn
    2259        Withdrawn
    2260        Withdrawn
    2261        Withdrawn
    2262        2014-02-05 Employee Terminatin Form.pdf
    2263        1/21/2014 Cercacor Employee Acknowledgment         11/6/2024      11/6/2024
                - Marcelo Lamego
    2264        2014-01-21 Emails re Marcelo's Exit Interview
                and Net Proceed Check.pdf
    2265        Re IMPORTANT request to HR change in last
                day of employment and exit interview.msg
    2266        MASIMO LABS EMPLOYEE HANDBOOK                      11/6/2024      11/6/2024
                2009.pdf
    2267        Withdrawn
    2268        Withdrawn
    2269        Withdrawn
    2270        Withdrawn
    2271        Withdrawn
    2272        Withdrawn
    2273        Withdrawn
    2274        Withdrawn
    2275        Withdrawn
    2276        Withdrawn
    2277        Withdrawn
    2278        Withdrawn
    2279        Withdrawn
    2280        Withdrawn
    2281        Withdrawn
    2282        Withdrawn
    2283        Withdrawn
    2284        Withdrawn
    2285        Withdrawn
    2286        Withdrawn
    2287        Withdrawn
    2288        Withdrawn
    2289        Withdrawn
    2290        Withdrawn
    2291        Withdrawn
    2292        Withdrawn


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Trial Ex. No.                  Description               Date            Date
                                                       Identified      Admitted
    2293        Withdrawn
    2294        Withdrawn
    2295        Withdrawn
    2296        Withdrawn
    2297        Withdrawn
    2298        Withdrawn
    2299        Withdrawn
    2300        Withdrawn
    2301        Withdrawn
    2302        Withdrawn
    2303        Withdrawn
    2304        Withdrawn
    2305        Withdrawn
    2306        Withdrawn
    2307        Withdrawn
    2308        Withdrawn
    2309        Withdrawn
    2310        Withdrawn
    2311        Withdrawn
    2312        Withdrawn
    2313        Withdrawn
    2314        Withdrawn
    2315        Withdrawn
    2316        Withdrawn
    2317        Withdrawn
    2318        Withdrawn
    2319        Withdrawn
    2320        Withdrawn
    2321        Information Security Policy.doc
    2322        Computer Equipment Acceptable Use
                Policy.doc
    2323        Info_Systems_Policy_10008A.DOC            11/6/2024      11/6/2024
    2324        Withdrawn
    2325        Withdrawn
    2326        Withdrawn
    2327        Withdrawn
    2328        Withdrawn
    2329        Withdrawn
    2330        Withdrawn
    2331        Withdrawn


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Trial Ex. No.                    Description                       Date            Date
                                                                 Identified      Admitted
    2332        Withdrawn
    2333        Withdrawn
    2334        Withdrawn
    2335        Withdrawn
    2336        Withdrawn
    2337        Withdrawn
    2338        Withdrawn
    2339        Withdrawn
    2340        Withdrawn
    2341        Withdrawn
    2342        Withdrawn
    2343        Withdrawn
    2344        Withdrawn
    2345        Withdrawn
    2346        Withdrawn
    2347        Withdrawn
    2348        Withdrawn
    2349        Document Access Chart
    2350        Directory Access Chart
    2351        Document Access Chart
    2352        Document Access Chart
    2353        Confidentiality Agreement between Apple and         11/5/2024      11/5/2024
                Masimo, April 2013
    2354        User Access Report                                  11/5/2024      11/5/2024
    2355        IS10001N_Information_Security_Policy_ENG_
                SP_SW_JAP_CH.docx
    2356        IS-
                10031J_AcceptableUsePolicy_ENG_SP_SW_J
                P_CH.docx
    2357        IS-10100B-Data Protection Incident Response
                Plan.doc
    2358        IS-10101 Information Protection Program Policy
                Rev A.docx
    2359        IS-10102 Endpoint Protection Policy Rev
                A.docx
    2360        IS-10103 Portable Media Security Policy Rev
                A.docx
    2361        IS-10104 Mobile Device Security Policy Rev
                A.docx




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Trial Ex. No.                    Description                     Date          Date
                                                               Identified    Admitted
    2362        IS-10105 Wireless Security Policy Rev A.docx

    2363        IS-10106 Configuration Management Policy
                Rev A.docx
    2364        IS-10107 Vulnerability Management Policy Rev
                A.docx
    2365        IS-10108 Network Protection Policy Rev
                A.docx
    2366        IS-10109 Transmission Protection Policy Rev
                A.docx
    2367        IS-10110 Password Management Policy Rev
                A.docx
    2368        IS-10112 Access Control Policy Rev A.docx
    2369        IS-10114 Audit Logging and Monitoring Policy
                Rev A.docx
    2370        IS-10115 Education, Training, and Awareness
                Policy Rev A.docx
    2371        IS-10116 Third Party Assurance Policy Rev
                A.docx
    2372        IS-10117 Incident Management Policy Rev
                A.docx
    2373        IS-10118 Business Continuity and Disaster
                Recovery Policy Rev A.docx
    2374        IS-10119 Risk Management Policy Rev A.docx

    2375        IS-10121 Data Protection and Privacy Policy
                Rev A.docx
    2376        IS-10124A -EN FR SP IT -Information
                Technology Monitoring. Ensuring Network
                Security Policy for European Union
                Countries.DOC
    2377        IS-10133 Secure Coding Guidlines (OWASP
                Top 10)_RevA.docx
    2378        AD Groups and Members 10-2010.xlsx
    2379        AD_Users_8-11-2011.xls
    2380        AD_UsersList 7-2008.xls
    2381        3/23/2012 Email from Jonathan Rosario to
                Simone Ammann-Beaty re IS
                Polices/Agreements




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Trial Ex. No.                     Description                     Date            Date
                                                                Identified      Admitted
    2382        Computer Equipment Acceptable Use
                Policy.doc
    2383        1/5/2009 Email from Jonathan Rosario to
                Marcelo Lamego re Security Camera IP
    2384        10/31/2008 Email from Herb Chatterton to
                Marcelo Lamego re Security Code
    2385        5/30/2008 Email from Herb Charterton to
                Masimo Team - Parker re Key Cards and
                Security Alarms
    2386        12/22/2009 Email from Marcelo Lamego to
                Kamila Maciejewska re FW Agile access
    2387        FRM1918A - Agile Electronic Signature.DOC

    2388        Cercacor Code of Business Conduct (2013).pdf       11/6/2024      11/6/2024

    2389        Masimo Audit Policy (IS 10034D-Master.doc)

    2390        Masimo Information Security Policy
                (IS10001F.DOC)
    2391        Masimo Information Security Policy
                (IS10001G.DOC)
    2392        Masimo Information Security Policy
                (IS10001J.doc)
    2393        Masimo Information Security Policy
                (IS10001K.doc)
    2394        Masimo Server Security Policy
                (IS10003A.DOC)
    2395        Masimo Email Use Policy (IS10008C.doc)
    2396        Masimo Information Technology Training
                Policy & Procedure (IS10011A.DOC)
    2397        Masimo Audit Policy (IS10034B.DOC)
    2398        Masimo Audit Policy
                (IS10034C_Audit_Policy.doc)
    2399        Certifcation of Electronic Signature in Agile
                PLM Software
    2400        User Report
    2401        5/1/18 Email from Howard Chan to Cercacor
                Labs All
    2402        Cercacor Information Security Policy               11/6/2024      11/6/2024
    2403        Information Security Policy Procedure              11/6/2024      11/6/2024



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Trial Ex. No.                   Description                  Date          Date
                                                           Identified    Admitted
    2404        Computer Equipment Acceptable Use Policy
    2405        Information Security Policy Procedure
    2406        Information Security Policy Procedure
    2407        Directory Access Chart
    2408        Directory Access Chart
    2409        Directory Access Chart
    2410        Access to Optics Lab Chart
    2411        Masimo Employee Handbook - US - July
                2016.pdf
    2412        Restated Code of Business Conduct and
                Ethics.pdf
    2413        Computer Equipment Acceptable Use
                Policy.doc
    2414        Employee Confidentiality Agreement.pdf
    2415        Withdrawn
    2416        Withdrawn
    2417        Withdrawn
    2418        Withdrawn
    2419        Withdrawn
    2420        Withdrawn
    2421        Withdrawn
    2422        Withdrawn
    2423        Withdrawn
    2424        Withdrawn
    2425        Withdrawn
    2426        Withdrawn
    2427        Withdrawn
    2428        Withdrawn
    2429        Withdrawn
    2430        Withdrawn
    2431        Withdrawn
    2432        Withdrawn
    2433        Withdrawn
    2434        Withdrawn
    2435        Withdrawn
    2436        Withdrawn
    2437        Withdrawn
    2438        Withdrawn
    2439        Withdrawn
    2440        Withdrawn


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Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
    2441        Withdrawn
    2442        Withdrawn
    2443        Withdrawn
    2444        Withdrawn
    2445        Withdrawn
    2446        Withdrawn
    2447        Withdrawn
    2448        Withdrawn
    2449        Withdrawn
    2450        Withdrawn
    2451        Withdrawn
    2452        Withdrawn
    2453        Withdrawn
    2454        Withdrawn
    2455        Withdrawn
    2456        Withdrawn
    2457        Withdrawn
    2458        Withdrawn
    2459        Withdrawn
    2460        Withdrawn
    2461        Withdrawn
    2462        Withdrawn
    2463        Withdrawn
    2464        Withdrawn
    2465        Withdrawn
    2466        Withdrawn
    2467        Withdrawn
    2468        Withdrawn
    2469        Withdrawn
    2470        Withdrawn
    2471        Withdrawn
    2472        Withdrawn
    2473        Withdrawn
    2474        Withdrawn
    2475        Withdrawn
    2476        Withdrawn
    2477        Withdrawn
    2478        Withdrawn
    2479        Withdrawn
    2480        Withdrawn


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Trial Ex. No.                   Description                 Date            Date
                                                          Identified      Admitted
    2481        Withdrawn
    2482        Withdrawn
    2483        Withdrawn
    2484        Withdrawn
    2485        Withdrawn
    2486        Withdrawn
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    2500        Withdrawn
    2501        Withdrawn
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    2507        Withdrawn
    2508        Withdrawn
    2509        Withdrawn
    2510        Withdrawn
    2511        Withdrawn
    2512        Withdrawn
    2513        Withdrawn
    2514        Employee Confidentiality MAI 2012.pdf        11/6/2024      11/6/2024
    2515        Employee Handbook Masimo Revised
                9_2012(73424586_2) - VM, TM, PH.docx
    2516        Withdrawn
    2517        7/13/2020 App Store Communications (App
                Store Communications[1].docx)




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Trial Ex. No.                    Description                        Date          Date
                                                                  Identified    Admitted
    2518        Cercacor Standard Operating Procedure (SOP-
                1018A_Inspspection by Agencies.doc)
    2519        Online Platforms and Market Power Part 6
                Examining the Dominance of Amazon,
                Apple,.PDF
    2520        Withdrawn
    2521        Withdrawn
    2522        Withdrawn
    2523        Withdrawn
    2524        Withdrawn
    2525        Withdrawn
    2526        Withdrawn
    2527        Withdrawn
    2528        Withdrawn
    2529        Withdrawn
    2530        Mfi License for Masimo Corporation (MFi-21-
                053415.pdf)
    2531        Withdrawn
    2532        Withdrawn
    2533        Withdrawn
    2534        Withdrawn
    2535        Withdrawn
    2536        Withdrawn
    2537        Withdrawn
    2538        Withdrawn
    2539        Withdrawn
    2540        Clinical evaluation and diagnostic yield
                following evaluation of abnormal pulse detected
                using Apple Watch.pdf
    2541        https_www.theverge.com_21438576_blood-
                oxygen-apple-watch-series-6-reliability.pdf
    2542        https_www.theverge.com_2020_10_1_2149681
                3_apple-watch-heart-monitor-ekg-false-
                positive.pdf
    2543        Apple Watch 6’s blood oxygen sensor is
                unreliable and misleading - The Washington
                Post.pdf
    2544        Page Vault Apple Watch 6’s blood oxygen
                sensor is unreliable and misleading - The
                Washington Post.pdf


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Trial Ex. No.                    Description                         Date            Date
                                                                   Identified      Admitted
    2545        Apple Watch Series 7 Infuriating Problem To
                Be Fixed In Days (forbes.com).pdf
    2546        https_www.theverge.com_2021_7_27_2259417
                8_apple-watch-data-research-heart-rate-
                reliability.pdf
    2547        The unexpected health impacts of wearable tech -
                The Verge.pdf
    2548        This Is What Your Smartwatch Is Doing to Your
                Sad Chafed Wrist Skin (melmagazine.com).pdf

    2549        Three flaws in the Apple Watch heart health
                study - TechRepublic.pdf
    2550        Apple Heart Study Despite The Ballyhoo No
                Benefits Demonstrated Harms Not Measured –
                The Skeptical Cardiologist.pdf
    2551        Should You Trust the New Apple Watch on
                Blood Oxygen Readings - MedPage Today.pdf

    2552        https_www.mobihealthnews.com_news_apple-
                watchs-abnormal-pulse-feature-driving-
                many.pdf
    2553        New Study Confirms Poor Apple Watch ECG
                App Sensitivity For Atrial Fibrillation – The
                Skeptical Cardiologist.pdf
    2554        8/19/2008 Email from Jonathan Rosario to
                Marcelo Lamego RE: Sharepoint (RE:
                sharepoint.msg)
    2555        Lamego Active Directory Chart
                (Lamego_AD_Access.xlsx)
    2556        Directory Access Chart (Rainbow Dir                   11/6/2024      11/6/2024
                Access1.xls)
    2557        User Access Chart (AllUser - 9-20-
                2011.xls.xlsx)
    2558        10/28/2009 Email from Marcelo Lamego to
                Jonathan Rosario RE: Folder access (RE folder
                access.msg)
    2559        8/4/2010 Email from Jonathan Rosario to
                Masimo Labs Team RE: New Project Folders
                (New Project Folders.msg)




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Trial Ex. No.                    Description                      Date            Date
                                                                Identified      Admitted
    2560        7/29/2010 Email from Yonsam Lee to Mitesh          11/6/2024      11/6/2024
                Patel, Tony Allan Re: CO-000668
                (MASM0152908-911 - CO-000668 .pdf)
    2561        Masimo Computer Equipment Acceptable Use           11/6/2024      11/6/2024
                Policy (MASM0152977-980 - IS10031A.pdf)

    2562        Withdrawn
    2563        Masimo Server Security Policy                      11/6/2024      11/6/2024
                (IS10003A.DOC)
    2564        Masimo’s Information Technology Training           11/6/2024      11/6/2024
                Policy & Procedure, IS-10011, Rev. A, DRO
                12479
    2565        Pronto 7 Sorted LED Wavelength Specifications      11/6/2024      11/6/2024
                (MASM0152434 - ADS-1660.pdf)

    2566        Directory Access Chart (MASM0152468 - All
                Ad users account with groups.xls)
    2567        MASM0152530 -542 - Code of Business
                Conduct (2013)-Final.pdf
    2568        Critical Vendor Onsite Visit Procedures.docx
    2569        Withdrawn
    2570        Withdrawn
    2571        Research Letter, Accuracy of Apple Watch for
                Detection of Atrial Fibrillation
                (MASA03584103-MASA03584104.pdf)
    2572        The Apple Watch's blood oxygen sensor is less
                accurate than you think (MASA03584105-
                MASA03584107.pdf)
    2573        Withdrawn
    2574        Withdrawn
    2575        Withdrawn
    2576        Withdrawn
    2577        Withdrawn
    2578        Withdrawn
    2579        Withdrawn
    2580        Withdrawn
    2581        Withdrawn
    2582        Withdrawn
    2583        Withdrawn
    2584        Withdrawn


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    2585        Withdrawn
    2586        Withdrawn
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    2591        Withdrawn
    2592        Withdrawn
    2593        Withdrawn
    2594        Withdrawn
    2595        Withdrawn
    2596        Withdrawn
    2597        Withdrawn
    2598        Withdrawn
    2599        Withdrawn
    2600        Withdrawn
    2601        Withdrawn
    2602        Withdrawn
    2603        Withdrawn
    2604        Withdrawn
    2605        Withdrawn
    2606        Withdrawn
    2607        Withdrawn
    2608        Withdrawn
    2609        Withdrawn
    2610        Withdrawn
    2611        Withdrawn
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    2617        Withdrawn
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    2624        Withdrawn


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    2625        Withdrawn
    2626        Withdrawn
    2627        Withdrawn
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    2630        Withdrawn
    2631        Withdrawn
    2632        Withdrawn
    2633        Withdrawn
    2634        Withdrawn
    2635        Withdrawn
    2636        Withdrawn
    2637        Photo of MASITC_P_019
    2638        Photo of MASITC_P_019
    2639        Withdrawn
    2640        Withdrawn
    2641        Withdrawn
    2642        Withdrawn
    2643        Photo of MASITC_P_022
    2644        Photo of MASITC_P_022
    2645        Withdrawn
    2646        Withdrawn
    2647        Withdrawn
    2648        Withdrawn
    2649        Withdrawn
    2650        Withdrawn
    2651        Withdrawn
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    2664        Withdrawn


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    2665        Withdrawn
    2666        Withdrawn
    2667        Withdrawn
    2668        Withdrawn
    2669        Withdrawn
    2670        Withdrawn
    2671        Withdrawn
    2672        Withdrawn
    2673        Withdrawn
    2674        Fitbit and Apple know their smartwatches arent
                medical devices. But do you.pdf
    2675        Withdrawn
    2676        Withdrawn
    2677        Withdrawn
    2678        5/18/2018 Email from Huong Phan to Alicia
                Burns et al. re Rainbow Documents released om
                AGILE effective 5/17/2018
    2679        Withdrawn
    2680        Cercacor Presentation, Team Meeting - 12-19-
                2018.pptx
    2681        Withdrawn
    2682        Masimo Assessment of Doctella with Radius
                PPG (Doctella-LTF-03182020.pdf)
    2683        FDA Draft Guidance 1400062 (Clinical
                Decision Support Software 2019).pdf
    2684        App Store Communications[1].docx
    2685        Withdrawn
    2686        Withdrawn
    2687        Withdrawn
    2688        Withdrawn
    2689        Withdrawn
    2690        Withdrawn
    2691        Withdrawn
    2692        Withdrawn
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    2695        Withdrawn
    2696        Withdrawn
    2697        Withdrawn
    2698        Withdrawn


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Trial Ex. No.                     Description                          Date          Date
                                                                     Identified    Admitted
    2699        Withdrawn
    2700        Canada Medical Device License (104303 (2020-
                04-10).pdf)
    2701        Masimo EC Declaration of Conformity (TFA-
                1308A - Signed.pdf)
    2702        SS20-749_Radius PPG.pdf
    2703        MD1200 - Registration for Higher Risk Medical
                Device_Radius PPG_MD207374___.pdf

    2704        SS20-749_Radius PPG.pdf
    2705        FDA Letter for Rad-97 and accessories
                (K183697.Letter.SE.FINAL_Sent001.pdf)
    2706        Withdrawn
    2707        Withdrawn
    2708        Withdrawn
    2709        Sana Kazilbash, Can the Apple Watch Series 6
                Keep the Doctor Away? (MASITC_01402074-
                MASITC_01402089.pdf)

    2710        Improved Pulse Oximeter Technology Changes
                Caregiver Practice Patterns: Masimo SET vs.
                Conventional Pulse Oximetry (B16_Durbin,
                Rostow.pdf)
    2711        More Reliable Oximetry Imrpoves Caregiver
                Efficiency (B18_Durbin, Rostow.pdf)
    2712        barker-motion-resistant-pulse-oximetry-a-
                comparison-of-new-and-old-models-oct-
                2002.pdf
    2713        castillo-prevention-of-rop-in-preterm-infants-feb-
                2011.pdf
    2714        granelli-impact-of-pulse-oximetry-screening-on-
                the-detection-of-duct-dependent-congenital-
                heart-disease-jan-2009.pdf
    2715        Hay, Rodden.pdf
    2716        Durbin, DG, More Reliable Oximetry Reduces
                the Frequency of Arterial Blood Gas Analysis
                and Hastens Oxygen Weaning After Cardiac
                Surgery, , Critical Care Medicine, 30(8), 1735-
                1740, (2002)




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Trial Ex. No.                     Description                       Date            Date
                                                                  Identified      Admitted
    2717        Patel, DS, Weaning Protocol Possible with
                Pulse Oximeter Technology, Advance for
                Managers of Respiratory Care, 9(9), 86, (2000)

    2718        Shan, N, Comparison of Three New Generation
                Pulse Oximeters during Motion & Low
                Perfusion in Volunteers, Anesthesiology, 105,
                A929 (2006)
    2719        Erier, T, Longevity of Masimo and Nellcor
                Pulse Oximeter Sensors in the Care of Infants ,
                Journal of Perinatology, 23:133-1335 (2003)

    2720        Signal Extraction Technology , Masimo
                Technical Bulletin, 2006
    2721        Pulse Oximeter Overview, Masimo SET vs Tyco-
                Nellcor and Philips , Masimo Technical Bulletin
                (2006)
    2722        This paper explains the concept,
                implementation, and use of Masimo SET,
                Radical, and Radical SatShare products ,
                Masimo Tecchnical Bulletin 2, (2008)
    2723        Monitoring SpO2 During Conditions Involving
                Low Perpheral Perfusion, Masimo WhitePaper

    2724        LAB4033C_Whitepaper, Measurement During
                Very Low Cardiac Output (US).pdf
    2725        0700 Masimo - Awards.pdf                             11/5/2024      11/5/2024
    2726        0701 cover-story-safe-care.pdf                       11/5/2024      11/5/2024
    2727        0705 Masimo CEO Joe Kiani Named Ernst &
                Young Entrepreneur of the Year.pdf
    2728        Masimo Award and Press Release (PTX                  11/5/2024      11/5/2024
                2324.PDF)
    2729        Masimo Award and Press Release (PTX                  11/5/2024      11/5/2024
                2326.PDF)
    2730        Market Engineerring Awards for the Blood Gas         11/5/2024      11/5/2024
                Monitoring Equipment Market, Frost &
                Sullivan's 2000 Market Engineering Wards




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Trial Ex. No.                    Description                       Date            Date
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    2731        Press Release: The Society for Critical Care        11/5/2024      11/5/2024
                Medicine Honors Masimo Corporation with the
                SCCM Technology Excellence Award Feb. 3,
                2000
    2732        Press Release: Audie Lewis Consulting Releases      11/5/2024      11/5/2024
                Independent Quality/Benefits Audit on Masimo
                SET Pulse Oximetry Oct. 24, 2001

    2733        Audie Lewis Consulting, Independent                 11/5/2024      11/5/2024
                Quality/Benefits Report of the Masimo
                Corporation and Signal Extraction Techology
                (Masimo SET) June-October 2001
    2734        Press Release: Masimo Receives Frost &              11/5/2024      11/5/2024
                Sullivan's Product Quality Leadership Award,
                Sept. 12, 2002
    2735        Frost & Sullivan Honors Masimo for Setting          11/5/2024      11/5/2024
                Patient Monitoring Standard of Care, News
                Alert, June 16, 2003
    2736        Masimo Recognitions for Excellence
    2737        Masimo 2012 Annual Report
    2738        Masimo 2009 Annual Report
    2739        Masimo 2008 Annual Report
    2740        Masimo 2007 Annual Report
    2741        Masimo 2011 Annual Report
    2742        Masimo 2012 Annual Report
    2743        Kiani Notebook
    2744        Email and attachment from Mike Drummond to
                Joe Kiani, et al. re iSpO2 Movie Review Press
                Release (6/17/2015)
    2745        Email from Joe Kiani to Paul Jansen et al. re
                Ironman Kona on NBC with commercial
                (12/9/2016)
    2746        RE Mtng with Personal Gold cyclist and
                team.msg
    2747        Data from Masimo MightySat Gives US
                Olympic Cycling Silver Medalist Dotsie Bausch
                the Edge.mp4
    2748        Barker, "Motion-Resistant" Pulse Oximetery: A       11/5/2024      11/5/2024
                Comparison of New and Old Models,
                Anesthesia & Analgesia, Oct. 2002


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Trial Ex. No.                   Description                       Date            Date
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    2749        FDA 510(k) Premarket Approval for Masimo           11/5/2024      11/5/2024
                MS-1 Pulse Oximeter and LNOP Series of
                Sensors and Cables
    2750        FDA 510(k) Premarket Approval for Masimo           11/5/2024      11/5/2024
                MS-1P Pulse Oximeter and LNOP Series of
                Sensors and Cables
    2751        Kiani Notebook
    2752        Barker, The Effects of Motion on the               11/5/2024      11/5/2024
                Performance of Pulse Oximeters in Volunteers,
                Anesthesiology, Jan. 1997
    2753        Excerpt of Respiratory Care Vol. 42, No. 11,
                November 1997
    2754        Email from Mike Drummond to Joe Kiani
                (6/12/2015)
    2755        Article attached to Email from Mike Drummond
                to Joe Kiani (6/12/2015)
    2756        Email from Sky Christopherson to Joe Kiani
                (1/21/2018)
    2757        Email from Kiani to Christopherson re Huge
                News!, dated November 20, 2016
    2758        Email from Christopherson to Kiani re Huge
                News!, dated November 20, 2016
    2759        Email from Christopherson to Yazdani re
                Olympic/Apple project update, dated February
                8, 2017
    2760        Email from Christopherson to Kiani re Gold
                App/MightSat, dated July 14, 2017
    2761        Email from livewire@masimonewscom to               11/5/2024      11/5/2024
                Masimo Team re Livewire release: "Masimo
                Launches iSpO2, dated December 13, 2012
    2762        iSpo2 Media Coverage - 21 articles as of
                1/10/13
    2763        Email from Kiani to Maghame re ISPO2, dated
                April 17, 2012
    2764        Email from Kiani to Maghame re ISPO2 -
                Contact Info, dated April 18, 2012
    2765        Email from Sampath to Kiani re Roadmap -
                Slide Support, dated June 6, 2012
    2766        Presentation - Board Update - Roadmap.pptx




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                                                                  Identified    Admitted
    2767        Email from livewire@masimonewscom to Kiani
                re Livewire release: "Masimo Unveils
                MightySat at Consumer Electronics Show,"
                dated January 5, 2015
    2768        Email from Kiani to Sampath re Apple/Sports
                Illustrated Update, dated October 30, 2017
    2769        Email from Linus Park to Jarow Jonathan re
                FDA Innovation Challenge (12/14/2018)
    2770        Article, FDA Innovation Challenge: Devices to
                Prevent and Treat Opioid Use Disorder
    2771        Email from Masimo Team (1/5/2015)
    2772        Cercacor Presentation, Hummingbird Project,
                Mar. 16, 2018
    2773        Email from Omar Ahmed to Paul Jansen, et al.
                (12/2/2016)
    2774        Email from Bilal Muhsin to Nicholas Barker, et
                al. (1/22/2016)
    2775        Email from Jon Coleman to Joe Kiani, et al.
                (1/17/2013)
    2776        Cercacor Presentation, Engineering Update, Feb.
                28, 2018
    2777        Email from Gerry Hammarth to Mel Chiba
                (11/22/2014)
    2778        Email from Joe Kiani to Yongsam Lee, et al.
                (10/16/2013)
    2779        Masimo Presentation, Nov. 21, 2011
    2780        Masimo Proposal for FDA Innovation
                Challenge, Sept. 28, 2018
    2781        Masimo Press Release, Masimo Launches
                iSpO2 - the First Commercially Available Pulse
                Oximeter for iPhone, iPad, & iPod Touch,

    2782        Masimo Corp. v. Philips Elec. North America
                Corp., No. 09-80-LPS, 2015 WL 2406061 (D.
                Del. May 18, 2015)
    2783        Masimo Corp. v. Philips Elec. North America
                Corp., No. 09-80-LPS, 2015 WL 2379485 (D.
                Del. May 18, 2015)
    2784        2001 Report re Masimo SET
    2785        2009 Masimo 10-K


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                                                                Identified      Admitted
    2786        2021 Masimo 10-K
    2787        2008 Masimo 10-K
    2788        2014 Masimo 10-K
    2789        2020 Masimo 10-K
    2790        2010 Masimo 10-K
    2791        2016 Masimo 10-K
    2792        2018 Masimo 10-K
    2793        2013 Masimo 10-K Amended
    2794        2017 Masimo 10-K
    2795        2019 Masimo 10-K
    2796        2015 Masimo 10-K
    2797        2012 Masimo 10-K
    2798        2011 Masimo 10-K
    2799        Apple Watch Series 6 Advertisement Video
    2800        Apple Watch Series 6 Advertisement Video
    2801        Masimo SET Pulse Oximetry Bibliography             11/5/2024      11/5/2024

    2802        Video: Apple Watch Series 6
    2803        Video: Apple Event - September 14
    2804        Video: Apple Event
    2805        Video: Masimo W1
    2806        Video: WWDC 2020
                (https://www.youtube.com/watch?v=GEZhD3J8
                9ZE&t=845s)
    2807        ASIC Engineering Requirements Specification
    2808        ASIC Engineering Requirements Specification
    2809        ASIC Engineering Requirements Specification
    2810        Apple Engineering Presentation
    2811        Apple Presentation, Mar. 19, 2014
    2812        Apple Engineering Document, Mar. 19, 2014
    2813        Intellectual property The trouble with troll-
                hunting.PDF
    2814        Tech Giants Are Using Efficient Infringement
                (a.k.a Invention Theft) to Crush Competitors
                and Kill Innovation _ Save the Inventor.pdf
    2815        The trouble with patent-troll-hunting.PDF




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                                                                   Identified      Admitted
    2816        Article: What Steve Jobs Really Meant When
                He Said 'Good Artists Copy; Great Artists Steal'
                (https://www.cnet.com/tech/tech-industry/what-
                steve-jobs-really-meant-when-he-said-good-
                artists-copy-great-artists-steal/)
    2817        Photo of Cercacor Prototype
    2818        Photo of Cercacor Prototype
    2819        Photo of Cercacor Prototype
    2820        Email from Mr. Lamego to Joe Kiani (CEO of
                both Masimo and Cercacor) dated July 21, 2006

    2821        Email from Mr. Lamego to Tim Cook date
                October 2, 2013
    2822        Email from David Tom to Steve Hotelling re
                Marcelo Lamego
    2823        Letter from Holland to Horne dated July 23,
                2026
    2824        Email from Mien-Chie Hung to Mike O'Reilly            11/5/2024      11/5/2024
                re Introduction, dated July 28, 2016
    2825        Email from O'Reilly to Shusterman et al. re
                Apple and ResearchKit, dated April 1, 2015
    2826        Email from Anand Sampath to
                MOR@Apple.com and Bilal Muhsin re great to
                see you! dated March 9, 2016
    2827        Email from Barker to O'Reilly re Here's your
                Gogo receipt and feedback, dated April 20, 2016

    2828        Email from O'Reilly to Barker re Two days ago?
                dated November 21, 2019
    2829        Email from Jansen to Mistri re Masimo follow
                up, dated January 12, 2016
    2830        Email from Hotelling to Lyon et al. re Marcelo
                Lamego, dated November 19, 2013
    2831        Withdrawn
    2832        website that downloaded from
                https://web.archive.org/web/20170215000000*
                /http://www.apple.com/healthcare in December
                2021




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Trial Ex. No.                    Description                      Date          Date
                                                                Identified    Admitted
    2833        Website downloaded from
                https://www.apple.com/newsroom/archive
                /health/?page=2 in December 2021
    2834        Website downloaded from
                https://www.apple.com/newsroom/2018/12/ecga
                pp-and-irregular-heart-rhythm-notification-
                available-today-on-apple-watch/ in
                December 2021
    2835        Website downloaded from
                https://web.archive.org/web/20140909204705/ht
                tp://www.apple.com/watch/overview/ in
                December 2021
    2836        Website downloaded from
                https://www.apple.com/watch/compare/?afid=p2
                38%7CsoOkM0o33-
                dc_mtid_20925qtb42335_pcrid_570650681223
                _pgrid_130165755314_&cid=wwa-us-kwgo-
                watch-slid---Brand-AppleWatch-
                evergreenwatch- in January 2022
    2837        Presentation, "Platinum-Osmium Algorithms-
                Optica Sync, dated October 2, 2018
    2838        Presentation, "Scandium - Validation Strategy
                Review" dated March 2020
    2839        Presentation, "Scandium (T393) Update" dated
                September 21, 2018
    2840        Draft information sheet on Scandium Watch
                App
    2841        Mist Specification - External Engineering
                Requirements Specification, Apple Sensing
                Hardware
    2842        Technical Presentation
    2843        Technical Presentation
    2844        Research Protocol - Scandium HW Validation
                (Desaturation), Human Physiology DRI
    2845        Email from Gujarati to Mazzanti re Blood
                Oxygen AppleCare Case Analysis, dated
                October 27, 2020
    2846        Email from Mazzanti to Gujarati re Blood
                Oxygen AppleCare Case Analysis, dated
                October 27, 2020


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Trial Ex. No.                    Description                       Date          Date
                                                                 Identified    Admitted
    2847        Email from Gujarati to Saha re Hot Spot:
                Scandium Poor IR & Red Signal, dated July 13,
                2020
    2848        Email from Gujarati to Saha re Hot Spot:
                Scandium Poor IR & Red Signal, dated July 13,
                2020
    2849        Email from Caldbeck to O'Reilly re Scandium,
                dated September 14, 2020
    2850        Email from Gujarati to Katragadda re Scandium
                Heart Rate Limitations, dated July 22, 2020

    2851        Email from Gujarati to Williams-Hart re
                Feedback Requested on Q202066 - Blood
                Oxygen SaMD Feature (Apple), dated January
                22, 2021
    2852        Excerpts from excel file printout, Apple
                Quantities Requested and Approved
    2853        Email from Chung to Klaasen re Johannes
                Bruinsma, dated August 7, 2014
    2854        Email from radar@apple.com (Radar Mail
                Notification) to Lamego, dated March 7, 2014

    2855        Email from Culbert to Fu re Deck for Wed 2/12
                exec update, dated February 19, 2014
    2856        Email from Waydo to Fu re Platinum FA Slides
                for JeffW update, dated March 26, 2014

    2857        Email from Hotelling to Loganthan re Radar#
                for Masimo attaching Apple Presentation,
                "Rover" dated January 23, 2013
    2858        Email from Perica to Frazier re Mike O'Reilly,
                dated May 23, 2013
    2859        Withdrawn
    2860        Email from O'Reilly to Desai re Backstory
                regarding a Foundation, dated November 11,
                2017
    2861        Draft Webpage, "Taking an ECG with the ECG
                app on Apple Watch Series 4"
    2862        Letter from FDA to Tillman re De Novo
                Request for ECG App


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Trial Ex. No.                     Description                        Date          Date
                                                                   Identified    Admitted
    2863        Withdrawn
    2864        Documentation / SensorKit,
                https://developer.apple.com
    2865        Email from Whitehurst to Estoesta re Health use
                cases, dated February 5, 2015
    2866        Apple Presentation, "Healthcare Focus Areas,"
                April 2015
    2867        Email from Joswiak to Mistri re Details on
                HealthKit story - call? dated August 10, 2014
    2868        Withdrawn
    2869        Documentation / SensorKit,
                https://developer.apple.com
    2870        Apple Presentation, "Galenda - Goldilocks
                Study Concept Review," October 17, 2016
    2871        Email from Perica to Jansen re Checking in,
                dated March 22, 2013
    2872        Email from Lamego to Cook re The three
                equations, dated April 19, 2016
    2873        Email from Lamego to Cook re 1 Billion
                Watches in the next 10 years, dated December
                21, 2018
    2874        Email Lamego to Cook re Oxxiom, dated
                September 21, 2018
    2875        Email from O'Reilly to Sandberg re Big News,
                dated July 12, 2013
    2876        Becker's Hospital Review, "Behind Apple's
                healthcare strategy: 4 quotes from CEO Tim
                Cook,
                https://www.beckershospitalreview.com/disrupt
                ors/behind-apple-s-healthcare-strategy-4-quotes-
                from-ceo-tim-cook.html
    2877        Tim Cook: "Apple's greatest contribution could
                be in health and wellness,"
                https://www.sportspromedia.com/news/tim-cook-
                apple-watch-sports-fitness-plus/
    2878        Withdrawn
    2879        Withdrawn
    2880        Withdrawn
    2881        Masimo costs and overhead




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Trial Ex. No.                    Description                      Date            Date
                                                                Identified      Admitted
    2882        Email from Frazier to Cook re Bob
                Mansfield/Candidate Review, dated June 15,
                2013
    2883        Email from Williams to Youngs re Marcelo
                Lamego Hiring Recommendation, dated
                December 4, 2013
    2884        Email from Bentley to Frazier re IMPORTANT,
                dated June 29, 2013
    2885        Technical Presentation
    2886        Masimo Form 10-K, January 1, 2022
    2887        01/19/2018 Email from Bijy Zachariah to Jack
                Fu re Attendance to the Core Module Review
                for T394 Vaxholm
    2888        Palmatier Curriculum Vitae
    2889        Kinrich Curriculum Vitae
    2890        Algorithm.zip (Pronto-7 MATLAB code
                archive)
    2891        immediate_7.m (Pronto-7 MATLAB code file)

    2892        Nov. 4 2017 email from Land to Hotelling re        11/8/2024      11/8/2024
                Scandium Risks and Schedule
    2893        Demodulation, decimation and demultiplexing
                algorithm
    2894        Bio-Sensing Team
    2895        2/19/2014 Apple Technology analysis for
                Oxitone, ID: 16111452, by Marcelo Lamego
    2896        Fitness and wellness technology development
                slide deck
    2897        Provide fastest rate platinum can provide
                synchronized isopod samples to host
    2898        Scope: Adding High Pass Filter to SiP for
                Platinum
    2899        3/27/2014 Apple Platinum
                modulation/demodulation investigation with
                2kHz LPF on Opal DC rev1, ID: 16448559,
                Version: N27A EEFW, Modified 12/18/15
    2900        Demodulation, decimation and demultiplexing
                algorithm
    2901        1/31/2014 Apple Presentation, "iPhone Medical      11/7/2024      11/7/2024
                Device"


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Trial Ex. No.                     Description                         Date          Date
                                                                    Identified    Admitted
    2902        Source Code (slipsheet)
    2903        Source Code (slipsheet)
    2904        Source Code (slipsheet)
    2905        3/30/2014 Email from Marcelo Lamego to Steve
                Hotelling re Fwd: Opal FW Engineering Build:
                Mod/Demod scan support
    2906        11/10/2014 Email from Alexis Davies to John
                Earl re ResearchKit: Let's get this party started
    2907        1/21/2016 Email from Jeff Williams to Mike
                O'Reilly re CareKit
    2908        11/5/2013 Email from Adam Beberg to Sheilah
                Estoesta re iResearch product code
    2909        7/1/2014 Email from Lynn Youngs to Steve
                Hotelling re Fwd: Gen 1 Alg help
    2910        Apple slides re N27A
    2911        Apple presentation, "Platinum AC Coupling
                Circuit Investigation"
    2912        3/13/2014 Apple Presentation, "Quantitative
                Comparison of Performance of Ambient Light
                Intrustion Suppression Methods Addendum:
                Response to questions" by Alexander Kanaris
    2913        Apple Presentation, "N127 Platinum ASIC
                proposal"
    2914        1/31/2014 Apple Presentation, "Fitness and
                wellness technology development"
    2915        1/31/2014 Apple Presentation, "iPhone Medical
                Device"
    2916        Apple Presentation, "Opal daughter card - rev2
                FW requirements"
    2917        Apple slides re technology identification
    2918        4/3/2014 Email from Marcelo Lamego to Jeff
                Williams re N27 Possibilities
    2919        8/27/2013 Apple Presentation, "Kickoff
                Meeting"
    2920        10/30/2014 Email from Divya Nag to Afshad
                Mistri re Fwd: ResearchKit follow-up" [no
                attachment]
    2921        9/5/2013 Email from James Foster to Jeff
                Williams et al., re Actions




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Trial Ex. No.                    Description                         Date            Date
                                                                   Identified      Admitted
    2922        6/28/2014 Email from Mike O'Reilly to Divya
                Nag re ResearchKit update outline for Kevin
                and Jeff next week
    2923        5/16/2016 Health/Medical Update;
                Recruiting/Team Update
    2924        5/16/2016 Health/Medical Update
    2925        6/28/2014 Email from Divya Nag to Mike
                O'Reilly re ResearchKit update outline for Kevin
                and Jeff next week
    2926        Slides re Health Program Roles and
                Responsibilities (redlines)
    2927        Technical Presentation
    2928        Slides re N2xA failures
    2929        4/8/2014 Email from Shanti Vasudevan to Jack
                Fu et al., re Headsup 4/8 : Ambient Light
                Intrusion user study for Proto2-SIP OK2FAB
    2930        11/17/2017 Email from Guocheng Shao to Ueyn
                Block and Vivek Venugopal re LCF tester v.s. X-
                talk correlation study results [no attachment]

    2931        Technical Presentation
    2932        Apple slides re Crosstalk
    2933        Optical System- Build Test Fixture For
                Transmission Type Measurement
    2934        3/21/2014 Apple Presentation, "N27A |
                Platinum Modulation/Demodulation ± HPF :
                Proposed Scan Plan to Accomodate Concurrent
                AGC and OWD"
    2935        9/15/2017 Email from Ian Shapiro to Joseph
                McBride re Status and next steps for
                <rdar://problem/33776551> Fortune15R359:
                Heart rate warning from 8:44pm to 11:14pm
                while my watch is put on table"
    2936        Apple JHC/D/E/F X884 External System HW
                ERS, Rev. 0.01
    2937        Letter dated 01/24/2014 from Stephen Jensen to        11/5/2024      11/5/2024
                Timothy Cook re: Employment Obligations of
                Marcelo Lamego
    2938        Health | Data Acquisition 01/19/2017
    2939        Withdrawn


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Trial Ex. No.                     Description                      Date            Date
                                                                 Identified      Admitted
    2940        Emaisl dated 8/18/2016 From Erika Obhanych
                To Rupert Pearse re: Queen Mary University of
                London with attachmenbt Innt'l Univ. Apple
                Watch Donation
    2941        Meetings Minutes, New Atlantic Researach
                Information {Pre-Submission Q1720032/S001
                (March 13, 2018
    2942        Overview of mHealth Overview (12/9/2011)
    2943        Brochure, 2017 Annual Report US Edition             11/5/2024      11/5/2024
                (PS60614) (PLM-11228A
    2944        Email dated 4/22/2013 From Anand Sampath To
                Paul Janson, Michael O'Reilly re: Halo slides

    2945        Withdrawn
    2946        Email dated 8/7/2012 From Michael O'Reilly To
                John McManus re: Emailing Masimo Japan July
                2012.pptx
    2947        Withdrawn
    2948        Email dated 8/31/2011 From Mark Heibing To
                Michael O'Reilly re: Latest AF BAA docs
    2949        Withdrawn
    2950        Quad_Chart_EnRoute Care_MASIMO (3).ppt

    2951        Purchase and License Agreement between Island
                Critical Care Corp. and Masimo Corp. 5/5/ 1998

    2952        A breakdown of CardioNet's breakdown |
                MassDevice.com blogs \ MassDevice - Blog
                entry
    2953        Innovation Center - HHS-Update 12/14/2011
    2954        Document: Description of problem
    2955        Email dated 12/13/2011 From Anand Sampath
                To Ammar Al-Ali re: Prep for Mayo Rochester

    2956        Halo Index Training
    2957        8/18/1997 Booth, C., "Steve's Job: Restart
                Apple", Time Article




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Trial Ex. No.                    Description                        Date            Date
                                                                  Identified      Admitted
    2958        1/7/2015 BioSpace, "Masimo Corporation
                Unveils MightySat at Consumer Electronics
                Show - First Fingertip Pulse Oximeter With
                Masimo SET® Measure-through Motion and
                Low Perfusion(TM) Technology"
    2959        9/6/2016 BusinessWire, "Masimo MightySat™
                is Available at Apple.com and Select Apple
                Retail Stores in the US and Canada"

    2960        1/8/2019 Gurdus, L., "Tim Cook: Apple's
                greatest contribution will be 'about health'",
                CNBC
    2961        9/23/2020 Fowler, G., "The new Apple Watch
                says my lungs may be sick. Or perfect. It can't
                decide.", The Washington Post
    2962        2020 The History and Timeline of Cercacor
    2963        Jeroen Poeze - Agreements & Onboarding
                Documents
    2964        Walt Weber Employee folder
    2965        2/1/2018 Masimo Employee Confidentiality
                Agreement - David Dalke
    2966        6/25/2019 Masimo Employee Confidentiality
                Agreement - Rick Fishel
    2967        2/5/2018 Masimo Employee Confidentiality
                Agreement - James Pishney
    2968        2/6/2018 Masimo Employee Confidentiality
                Agreement - Bilal Muhsin
    2969        5/23/2004 Fax from Rick Fishel to Joe Kiani
                enclosing signed offer letter
    2970        6/25/2019 Masimo Employee Confidentiality
                Agreement - Rick Fishel
    2971        12/15/2014 Consulting Agreement between
                Masimo and Robert Smith
    2972        7/1/2004 Masimo Corporation Employee
                Confidentiality Agreement - Rick Fishel
    2973        1/13/2004 Masimo Americas, Inc. Amendment
                to Employee Confidentiality Agreement - Rick
                Fishel (partially executed)
    2974        3/12/2021 Employee Acknowledgment - Jeroen           11/5/2024      11/5/2024
                Poeze


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Trial Ex. No.                    Description                      Date            Date
                                                                Identified      Admitted
    2975        3/12/2021 Letter from Gerry Hammarth to
                Jeroen Poeze re Acceptance of Resignation
    2976        Cercacor Separation Reminders - Jeroen Poeze

    2977        1/28/2003 Masimo Employee Confidentiality
                Agreement - Marcelo Lamego (Dkt. No. 42-2,
                Exhibit 2)
    2978        1/31/2005 Masimo Employee Confidentiality          11/6/2024      11/6/2024
                Agreement - Marcelo Lamego (Dkt. No. 42-3,
                Exhibit 3)
    2979        5/14/2009 Masimo Employee Confidentiality
                Agreement - Marcelo Lamego (Dkt. No. 42-4,
                Exhibit 4)
    2980        Compilation of Confidentiality Agreements
    2981        Mohamed Diab Folder
   2981.1       Mohamed Diab Folder                                11/5/2024      11/5/2024
    2982        Greg Olsen - Agreements & Onboarding
                Documents
    2983        Apple Presentation, "Opal-2 design"
    2984        Apple Presentation, "Opal-2 design"
    2985        3/3/2014 Email from Dong Zheng to Louis
                Bokma re Opal-2 for N127A
    2986        Apple Presentation, "Opal-2 design"
    2987        9/29/2013 Email from Marcelo Lamego to Joe         11/5/2024      11/5/2024
                Kiani re AP
    2988        Visual BOM
    2989        Visual BOM
    2990        Technical Presentation
    2991        Provisional Application for US Patent Nos.
                9,723,997 and 10,524,671
    2992        Provisional Application for US Patent Nos.
                9,952,095 and 11,009,390
    2993        drawing of assembly
    2994        drawing of assembly for Folsom module (Series
                6)
    2995        drawing of assembly for Folsom module (Series
                7)
    2996        IS-10120 Physical and Environmental Security
                Policy Rev A.docx




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Trial Ex. No.                    Description                       Date            Date
                                                                 Identified      Admitted
    2997        Email from Joe Kiani to Marcelo Lamego, dated
                3/8/2009
    2998        Video: Providing You Safety and Support in          11/5/2024      11/5/2024
                Hospital and at Home with Masimo SafetyNet,
                https://www.youtube.com/watch?v=XyCWuSrm
                mMM (Video of MASA03352215)

    2999        Notice of Compliance of Defendant Marcelo
                Lamego, Dkt. 606, Masimo Corp. v. True
                Wearables, Inc., No. 8:18-cv-02002-JVS-JDE

    3001        U.S. Patent Application Publication No.
                2008/0242958
    3002        U.S. Patent Application Publication No.
                2015/0366507
    3003        U.S. Patent No. 7,764,982                          11/13/2024     11/13/2024
    3004        Masimo-Rainbow Reusable Senors Graphic
    3005        Masimo-Rainbow Single-Patient-Use Graphic
    3006        Pronto Pulse Co-Oximeter Graphic
    3007        U.S. Patent No. 8,050,728
    3008        Email from McClenahan to Smith, Apr. 15,
                2013
    3009        Laboratory Notebook No. 281, Issued to David
                Dalke, Sept. 5, 2003
    3010        Bob Smith Laboratory Notebook, 2005
    3011        Laboratory Notebook No. 301, Issued to David
                Dalke, Oct. 13, 2004
    3012        Signal IQ Technology
    3013        Email from Gonzalez to Muhsin, Sept. 21, 2018

    3014        Email from Lamego to Rosario, Jul. 2, 2010
    3015        Email from Priddell to Dalke et al., Apr. 24,
                2015
    3016        Masimo QBR Q4 2020 Part 1 Presentation
    3017        Email from Weber to Lee, Dec. 15, 2020
    3018        Design Capture-Cozumel ASIC User Manual
    3019        U.S. Patent No. 10,219,754
    3020        Bluesky-September 2020 Presentation, Sept. 18,
                2020




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Trial Ex. No.                    Description                       Date            Date
                                                                 Identified      Admitted
    3021        Email from Muhsin to Gonzalez, May. 19, 2015

    3022        Email from Ghafoori to Weber, Dec. 11, 2020
    3023        Schematics
    3024        Masimo System Design - Rainbow R1 Board
                System Design
    3025        Email from Abdul-Hafiz to Muhsin, Sept. 15,
                2015
    3026        STK Competitive Landscape Feature List, Oct.
                1, 2021
    3027        Email from Lee to Majmudar et al., Sep. 15,
                2020
    3028        Masimo Watch (STK) Algorithms / Sensor, Oct.
                6, 2020
    3029        Email from Wang to DeJong, Oct. 23, 2020
    3030        Air Watch Straps vs. Apple Watch Straps
    3031        STK Competitive Landscape Feature List, Oct.
                1, 2021
    3032        U.S. Patent No. 10,231,670
    3033        Masimo Watch (STK) Algorithms / Sensor
                PowerPoint, Oct. 6, 2020
    3034        VCC Diagram
    3035        WITHDRAWN
    3036        Recommendation letter from Kiani, Sep. 27,
                2006
    3037        Email from Kiani to Lasersohm et al., Dec. 16,
                2013
    3038        Recommendation Letter from Diab, Aug. 22,
                2006
    3039        Email from Lamego to Cook, Oct. 2, 2013
    3040        Letter from Frazier to Lamego, Dec. 20, 2013
    3041        Email from Lamego to Kiani, Jan. 9, 2014
    3042        Email from Frazier to Lamego, Jan. 9, 2014
    3043        Letter from Jensen to Cook, Jan. 24, 2014
    3044        Signed Lamego Intellectual Property                 11/7/2024      11/7/2024
                Agreement, Jan. 3, 2014
    3045        Apple Business Conduct- The way we do
                business worldwide
  3046.01       Email from Hotelling to Lamego, and
                attachment, Jan. 27, 2014


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Trial Ex. No.                    Description                      Date            Date
                                                                Identified      Admitted
    3047        WITHDRAWN
    3048        Fitness and wellness technology development,
                Jan. 31, 2014
    3049        Email from Lamego to Williams, Apr. 2, 2014
    3050        Email from Lamego to Hotelling, Jul. 1, 2014       11/7/2024      11/7/2024
    3051        Email from Lamego to Perica, Dec. 2, 2014
    3052        Orange County Business Journal, Why We Need
                Our Patent System; Masimo, OC's Shining
                Example, Nov. 17-23, 2014
    3053        Patent Review Meeting Invitation from Ross to
                Weber et al., Jun. 22, 2007
    3054        U.S. Patent No. 10,219,754
    3055        Email from Fu to Lamego, Feb. 11, 2014
    3056        Email from Lamego to Perica, Feb. 26, 2014
    3057        WITHDRAWN
    3058        Email from Lamego to Hotelling, Jun. 30, 2014

    3059        Email from Lamego to Lamego, May. 13, 2014

    3060        Email from Cook to Williams, Jan. 30, 2015
    3061        WITHDRAWN
    3062        WITHDRAWN
    3063        WITHDRAWN
    3064        WITHDRAWN
    3065        WITHDRAWN
    3066        WITHDRAWN
    3067        WITHDRAWN
    3068        WITHDRAWN
    3069        WITHDRAWN
    3070        WITHDRAWN
    3071        WITHDRAWN
    3072        WITHDRAWN
    3073        WITHDRAWN
    3074        WITHDRAWN
    3075        WITHDRAWN
    3076        WITHDRAWN
    3077        WITHDRAWN
    3078        WITHDRAWN
    3079        WITHDRAWN
    3080        WITHDRAWN


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                                                       Identified    Admitted
  3080.01       WITHDRAWN
  3080.02       WITHDRAWN
  3080.03       WITHDRAWN
  3080.04       WITHDRAWN
  3080.05       WITHDRAWN
  3080.06       WITHDRAWN
  3080.07       WITHDRAWN
  3080.08       WITHDRAWN
  3080.09       WITHDRAWN
   3080.1       WITHDRAWN
  3080.11       WITHDRAWN
  3080.12       WITHDRAWN
  3080.13       WITHDRAWN
  3080.14       WITHDRAWN
  3080.15       WITHDRAWN
  3080.16       WITHDRAWN
  3080.17       WITHDRAWN
  3080.18       WITHDRAWN
  3080.19       WITHDRAWN
   3080.2       WITHDRAWN
  3080.21       WITHDRAWN
  3080.22       WITHDRAWN
  3080.23       WITHDRAWN
  3080.24       WITHDRAWN
  3080.25       WITHDRAWN
  3080.26       WITHDRAWN
  3080.27       WITHDRAWN
  3080.28       WITHDRAWN
  3080.29       WITHDRAWN
   3080.3       WITHDRAWN
  3080.31       WITHDRAWN
  3080.32       WITHDRAWN
  3080.33       WITHDRAWN
  3080.34       WITHDRAWN
  3080.35       WITHDRAWN
  3080.36       WITHDRAWN
  3080.37       WITHDRAWN
  3080.38       WITHDRAWN
  3080.39       WITHDRAWN
   3080.4       WITHDRAWN


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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193203

Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
  3080.41       WITHDRAWN
  3080.42       WITHDRAWN
  3080.43       WITHDRAWN
  3080.44       WITHDRAWN
  3080.45       WITHDRAWN
  3080.46       WITHDRAWN
  3080.47       WITHDRAWN
  3080.48       WITHDRAWN
  3080.49       WITHDRAWN
   3080.5       WITHDRAWN
  3080.51       WITHDRAWN
  3080.52       WITHDRAWN
  3080.53       WITHDRAWN
  3080.54       WITHDRAWN
    3081        WITHDRAWN
    3082        WITHDRAWN
    3083        WITHDRAWN
    3084        WITHDRAWN
    3085        WITHDRAWN
    3086        WITHDRAWN
    3087        WITHDRAWN
    3088        WITHDRAWN
    3089        WITHDRAWN
    3090        WITHDRAWN
  3091.01       WITHDRAWN
  3091.02       WITHDRAWN
  3091.03       WITHDRAWN
  3091.04       WITHDRAWN
  3091.05       WITHDRAWN
  3091.06       WITHDRAWN
  3091.07       WITHDRAWN
  3091.08       WITHDRAWN
  3091.09       WITHDRAWN
   3091.1       WITHDRAWN
  3091.11       WITHDRAWN
  3091.12       WITHDRAWN
  3091.13       WITHDRAWN
  3091.14       WITHDRAWN
  3091.15       WITHDRAWN
  3091.16       WITHDRAWN


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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                           FOR NOVEMBER     2024 TRIAL
                                Page ID #:193204

Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
  3091.17       WITHDRAWN
  3091.18       WITHDRAWN
  3091.19       WITHDRAWN
   3091.2       WITHDRAWN
  3091.21       WITHDRAWN




    3092        WITHDRAWN




    3093        WITHDRAWN




    3094        WITHDRAWN
    3095        WITHDRAWN




    3096        WITHDRAWN
    3097        WITHDRAWN
    3098        WITHDRAWN
    3099        WITHDRAWN
    3100        WITHDRAWN
    3101        WITHDRAWN
    3102        WITHDRAWN
    3103        WITHDRAWN




    3104        WITHDRAWN



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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193205

Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
    3105        WITHDRAWN




    3106        WITHDRAWN




    3107        WITHDRAWN




    3108        WITHDRAWN




    3109        WITHDRAWN




    3110        WITHDRAWN




    3111        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193206

Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
    3112        WITHDRAWN




    3113        WITHDRAWN




    3114        WITHDRAWN




    3115        WITHDRAWN




    3116        WITHDRAWN




    3117        WITHDRAWN




    3118        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193207

Trial Ex. No.                    Description                       Date          Date
                                                                 Identified    Admitted
    3119        WITHDRAWN




    3120        WITHDRAWN




    3121        WITHDRAWN



    3122        WITHDRAWN

    3123        WITHDRAWN

    3124        WITHDRAWN

    3125        WITHDRAWN

    3126        WITHDRAWN

    3127        WITHDRAWN

    3128        WITHDRAWN

    3129        WITHDRAWN

    3130        WITHDRAWN

    3131        WITHDRAWN

    3132        Apple Unveils iOS 8, the Biggest Release Since
                the Launch of the App Store, June 2, 2014
    3133        WITHDRAWN

    3134        WITHDRAWN

    3135        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193208

Trial Ex. No.                    Description                    Date          Date
                                                              Identified    Admitted
    3136        WITHDRAWN

    3137        WITHDRAWN

    3138        WITHDRAWN

    3139        WITHDRAWN

    3140        WITHDRAWN

    3141        Masimo Launches iSpO2 -- Commerically
                Available Pulse Oximeter for iPhone, iPad &
    3142        WITHDRAWN

    3143        WITHDRAWN

    3144        WITHDRAWN

    3145        WITHDRAWN

    3146        WITHDRAWN

    3147        WITHDRAWN

    3148        WITHDRAWN

    3149        WITHDRAWN

    3150        WITHDRAWN

    3151        WITHDRAWN

    3152        WITHDRAWN

  3153.01       WITHDRAWN

  3153.02       WITHDRAWN

  3153.03       WITHDRAWN

  3153.04       WITHDRAWN

  3153.05       WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193209

Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
  3153.06       WITHDRAWN

  3153.07       WITHDRAWN

  3153.08       WITHDRAWN

  3153.09       WITHDRAWN

   3153.1       WITHDRAWN

  3153.11       WITHDRAWN

  3153.12       WITHDRAWN

  3153.13       WITHDRAWN

  3153.14       WITHDRAWN

  3153.15       WITHDRAWN

  3153.16       WITHDRAWN

  3153.17       WITHDRAWN

  3153.18       WITHDRAWN

    3154        WITHDRAWN

    3155        WITHDRAWN

    3156        WITHDRAWN

    3157        WITHDRAWN

    3158        WITHDRAWN

    3159        WITHDRAWN

    3160        WITHDRAWN

    3161        WITHDRAWN

    3162        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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Trial Ex. No.                     Description                         Date            Date
                                                                    Identified      Admitted
    3163        WITHDRAWN

    3164        WITHDRAWN

    3165        Apple introduces Apple Watch Series 2, the
                ultimate device for a healthy life, Sept. 7, 2016
    3166        Apple Watch Series 4: Beautifully Redesigned
                with Breakthrough Communication, Fitness and
    3167        Using Apple Watch for Arrhythmia Detection,
                Dec. 2020
    3168        Apple reveals Apple Watch Series 7, featuring a
                larger, more advanced display, Sept. 14, 2021
    3169        Apple unveils Apple Watch Series 5, Sept. 10,
                2019
    3170        Apple Unveils Apple Watch—Apple’s Most
                Personal Device Ever, Sept. 9, 2014
    3171        Apple Watch (1st Generation) – Technical
                Specifications, 2019
    3172        Apple Watch Buyer, FY21-Q1 Report

    3173        Apple Watch Comparison

    3174        Apple Watch SE: The ultimate combination of
                design, function, and value, Sept. 15, 2020
    3175        Apple Watch Series 3, brings built-in cellurlar
                powerful new health and fitness enhancements,
    3176        Apple Watch Series 6 delivers breakthrough            11/12/2024     11/12/2024
                wellness and fitness capabilities, Sept. 15, 2020
    3177        WITHDRAWN

    3178        Apple, Introducing Apple Watch Ultra, 2022

    3179        Apple, Nike and Apple Team Up to Launch
                Nike+iPod, Apple Newsroom, 2006
    3180        WITHDRAWN

    3181        WITHDRAWN

    3182        WITHDRAWN

    3183        WITHDRAWN

    3184        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
    3185        WITHDRAWN

    3186        WITHDRAWN

    3187        WITHDRAWN

    3188        WITHDRAWN

    3189        WITHDRAWN

    3190        WITHDRAWN

    3191        WITHDRAWN

    3192        WITHDRAWN

    3193        WITHDRAWN

    3194        WITHDRAWN

    3195        WITHDRAWN

    3196        WITHDRAWN

    3197        WITHDRAWN

    3198        WITHDRAWN

    3199        WITHDRAWN

    3200        WITHDRAWN

    3201        WITHDRAWN

    3202        WITHDRAWN

    3203        WITHDRAWN

    3204        WITHDRAWN

    3205        WITHDRAWN

    3206        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193212

Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
    3207        WITHDRAWN

    3208        WITHDRAWN

    3209        WITHDRAWN

    3210        WITHDRAWN

    3211        WITHDRAWN

    3212        WITHDRAWN

    3213        WITHDRAWN

    3214        WITHDRAWN

    3215        WITHDRAWN

    3216        WITHDRAWN

    3217        WITHDRAWN

    3218        WITHDRAWN

    3219        WITHDRAWN

    3220        WITHDRAWN

    3221        WITHDRAWN

    3222        WITHDRAWN

    3223        WITHDRAWN

    3224        WITHDRAWN

    3225        WITHDRAWN

    3226        WITHDRAWN

    3227        WITHDRAWN

    3228        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
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Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
    3229        WITHDRAWN

    3230        WITHDRAWN

    3231        WITHDRAWN

    3232        WITHDRAWN

    3233        WITHDRAWN

    3234        WITHDRAWN

    3235        WITHDRAWN

    3236        WITHDRAWN

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    3240        WITHDRAWN

    3241        WITHDRAWN

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    3244        WITHDRAWN

    3245        WITHDRAWN

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    3247        WITHDRAWN

    3248        WITHDRAWN

    3249        WITHDRAWN

    3250        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193214

Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
    3251        WITHDRAWN

    3252        WITHDRAWN

    3253        WITHDRAWN

    3254        WITHDRAWN

    3255        WITHDRAWN

    3256        WITHDRAWN

    3257        WITHDRAWN

    3258        WITHDRAWN

    3259        WITHDRAWN

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    3269        WITHDRAWN

    3270        WITHDRAWN

    3271        WITHDRAWN

    3272        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193215

Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
    3273        WITHDRAWN

    3274        WITHDRAWN

    3275        WITHDRAWN

    3276        WITHDRAWN

    3277        WITHDRAWN

    3278        WITHDRAWN

    3279        WITHDRAWN

    3280        WITHDRAWN

    3281        WITHDRAWN

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    3283        WITHDRAWN

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    3291        WITHDRAWN

    3292        WITHDRAWN

    3293        WITHDRAWN

    3294        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193216

Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
    3295        WITHDRAWN

    3296        WITHDRAWN

    3297        WITHDRAWN

    3298        WITHDRAWN

    3299        WITHDRAWN

    3300        WITHDRAWN

    3301        WITHDRAWN

    3302        WITHDRAWN

    3303        WITHDRAWN

    3304        WITHDRAWN

    3305        WITHDRAWN

    3306        WITHDRAWN

    3307        WITHDRAWN

    3308        WITHDRAWN

    3309        WITHDRAWN

    3310        WITHDRAWN

    3311        WITHDRAWN

    3312        WITHDRAWN

    3313        WITHDRAWN

    3314        WITHDRAWN

    3315        WITHDRAWN

    3316        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193217

Trial Ex. No.                   Description                    Date          Date
                                                             Identified    Admitted
    3317        WITHDRAWN

    3318        WITHDRAWN

    3319        WITHDRAWN

    3320        WITHDRAWN

    3321        WITHDRAWN

    3322        WITHDRAWN

    3323        WITHDRAWN

    3324        WITHDRAWN

    3325        WITHDRAWN

    3326        WITHDRAWN

    3327        WITHDRAWN

  3327.01       O’Brien, Masimo iSpO2 Hands-on: Track Your
                Pulse and Blood Oxygen with Your iPhone,
    3328        WITHDRAWN

    3329        WITHDRAWN

    3330        WITHDRAWN

    3331        WITHDRAWN

    3332        WITHDRAWN

    3333        WITHDRAWN

    3334        WITHDRAWN

    3335        WITHDRAWN

    3336        WITHDRAWN

    3337        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193218

Trial Ex. No.                     Description                       Date          Date
                                                                  Identified    Admitted
    3338        WITHDRAWN

    3339        WITHDRAWN

    3340        WITHDRAWN

    3341        Perez et al., Large-Scale Assessment of a
                Smartwatch to Identify Atrial Fibrillation, New
    3342        WITHDRAWN

    3343        WITHDRAWN

    3344        WITHDRAWN

    3345        WITHDRAWN

    3346        WITHDRAWN

    3347        WITHDRAWN

    3348        WITHDRAWN

    3349        WITHDRAWN

    3350        WITHDRAWN

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    3354        WITHDRAWN

    3355        WITHDRAWN

    3356        WITHDRAWN

    3357        WITHDRAWN

    3358        WITHDRAWN

    3359        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193219

Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
    3360        WITHDRAWN

    3361        WITHDRAWN

    3362        WITHDRAWN

    3363        WITHDRAWN

    3364        WITHDRAWN

    3365        WITHDRAWN

    3366        WITHDRAWN

    3367        WITHDRAWN

    3368        WITHDRAWN

    3369        WITHDRAWN

    3370        WITHDRAWN

    3371        WITHDRAWN

    3372        WITHDRAWN

    3373        WITHDRAWN

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    3376        WITHDRAWN

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    3378        WITHDRAWN

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    3380        WITHDRAWN

    3381        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193220

Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
    3382        WITHDRAWN

    3383        WITHDRAWN

    3384        WITHDRAWN

    3385        WITHDRAWN

    3386        WITHDRAWN

    3387        WITHDRAWN

    3388        WITHDRAWN

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    3390        WITHDRAWN

    3391        WITHDRAWN

    3392        WITHDRAWN

    3393        WITHDRAWN

    3394        WITHDRAWN

    3395        WITHDRAWN

    3396        WITHDRAWN

    3397        WITHDRAWN

    3398        WITHDRAWN

    3399        WITHDRAWN

    3400        WITHDRAWN

    3401        WITHDRAWN

    3402        WITHDRAWN

    3403        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193221

Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
    3404        WITHDRAWN

    3405        WITHDRAWN

    3406        WITHDRAWN

    3407        WITHDRAWN

    3408        WITHDRAWN

    3409        WITHDRAWN

    3410        WITHDRAWN

    3411        WITHDRAWN

    3412        WITHDRAWN

    3413        WITHDRAWN

    3414        WITHDRAWN

    3415        WITHDRAWN

    3416        WITHDRAWN

    3417        WITHDRAWN

    3418        WITHDRAWN

    3419        WITHDRAWN

    3420        WITHDRAWN

    3421        WITHDRAWN

    3422        WITHDRAWN

    3423        WITHDRAWN

    3424        WITHDRAWN

    3425        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193222

Trial Ex. No.                   Description                     Date          Date
                                                              Identified    Admitted
    3426        WITHDRAWN

    3427        WITHDRAWN

    3428        WITHDRAWN

    3429        WITHDRAWN

    3430        WITHDRAWN

    3431        WITHDRAWN

    3432        WITHDRAWN

    3433        WITHDRAWN

    3434        WITHDRAWN

    3435        Watch, Apple

    3436        WITHDRAWN

    3437        WITHDRAWN

    3438        WITHDRAWN

    3439        WITHDRAWN

    3440        WITHDRAWN

    3441        What you need to know about Apple Watch and
                the Blood Oxygen app
    3442        WITHDRAWN

    3443        WITHDRAWN

    3444        WITHDRAWN

    3445        WITHDRAWN

    3446        WITHDRAWN

    3447        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
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                                Page ID #:193223

Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
    3448        WITHDRAWN

    3449        WITHDRAWN

    3450        WITHDRAWN

    3451        WITHDRAWN

    3452        WITHDRAWN

    3453        WITHDRAWN

    3454        WITHDRAWN

    3455        WITHDRAWN

    3456        WITHDRAWN

    3457        WITHDRAWN

    3458        WITHDRAWN

    3459        WITHDRAWN

    3460        WITHDRAWN

    3461        WITHDRAWN

    3462        WITHDRAWN

    3463        WITHDRAWN

    3464        WITHDRAWN

    3465        WITHDRAWN

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    3467        WITHDRAWN

    3468        WITHDRAWN

    3469        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
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                                Page ID #:193224

Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
    3470        WITHDRAWN

    3471        WITHDRAWN

    3472        WITHDRAWN

    3473        WITHDRAWN

    3474        WITHDRAWN

    3475        WITHDRAWN

    3476        WITHDRAWN

    3477        WITHDRAWN

    3478        WITHDRAWN

    3479        WITHDRAWN

    3480        WITHDRAWN

    3481        WITHDRAWN

    3482        WITHDRAWN

    3483        WITHDRAWN

    3484        WITHDRAWN

    3485        WITHDRAWN

    3486        WITHDRAWN

    3487        WITHDRAWN

    3488        WITHDRAWN

    3489        WITHDRAWN

    3490        WITHDRAWN

    3491        WITHDRAWN




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  Case 8:20-cv-00048-JVS-JDE   ADMITTED    EXHIBIT
                                        2351-1       LIST
                                                  Filed 11/18/24    Page 156 of 227
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                                Page ID #:193225

Trial Ex. No.               Description                  Date          Date
                                                       Identified    Admitted
    3492        WITHDRAWN

    3493        WITHDRAWN

    3494        WITHDRAWN

    3495        WITHDRAWN

    3496        WITHDRAWN

    3497        WITHDRAWN

    3498        WITHDRAWN

    3499        WITHDRAWN

    3500        WITHDRAWN

    3501        WITHDRAWN

    3502        WITHDRAWN

    3503        WITHDRAWN

    3504        WITHDRAWN

    3505        WITHDRAWN

    3506        WITHDRAWN

    3507        WITHDRAWN

    3508        WITHDRAWN

    3509        WITHDRAWN

    3510        WITHDRAWN

    3511        WITHDRAWN

    3512        WITHDRAWN

    3513        WITHDRAWN




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                                                       Identified    Admitted
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    3824        Reflective Treatments 0613

    3825        N157:N158 White card requirements 102419
                copy
    3826        N27A Platinum ID deck DRAFT 2014-03-04

    3827        Email from Lamego to Perica, Feb. 26, 2014

  3828.01       WITHDRAWN

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                Disclosure
    3831        Email from Simon to Hotelling, Feb. 18, 2019

    3832        WITHDRAWN

    3833        Email from Zheng to Wang. Apr. 1, 2014

    3834        Email from Zheng to Wang, Apr. 5, 2014

    3835        N38 Sensors 2012-09-05c

    3836        Scandium Discussion 2017-05-25

    3837        Re: demod discussion yesterday with Marcelo

  3838.01       Fwd: Radar CC: Daily Notification and
                attachment
    3839        WITHDRAWN

    3840        Sensor flex/Opal DC Tx/Rx crosstalk

    3841        WITHDRAWN

    3842        It is possible to implement 6 functionalities in a
                revised N27
    3843        Email from Lamego to Shapiro, Apr. 19, 2014

    3844        N27A Platinum Exec Update 0520 Notes and
                Actions
  3845.01       Email from Cerussi to Klaassen, and attachment,
                May 29, 2015



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    3846        WITHDRAWN

    3847        N27

    3848        Platinum Core Module 0226 JK V4

    3849        2316x

    3850        2319x

    3851        3685x

    3852        N27A Platinum Exec Update 0520

    3853        Re: Platinum Exec Agenda 0520

    3854        Radar Assignment: Immediate Notification

    3855        Re: 042714 Platinum Proto N REL Update

    3856        N38 Platinum Scoping 2012-09-05c

    3857        N41 Sensor Exec Update 10 06 2011R3

    3858        Stanford Contract

    3859        Email from Marcelo Lamego to Steve Hotelling,
                June 30, 2014
    3860        Email from Shao Guocheng to Ueyn Block, June
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    3861        Boas et al., Imaging the Body with Diffuse
                Optical Tomography, IEEE Signal Processing
    3862        Scandium Status Update, July 30, 2015

  3863.01       Monte Carlo Simulation results using Light
                Tools and attachment
    3864        WITHDRAWN

    3865        Email from Shao Guocheng to Kathy Tong,
                Aug. 14, 2015
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    3868        hwsg programStatus 121814

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    3870        External System HW ERS v0.2 [2013.11.14]

    3871        Scandium cross-talk Specification

    3872        Folsom3 Introduction, Oct. 14, 2021

    3873        026 Appendix 18-04 099-30638-A Watch S5
                Verification Report
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    3875        N27A-N28A Concept Review, Dec. 17, 2013

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    3878        U.S. Patent No. 10,687,745

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    3890        Get Started with Masimo W1 Support

    3891        Masimo W1 User Guide

    3892        Masimo W1™ - Advanced Health Tracking
                Watch
    3893        Source Code

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    3897        Introducing Apple Watch Ultra

    3898        U.S. Patent Application Publication No.
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    3899        Klose, et al., Optical tomography using the time-
                independent equation of radiative transfer – Part
    3900        2-3 Months to Design Initial G1 Prototyoe, 2008

    3901        Sensor Testing, July 25, 2008

    3902        Goals of Argose's first phase: sensor, SMMR
                delivery protocol and initial tissue testing, 2007
    3903        Phase II, Hummingbird Project

    3904        Hummingbird Project Outstanding Issues (Sean)

    3905        Pronto 7 AP Sensor Design Requirements

    3906        Assembly Design Requirement

    3907        Divide 3-Year Project Into Two Milestones

    3908        Email from Lamego to Chan, May 7, 2011

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    3910        Masimo Corporation Research Tax Credit
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    3916        Meeting Minutes, Modular Rainbow Sensor
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    3934        Email from Marcelo Lamego to Sean Merritt,
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    3935        Research Tax Credit Analysis

    3936        Email from Sampath to Torp, Feb. 11, 2021

    3937        Masimo Labs Workshop on Deisgn by
                Optimization, Apr. 30, 2010
    3938        Pronto 7 Test Protocol

    3939        Mohamed Diab Notebook, undated

    3940        Image of Exploded TF-I Lenses

    3941        Forehead Sensor Protocol/Test Procedure

    3942        Experiment test

    3943        Plaintiffs’ 3DFD Files

    3944        Plaintiffs’ 3DFD Files

    3945        Plaintiffs’ 3DFD Files

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    3947        Rainbow Sensor Test Procedure

    3948        U.S. Patent Application Publication No.
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    3949        Email from Koo to Al-Ali and Priddell, May 4,
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    3950        Masimo’s OEM Partners

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                Report
    3952        Masimo Health Sensor for Wrist-Worn
                Wearable OEM Devices Module Brochure
    3953        Masimo W-1 Website

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    3978        Apple Watch Series 5 Technical Specifications

   3979         Marcelo Lamego Offer, Jan. 3, 2014                  11/7/2024      11/7/2024
  3980.01       WITHDRAWN

  3980.02       WITHDRAWN

  3980.03       Michael O'Reilly Curriculum Vitae

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    3981        Compare Apple Watch Series 6 and Apple
                Watch SE, Aug. 2020
    3982        Line of Business Report – Watch Spreadsheet

    3983        Apple Watch Series 4

    3984        Apple Watch Series 3 Reviewers Guide, Sept.
                2017
    3985        HID Apple Watch Hunter Plan, Dec. 2019

    3986        Email from Adrian Perica to Paul Jansen, Mar.       11/8/2024      11/8/2024
                22, 2013
    3987        Apple Watch Series 6 Technical Specifications

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    3990        Apple Watch In-Store Preview & Online Pre-
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    3992        Masimo FOIA Confidential Treatment Request,
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    3993        Invoice/Bills Spreadsheet

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    3998        Apple Watch Series 1 - Technical Specifications

    3999        Apple Watch Series 2 - Technical Specifications

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    4001        Apple Watch - Compare Models - Apple

    4002        Masimo Corporation NasdaqGS: MASI, FQ4
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    4003        Plaintiffs’ First Supplemental Responses to
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    4004        Plaintiffs’ Supplemental Response to Apple’s
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    4005        Plaintiffs’ Responses to Apple’s First Set of
                Interrogatories (1-17), May 14, 2020
    4006        Plaintiffs’ Supplemental Responses to
                Interrogatories (Nos. 4-5), Sept. 6, 2022
    4007        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 6), Sept. 29, 2022
    4008        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 7), Sept. 29, 2022
    4009        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 8), Sept. 29, 2022
    4010        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 9), Sept. 29, 2022
    4011        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 10), Sept. 29, 2022
    4012        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 11), Sept. 6, 2022
    4013        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 12), Sept. 6, 2022
    4014        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 13), Sept. 6, 2022
    4015        Plaintiffs’ Supplemental Responses to
                Interrogatories (Nos. 14-16), Dec. 30, 2020
    4016        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 17), Jan. 6, 2023
    4017        Plaintiffs’ Responses to Interrogatories (Nos. 18-
                22), Oct. 5, 2020
    4018        Plaintiffs’ Responses to Interrogatories (No. 23),
                Nov. 5, 2020
    4019        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 24), Sept. 6, 2022



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    4020        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 24-25), Apr. 27, 2021
    4021        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 26), Dec. 23, 2022
    4022        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 27), Sept. 29, 2022
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                Interrogatories (No. 28), Sept. 6, 2022
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                Interrogatories (Nos. 4-6, 26 and 29), Feb. 10,
    4025        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 30), Sept. 29, 2022
    4026        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 31), Sept. 6, 2022
    4027        Plaintiffs’ Supplemental Responses to
                Interrogatories (Nos. 31-35), June 15, 2022
    4028        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 33), Nov. 23, 2022
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    4035        Email from Brandon Strand to Paul Jansen,
                Aug. 30, 2013
    4036        Cercacor RING Project Update, July 24, 2017

    4037        Engineering Roadmap, July 2017

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    4042        Email from Stephen Monfre to Abe Kiani, July
                24, 2017
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    4044        Email from Stephen Monfre to Gerry Hammarth
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    4045        Email from Mathew Paul to Cristiano Dalvi et
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    4047        Email from Mathew Paul to Cristiano Dalvi et
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  4049.01       Email from Kesu Wang to Chad DeJong, and
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  4053.01       Email from Kesu Wang to Chad DeJong, and
                attachment, July 30, 2020
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    4061        Intellectual Property Agreement (O'Reilly)**

    4062        Business Conduct Policy

    4063        Confidentiality and Intellectual Property
                Agreement



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    4064        Email from Youngs to Hotelling, William,
                Roley, Dec. 5, 2013
    4065        Email from Lamego to Williams, Youngs, Cook,
                Riccio, June 30, 2014
    4066        Email from Hotelling to Lamego, Jul 1, 2014

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    4068        Email from Hotelling to Cerny, Jul 1, 2014

    4069        Email from Youngs to Riccio, July 1, 2014

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    4071        New Hire Onboarding, Marcelo Lamego

    4072        Series 3 Visual BOM

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    4075        Prosecution History - U.S. Patent No. 9,723,997

    4076        iPhone Medical Device; Feb. 4, 2014

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    4078        Email from S. Hotelling; Feb. 3, 2014

    4079        Apple helps medical facilities distinguish quality
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    4080        Apple Releases iOS 8 SDK With Over 4,000
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    4082        Med City News - Heart patient: Apple Watch
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    4086        WITHDRAWN

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    4088        Scandium Algorithm ERS, Rev. 1.0, Nov. 9,
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    4089        N157/N158 Core Modules Scandium Update

    4090        Iris Updates for Scandium

    4091        Scandium Update, Apr. 28, 2019

    4092        Scandium POC Review, No.2019

    4093        Scandium Block Diagram

    4094        Board of Directors Update - Health (Nov. 28,
                2016)
    4095        Apps Targeting - Apr. 2013

    4096        U.S. Patent No. 9,877,650

    4097        Email from J. Poole to P. Russell-Clarke re
                Future Watch Housing Material Investigations
    4098        WITHDRAWN

  4099.01       Email re 2016-2019 Watch Roadmap, and
                attachment, Sept. 16, 2016
    4100        Source Code

    4101        Source Code

    4102        Source Code

    4103        Source Code

    4104        Optical tomography usinf the time-independent
                equation of radiative transfer--Part2: inverse
    4105        Wrist-Based Technologies - Blue Sky

    4106        Technical Drawing

    4107        Technical Drawing




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    4108        Technical Drawing

    4109        Technical Drawing

    4110        Technical Drawing

    4111        Technical Drawing

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    4113        Technical Drawing

    4114        Technical Drawing

    4115        Technical Drawing

    4116        Technical Drawing

    4117        Technical Drawing

    4118        N131/141 | Visual BOM: Back Crystal
                Assembly
    4119        Technical Drawing

    4120        Technical Drawing

    4121        Technical Drawing

    4122        Technical Drawing

    4123        Technical Drawing

    4124        Technical Drawing

    4125        Technical Drawing

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    4127        Technical Drawing

    4128        Technical Presentation

    4129        Technical Presentation




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    4130        Technical Presentation

    4131        Technical Presentation

    4132        Technical Presentation

    4133        Technical Presentation

    4134        Technical Presentation

    4135        Overview of Platinum architecture for N131

    4136        N131/N141 | BC Layout: Baseline

    4137        N157/N158 | Core Module - Scandium

    4138        Low-Cost Optical Architecture for N140+

    4139        N157/N158 | Core Module Review - Scandium

    4140        Technical Presentation

    4141        N157/N158 | Core Module - Scandium

    4142        Optical Architecture for N140+

    4143        N131/141 Platinum/Osmium | LED Fresnel Lens
                Design
    4144        N157/N158 Osmium Optical ERS

    4145        Technical Presentation

    4146        Technical Presentation

    4147        N131/141 BC | OK2Ramp

    4148        N157 N158 P2: Platinum

    4149        N157/158 | Onyx-Onyx BC | Preliminary
                crosstalk assessment
    4150        Platinum-Osmium Algorithms-Optics Sync

    4151        Surface Reflection Impact on Prox Curve Shape




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    4152        Orb| Meeting Efficiencies - Move to AP

    4153        Optical ERS

    4154        Technical Presentation

    4155        Technical Presentation

    4156        Technical Presentation

    4157        Technical Presentation

    4158        Technical Presentation

    4159        N157 | Folsom Module Concepts | Overview

    4160        N157 Scandium LED calibration & traceability
                MP plan
    4161        Watch | Platinum

    4162        N157 | BC xTalk Result: Sensor Board Type

    4163        N157 / N158 HW Architecture Review

    4164        N157/158 | Scandium BC Architecture and
                Proposed Assembly Flow
    4165        N157 Platinum | Architecture Update

    4166        N157 | Platinum | System Performance with
                Different Architectures
    4167        N157/158 Folsom Red-IR separation evaluation

    4168        N157/158 | P1 Cross-Talk FA - Short Path
                Failure Mechanisms
    4169        N157 | Folsom: D2 Schedule

    4170        N157 | Folsom: P1 Schedule

    4171        N157 | Folsom Module Concepts | Overview

    4172        N157/N158 Proto2 DMR | Platinum: Top Issues

    4173        N157/N158 | Optical Architecture Checkpoint




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    4174        Health Sensing HW Roadmap Priorities

    4175        Platinum: Optical Architecture Technology
                Review
    4176        docx/PDF: is final format for documentation

    4177        Technical Presentation

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    4190        N27A Platinum Optical ERS

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    4192        Email from Priddell to Al-Ali, June 23, 2020

    4193        Leaving a Competitor

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    4196        Apple Watch Buyer Survey Report, FY2021 Q4          11/12/2024     11/12/2024

    4197        Apple Watch Buyer Survey Report, FY2022 Q1          11/12/2024     11/12/2024

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    4199        Email from Ian Shapiro to Platinum Alg Core          11/8/2024      11/8/2024
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    4200        Rebuttal Report of Shirley Webster, Schedule 1,
                Nov. 17, 2023
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                Nov. 17, 2023
    4203        Rebuttal Report of Shirley Webster, Schedule 4,
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    4204        Rebuttal Report of Shirley Webster, Schedule 5,     11/12/2024     11/12/2024
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    4205        Rebuttal Report of Shirley Webster, Schedule 6,
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    4206        Rebuttal Report of Shirley Webster, Schedule 7,
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    4207        Rebuttal Report of Shirley Webster, Schedule 8,     11/12/2024     11/12/2024
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    4208        Rebuttal Report of Shirley Webster, Schedule 9,
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    4209        Rebuttal Report of Shirley Webster, Schedule
                10, Nov. 17, 2023
    4210        Rebuttal Report of Shirley Webster, Schedule
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    4211        Rebuttal Report of Shirley Webster, Schedule
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    4212        Rebuttal Report of Shirley Webster, Schedule
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    4215        Watch Series 7 BOM




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    4216        Watch Series 6 BOM

    4217        Watch SE BOM

    4218        Watch Series 4 BOM

    4219        Image of MASITC_P_052 (ITC Ex. No. CPX-
                0052aC)
    4220        Image of MASITC_P_058 (ITC Ex. No. CPX-
                0058aC)
    4221        Image of MASITC_P_065 (ITC Ex. No. CPX-
                0065aC)
    4222        Image of MASITC_P_019 (ITC Ex. No. CPX-
                0019aC)
    4223        Image of MASITC_P_020 (ITC Ex. No. CPX-
                0020aC)
    4224        Image of MASITC_P_021 (ITC Ex. No. CPX-
                0021aC)
    4225        Image of MASITC_P_029 (ITC Ex. No. CPX-
                0029aC)
    4226        Image of MASITC_P_146 (ITC Ex. No. CPX-
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    4238        N41 Prox Presentation

    4239        Warren Opening Report, Appendix D, Sept. 23,
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    4240        Warren Rebuttal Report, Appendix 2, Nov. 4,
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                2022
    4243        AppleRTPFirmware Source Code modified

    4244        AppleRTPFirmware Source Code unmodified

    4245        ASIC Engineering Requirements Specification

    4246        ASIC Specifications and Requirements

    4247        Photographs of Warren's Measurements re
                Masimo W1 Watch
    4248        Photographs of Warren's Measurements re
                Samsung Galaxy Watch3
    4249        Photographs of Warren's Measurements re
                Apple Watch Series 7 with Shunt Switch
    4250        Photographs of Warren's Measurements re
                Apple Watch Series 7 without Shunt Switch
    4251        Photographs of Warren's Measurements re
                Apple Series 7 commercially available off the
    4252        Information Disclosure Statement - Advanced
                Pulse Oximetry Sensor
    4253        Information Disclosure Statement - Multi-Steam
                Data Collection System
    4254        Information Disclosure Statement - Multi-Steam
                Data Collection System
    4255        Information Disclosure Statement - Advanced
                Pulse Oximetry Sensor
    4256        Information Disclosure Statement - Multi-Steam
                Data Collection System
    4257        T393 Scandium Feature Introduction

    4258        Scandium Design Principles

    4259        Scandium Design Principles




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                24, 2020
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    4268        Email from Julie Lytle to Bilal Mushin, Sept.
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    4347        N27A Internal Platinum HW ERS                       11/12/2024     11/12/2024




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    4349        Pulse Oximeter Accuracy and Limitations, FDA
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                Watch
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    4430        Watch: A Brief History

    4431        List of Companies Met During N27A
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    4432        Scandium Update, Aug. 11, 2017

    4433        Health Sensing HW Roadmap

    4434        N38 P0 Core Team Presentation

    4435        N38 Kickoff: Agenda




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    4460        Apple Presents iPod, Oct. 23, 2001

    4461        The New York Times, Stross, How the iPod Ran
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                Apple Introduces What It Calls an Easier to Use
    4463        The New York Times, Walker, The Guts of a
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    4464        Dreier, iPod: Not Just iCandy, Dec. 26, 2001

    4465        FDA Request to Review, Jan. 25, 2021

    4466        Wong et al., Analysis of Discrepancies Between
                Pulse Oximetry and Arterial Oxygen Saturation
    4467        Andrist et al., Association of Race With Pulse
                Oximetry Accuracy in Hospitalized Children,
    4468        Feiner et al., Dark Skin Decreases the Accuracy
                of Pulse Oximeters at Low Oxygen Saturation:
    4469        Henry et al., Disparities in Hypoxemia Detection
                by Pulse Oximetry Across Self-Identified Racial
    4470        Boston Race, Moran-Thomas, How a Popular
                Medicla Device Encodes Racial Bias, Aug. 5,
    4471        Nonin PureSAT Oximetry Technology Provides
                Superior Accuracy in Low Saturation and Dark
    4472        The New York Times, Rabin, Pulse Oximeter
                Devices Have Higher Error Rate in Black
    4473        Crooks et al., Pulse Oximeter measurements
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    4474        PureSAT Advantage

    4475        Fawzy et al., Racial and Ethnic Discrepancy in
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    4476        Masimo Corporation SEC Form 10-K for the
                fiscal year ended Jan. 1, 2022
    4477        Masimo Corporation SEC Form 10-K for the
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    4482        The rise and fall of fitness trackers, CNET, Jan.
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    4483        Smartwatch Timeline: The devices that paved
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    4484        4 Fitness Trackers To Get in Shape for 2013,
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    4486        TomTom Cardio Runner & Multisport with
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    4487        “Microsoft Band review”, The Verge,
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    4489        “The GPS-Equipped Vivoactive Is Garmin's
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    4493        “Samsung Gear Fit hands-on review – curved
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    4497        “About VO2 Max. Estimates, Garmin

    4498        “Suunto Spartan Sport Wrist HR In-Depth
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    4499        “Garmin debuts the fenix 5 Plus, adds maps,
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    4500        “Fitbit Charge 2 review: Sports tracking for the
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                                                                     Identified    Admitted
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    4503        Fitbit Introduces Fitbit Versa, the Smartwatch
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    4504        “Garmin Fenix 5/5S/5X Plus In-Depth Review
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    4505        “Fitbit enables blood oxygen sensor in Ionic,
                Charge 3
    4506        “COROS VERTIX Adventure GPS Watch:
                Hands-on with their new premium watch”, DC
    4507        “Huawei Band 4 Pro comes with an SpO2
                sensor, GPS and NFC”, Gadgets & Wearables,
    4508        “Galaxy Watch 3 review: A stunning
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    4509        Introducing Fitbit Sense: The Advanced Health
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    4510        “Maxim Unveils First Wrist-Worn Platform for
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    4511        “CES 2019: The Withings Move fitness watch
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    4513        “Best Smartwatch with Temperature Sensor for
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    4514        “Best Smartwatches with Fall Detection in
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    4515        “Best Smartwatches With Menstrual Tracker”,
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    4516        “Samsung Gear Fit 2: The best, and least
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    4521        “Stay Connected No Matter Where You Are
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    4522        “Garmin introduces its first LTE-enabled
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    4524        “Smartwatch Market Size Will Achieve USD
                156.3 Billion by 2030 growing at 20.1% CAGR -
    4525        “Wearables Market Sees First Decline at
                Beginning of 2022 as Demand Normalizes,
    4526        “Medical Monitoring Pioneer Announces the
                Limited Market Release of the Masimo W1™
    4527        Masimo Corporation FQ3 2022 Earnings Call
                Transcripts, November 9, 2022
    4528        Email between Robert Mansfield and David
                Affourtit, Jan. 8, 2013
    4529        Picture of Masimo sensor module
                MASA_P_096
    4530        Picture of Apple Watch Series 7, 45mm

    4531        Picture of Masimo W1

    4532        Picture of Masimo W1 – Depth Measurement

    4533        Picture of Apple Watch Series 7, 45mm – Depth
                Measurement
    4534        Picture of Apple Watch Series 7, 45mm

    4535        Picture of Apple Watch Series 7, 45mm – Back
                Crystal Measurement
    4536        Zacks Equity Research, Yahoo!news, Masimo
                Launches MightySat Pulse Oximeter for
    4537        Masimo, Patents

    4538        Masimo Corporation SEC Form 10-Q for the
                quarterly period ended July 2, 2022
    4539        Masimo Corporation SEC Form 10-Q for the
                quarterly period
    4540        Apple Health Information

    4541        Q3 FY 2015 to Q2 FY 2022: Apple Inc.
                Worldwide Apple Watch Sales Data, FY15Q3-
    4542        Q3 2022: Apple Inc. Worldwide Apple Watch
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    4543        Empowering people to live a healthier day,
                Apple, July 2022
    4544        Wavelength Tracking ERS

    4545        N187 Scandium PD Notebook




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    4546        N27A Platinum Optical ERS rev 0.1

    4547        N27A Platinum Optical ERS rev 0.8

    4548        N187 Visual BOM

    4549        Plaintiffs' Second Amended Complaint

    4550        Plaintiffs' Second Amended Complaint
                (redacted excerpt for D9)
    4551        Declaration of Jeroen Poeze in Support of
                Plaintiffs Masimo Corporation and Cercacor
    4552        Track your nightly wrist temperature changes
                with Apple Watch
    4553        N41 Prox Proto 2 Build Report                    11/12/2024     11/12/2024

    4554        Testing Results                                  11/12/2024     11/12/2024

    4555        U.S. Patent Application Publication No.
                2014/0276119 (“Fitbit”)
    4556        U.S. Patent Application Publication No.
                2009/0259116 (“Wasserman”)
    4557        Photograph from Inspection of Masimo Devices

    4558        Photograph from Inspection of Masimo Devices

    4559        Apple Watch Series 7 Photograph

    4560        Apple Watch Series 7 Photograph

    4561        Photograph from Inspection of Masimo Devices

    4562        Apple Watch Series 4 (GPS + Cellular) First
                Look
    4563        Testing Data

    4564        Testing Data

    4565        Testing Data

    4566        Testing Data

    4567        Testing Data




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    4568        Testing Data

    4569        Testing Data

    4570        Testing Data

    4571        Testing Data

    4572        Testing Data

    4573        Testing Data

    4574        Testing Data

    4575        Testing Data

    4576        Testing Data

    4577        Testing Data

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    4589        Testing Data

    4590        Testing Data



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Trial Ex. No.                    Description                       Date          Date
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    4591        Testing Data

    4592        Testing Data

    4593        Testing Data

    4594        Testing Data

    4595        Testing Data

    4596        Testing Data

    4597        Testing Data

    4598        Testing Data

    4599        Testing Data

    4600        Testing Data

    4601        Testing Data

    4602        Testing Data

    4603        Testing Data

    4604        Testing Data

    4605        Intellectual Property Agreement

    4606        Hello Again now.png

    4607        Hello Again SteveiMac-HiRes.jpg

    4608        Hello Again then.png

    4609        iPod Silhouette Advertisement Orange

    4610        iPod Silhouette Advertisement Green

    4611        iPod Silhouette Advertisement Purple Billboard

    4612        iPod Silhouette Advertisement Street




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    4613        iPod Silhouette Advertisement Pink

    4614        Think Different

    4615        Think Different Aldrin

    4616        Think Different Einstein

    4617        Think Different Graham

    4618        1984 Apple Macintosh Commercial

    4619        Apple Think Different Commercial

    4620        Apple Misunderstood Commercial

    4621        Apple Skateboard Commercial

    4622        Outstanding Commercial Nominees 1998 Emmy
                Awards
    4623        Winner Outstanding Commercial 1998 Emmy
                Awards
    4624        Outstanding Commercial Nominees 2014 Emmy
                Awards
    4625        Winner Outstanding Commercial 2014 Emmy
                Awards
    4626        Apple 911 Commercial

    4627        D&AD Graphite Pencil Award Apple 911

    4628        The One Show Silver Pencil Award Apple 911

    4629        Apple 911 Commercial Series 7

    4630        75th Annual DGA Awards Nominees Apple
                Hard Knocks
    4631        Outstanding Commercial Nominees 2021 Emmy
                Awards
    4632        DGA 2021 Nominees Apple ECG and Sleep

    4633        Apple Sleep Commercial

    4634        Apple Hard Knocks Commercial




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    4635        Apple It Already Does That Commercial

    4636        BusinessWire, Masimo Announces FDA
                Clearance for Home Use of Rad-97, Jan. 9, 2018
    4637        U.S Patent No. 5,782,757                            11/5/2024      11/5/2024
    4638        WITHDRAWN

    4639        WITHDRAWN

   4639.1       WITHDRAWN

   4639.2       WITHDRAWN

   4639.3       WITHDRAWN

    4640        WITHDRAWN

   4640.1       WITHDRAWN

    4641        WITHDRAWN

    4642        Email from Shanti Vasudevan to Platinum             11/8/2024      11/8/2024
                Algorithm Sync, July 26, 2013
    4643        Platinum Algorithms, Version 0.1, May 16,           11/8/2024      11/8/2024
                2014
    4644        N27A Ambient Light Variability Impact               11/8/2024      11/8/2024
                Assessment, Ambient Light Variation / Subject
    4645        Email from Shanti Vasudevan to Platinum
                Algorithm Sync, July 31, 2013
    4646        Email from Daniel Culbert to Travis McQueen         11/8/2024      11/8/2024
                et al, Sept 30, 2013
    4647        N27A P1401F.0 - Outdoor Pilot Study, Feb 26,
                2014
    4648        N27A Libra Flex / Opal DC: Benchtop Ambient
                Rejection Experiments Using 1- and 2-Sided
    4649        Email from Hotelling to Land and others, with
                attachment N38 Sensor Candidates Presentation,
    4650        N38 Offsite Presentation

    4651        Email from Kong to Wynn and others, with
                attachment N27A Platinum, BRR Follow Up,
    4652        X177, System FA Guide (Back Sensor Cal)
                Presentation
    4653        Email from Waydo to Platinum-Alg-Core-Team
                and others, February 26, 2014, with attachment

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    4654        N27 Ambient Light Variability Impact
                Assessment Ambient Light Variation / Subject
    4655        N27 Simulated Impact of 1- and 2-Sided DCS
                on avgHR Performance with Ambient Light
    4656        Platinum Chipset Development Presentation

    4657        Email from Vasudevan to Platinum-Algorithm-
                Sync, July 31, 2013
    4658        Platinum Ambient Light - Problem Statement
                Presentation
    4659        Email from Vasudevan to Platinum-Algorithm-
                Sync, July 25, 2013
    4660        Email from Vasudevan to Platinum-Algorithm-
                Sync, July 25, 2013
    4661        Email from Kanaris to Land and others, July 31,
                2013
    4662        Email from Waydo to Vulbert and others, Nov.
                2, 2013
    4663        N38 Manager Meeting

    4664        N27A Platinum Asymmetrical Configs: Test
                Results and Down-Select
    4665        N27A Platinum Asymmetrical Configs: Test
                Results and Down-Select
    4666        N27A Platinum Status

    4667        N27a/N28a Platinum Deep Dive, Apr. 16, 2014         11/12/2024     11/12/2024

    4668        N27 Architecture Overview Slide Deck

    4669        N27A Platinum: Executive Status Agenda, Jan.        11/12/2024     11/12/2024
                21, 2014
    4670        Visual BOM

    4671        Apple Schematic, Drawing Number 613-00101,
                Rev. 04, Nov. 21, 2013
    4672        N38 Sensors Slide Deck

    4673        Apple Schematic, Drawing Number 816-00019,
                Rev. 01, Nov. 21, 2013
    4674        N38 P0 Demo Slide Deck

    4675        N131/N141 Platinum/Osmium Design                    11/12/2024     11/12/2024
                Checkpoint, Feb. 15, 2016



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    4676        N27a Sensor Design Targets Overview Slide
                Deck
    4677        Emai from Brian Land to Fletcher Rothkopf,          11/12/2024     11/12/2024
                June 13, 2013
    4678        Email from Adrian Perica to Steve Smith, Jan.
                19, 2003
    4679        N27A Platinum Compact Asymmetric Diffusive
                Optics, Sept. 6, 2013
    4680        N38 Offsite, Jan. 18, 2013                           11/8/2024      11/8/2024

    4681        N14 Prox Module External ERS

    4682        Email from Jennifer Kong to Chinsan Han, Dec.       11/12/2024     11/12/2024
                20, 2013
    4683        N27A Platinum Brainstorm Meeting Notes              11/12/2024     11/12/2024

    4684        Curriculum Vitae of Shirley Webster                 11/12/2024     11/12/2024

    4685        Curriculum Vitae of Majid Sarrafzadeh               11/12/2024     11/12/2024

    4686        Curriculum Vitae of Steve Warren                    11/13/2024     11/13/2024

    4687        Apple Inc., Q2 Earnings Call, May 2, 2024           11/12/2024     11/12/2024

    4688        Updated Rebuttal Schedule 1 of Shirley Webster      11/12/2024     11/12/2024
                (Appendix C)
    4689        Updated Rebuttal Schedule 2 of Shirley Webster      11/12/2024     11/12/2024
                (Appendix C)
    4690        Updated Rebuttal Schedule 3 of Shirley Webster      11/12/2024     11/12/2024
                (Appendix C)
    4691        Updated Rebuttal Schedule 4 of Shirley Webster      11/12/2024     11/12/2024
                (Appendix C)
    4692        U.S. Patent No. 6,792,300                            11/5/2024      11/5/2024
    5000        5/3/2013 Email from Steve Hotelling to Steve         11/8/2024      11/8/2024
                Smith, et al., re Masimo Notes with attachments

    5001        For the First Time, DoubleTree by Hilton
                Reveals Official Chocolate Chip Cookie Recipe
   5001.1       8/8/2024 Email from Jessica Batista to Sindura
                Penubarthi re K240229/S002 Review Complete
    5002        10/14/2018 Text Message from Michael
                O'Reilly to Joe Kiani
   5002.1       Jeffrey Kinrich Updated Expert Report                11/7/2024      11/7/2024
                Appendix A - Kinrich CV


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    5003        N4 l Prox Module External ERS

   5003.1       Jeffrey Kinrich Updated Expert Report
                Appendix B Materials Considered
    5004        Jeffrey Kinrich Updated Expert Report Exhibit
                1A - Apple's Gross Profits Realted to Masimo's
    5005        Jeffrey Kinrich Updated Expert Report Exhibit
                1B - Apple's Gross Profits Realted to Masimo's
    5006        Jeffrey Kinrich Updated Expert Report Exhibit
                1C - Apportionment of Apple Profits to Masimo
    5007        Jeffrey Kinrich Updated Expert Report Exhibit
                1D - APPLE'S GROSS PROFITS RELATED
    5008        Jeffrey Kinrich Updated Expert Report Exhibit
                1E - APPLE'S GROSS PROFITS RELATED
    5009        Jeffrey Kinrich Updated Expert Report Exhibit
                1F - APPORTIONMENT OF APPLE PROFITS
    5010        Jeffrey Kinrich Updated Expert Report Exhibit
                2A - APPLE WATCH SALES U.S. Q3 FY
    5011        Jeffrey Kinrich Updated Expert Report Exhibit
                2B - APPLE WATCH SALES WORLDWIDE
    5012        Jeffrey Kinrich Updated Expert Report Exhibit
                3A - APPLE WATCH AVERAGE SELLING
    5013        Jeffrey Kinrich Updated Expert Report Exhibit
                3B - APPLE WATCH AVERAGE SELLING
    5014        Jeffrey Kinrich Updated Expert Report Exhibit
                4A - U.S. APPLE WATCH BUYER SURVEY
    5015        Jeffrey Kinrich Updated Expert Report Exhibit
                4B - U.S. APPLE WATCH BUYER SURVEY
    5016        Jeffrey Kinrich Updated Expert Report Exhibit
                4C - U.S. APPLE WATCH BUYER SURVEY
    5017        Jeffrey Kinrich Updated Expert Report Exhibit 5
                - APPLE WATCH LINE OF BUSINESS
    5018        Jeffrey Kinrich Updated Expert Report Exhibit 6
                -
    5019        Promoted features for the Series 6 identified
                from https:??ww.applecom/apple-watch-series-
    5020        Promoted features for the Series 7 identified
                from
    5021        Promoted features for the Series 8 and Ultra
                identified from
    5022        Withdrawn

    5023        Promoted features for the Series 9 and Ultra 2
                identified from



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    5024        Withdrawn

    5025        Form 10-K Apple Inc.FY End Sept. 28, 2019

    5026        Presentation - Apple Watch Buyer - FY23-Q1
                Report
    5027        Presentation - Apple Watch Buyer - FY22-Q3
                Report
    5028        Presentation - Apple Watch Buyer - FY22-Q4
                Report
    5029        Presentation - Apple Watch Buyer - FY23-Q2
                Report
   5029.1       5/13/2023 Email from Elise Macdonald re
                Apple Watch Buyer Survey - FY23-Q2 Report
    5030        Presentation - Apple Watch Buyer - FY23-Q3
                Report
    5031        Presentation - Apple Watch Buyer Survey -        11/12/2024     11/12/2024
                FY19-Q4 Report
    5032        Presentation - Apple Watch Buyer Survey -        11/12/2024     11/12/2024
                FY19-Q3 Report
    5033        Presentation - Apple Watch Buyer Survey -
                FY20-Q1 Report
    5034        Presentation - Apple Watch Buyer Survey -
                FY20-Q4 Report
    5035        Presentation - Apple Watch Buyer Survey -        11/12/2024     11/12/2024
                FY19-Q1 Report
    5036        Presentation - Apple Watch Buyer - FY20-Q2
                Report
    5037        Presentation - Apple Watch Buyer - FY20-Q3
                Report
    5038        Presentation - Apple Watch Buyer - FY21-Q1
                Report
    5039        Presentation - Apple Watch Buyer Survey -        11/12/2024     11/12/2024
                FY19-Q2 Report
    5040        Native - Excel - Apple Inc. Line of Business
                Report - Watch Q3FY15-Q2FY22
    5041        Presentation - Apple Watch Buyer - FY21-Q2
                Report
    5042        Presentation - Apple Watch Buyer - FY21-Q4
                Report
   5042.1       1/19/2022 Email from Deidre Caldbeck Dane
                Johnson re Fwd: Apple Watch Buyer Survey -
    5043        Presentation - Apple Watch Buyer - FY22-Q2
                Report



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    5044        Presentation - Apple Watch Buyer - FY21-Q3
                Report
    5045        Presentation - Apple Watch Buyer - FY22-Q1
                Report
    5046        Native - Excel - Apple Inc. Line of Business
                Report - Watch Q4FY23-Q1FY24
    5047        Native - Excel - Apple Inc. Line of Business
                Report - Watch Q3FY22-Q3FY23
   5047.1       Native - Excel - Apple Inc. Line of Business
                Report - Watch Q3FY22-Q3FY23
    5048        Native - Excel - Apple Inc. Line of Business
                Report - Watch Q2FY24
    5049        Presentation - Apple Watch Ultra, Apple Watch
                Series 8, Apple Watch SE early buyer, October
    5050        Presentation - Apple Watch Buyer, FY23-Q4
                Report
    5051        Presentation - Apple Watch Buyer, FY24-Q2
                Report
    5052        Presentation - Apple Watch Buyer, FY24-Q1
                Report
    5053        Presentation - Apple Watch Ultra 2 and Apple
                Watch Seriers 9 Early Buyer Study, Dec. 2023
    5054        Apple Watch SE (2nd Generation) Tech Specs,          11/7/2024      11/7/2024
                https://support.apple.com/en-us/111853
    5055        https://endoflife.date/apple-watch (accessed
                June 6, 2024).
    5056        https://support.apple.com/en-us/112009
                (accessed June 6, 2024)
   5056.1       https://www.apple.com/newsroom/2014/09/09A
                pple-Unveils-Apple-Watch-Apples-Most-
    5057        https://www.apple.com/newsroom/2015/03/09A
                pple-Watch-Available-in-Nine-Countries-on-
    5058        https://www.dimensions.com/element/apple-
                watch-series-0-1st-gen (accessed June 6, 2024).
    5059        https://www.apple.com/watch/compare/
                (accessed May 16, 2024).
    5060        https://support.apple.com/en-us/111985
                (accessed June 6, 2024)
    5061        https://www.apple.com/newsroom/2016/09/appl
                e-introduces-apple-watch-series-2/ (accessed
    5062        Withdrawn

    5063        https://support.apple.com/en-us/112022
                (accessed June 6, 2024)



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    5064        Withdrawn

    5065        https://support.apple.com/en-us/111891
                (accessed June 6, 2024)
    5066        https://www.apple.com/newsroom/2017/09/appl
                e-watch-series-3-features-built-in-cellular-and-
    5067        https://www.apple.com/newsroom/2018/09/rede
                signed-apple-watch-series-4-revolutionizes-
    5068        https://support.apple.com/en-us/111984
                (accessed July 10, 2024).
    5069        https://www.apple.com/newsroom/2023/09/appl
                e-unveils-apple-watch-ultra-2/ (accessed May
    5070        https://support.apple.com/en-us/111832
                (accessed May 16, 2024).
    5071        Forbes, “Ban on Apples Watch Sales Paused by          11/7/2024      11/7/2024
                Appeals Court,” available at
    5072        Appellant Apple Inc.’s Motion to Expedite Oral        11/7/2024      11/7/2024
                Argument, August 7, 2024,
    5073        Gurman, Mark, “The Late-Night Email to Tim
                Cook that Set the Apple Watch Saga in
    5074        Excel Spreadsheet - Apple Watch Sales - Q4
                2022 - Q1 2023
   5074.1       Excel Spreadsheet - Apple Watch Sales - Q4
                2022 - Q1 2023
    5075        Excel Spreadsheet - Apple Watch Sales - Q2
                2023 - Q3 2023
   5075.1       Excel Spreadsheet - Apple Watch Sales - Q2
                2023 - Q3 2023
    5076        Excel Spreadsheet - Apple Watch Sales - Q2
                2023 - Q3 2023
    5077        Excel Spreadsheet - Apple Watch Sales - Q4
                2023 - Q1 2024
    5078        Excel Spreadsheet - Apple Watch Sales - Q2
                2024
    5079        Radar

    5080        ASIC Specifications and Requirements

    5081        ASIC Specifications and Requirements

    5082        Radar, "CBTL1603A0 - Custom LED
                Transmitter Multiplexer ASIC" - Rev 0.1 -
    5083        Radar, "CBTL1603B0 - Custom LED
                Transmitter Multiplexer ASIC" - Rev. 1.0 - July



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    5084        Apple Watch S8 45 CEL Details and BOM            11/6/2024      11/6/2024

    5085        Apple Watch Ultra 49 Details and BOM             11/6/2024      11/6/2024

    5086        Apple Watch S8 45 GPS Details and BOM            11/6/2024      11/6/2024

    5087        User Guide

    5088        Validation Plan

    5089        Engineering Requirements Specification

    5090        Engineering Requirements Specification           11/6/2024      11/6/2024

    5091        Engineering Requirements Specification           11/4/2024      11/4/2024

    5092        Engineering Requirements Specification

    5093        Engineering Requirements Specification

    5094        Engineering Requirements Specification

    5095        N20x N210 Platinum Chipset ERS Rev. 1.3

    5096        Withdrawn

    5097        Withdrawn

    5098        Withdrawn

    5099        Withdrawn

    5100        Withdrawn

    5101        Email regarding chipset review

    5102        Engineering Requirements Specification

    5103        Engineering Requirements Specification

    5104        General Sensor Qualification Procedures 0.8
                Bending
    5105        Engineering Requirements Specification




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    5106        Engineering Requirements Specification

    5107        Email regarding chipset review

    5108        Engineering Requirements Specification

    5109        General Sensor Qualification Procedures 0.8
                Bending
    5110        Engineering Requirements Specification

    5111        Engineering Requirements Specification

    5112        Engineering Requirements Specification

    5113        Apple Watch Ultra 2 49 Details and BOM

    5114        Apple Watch S9 45 GPS Details and BOM

    5115        Apple Watch S9 45 CEL Details and BOM

    5116        Validation Plan

    5117        Validation Status

    5118        Declaration of Custodian of Records of              11/7/2024      11/7/2024
                Samsung Electronic's America, Inc. (Apple Inc.
    5119        Email from Stephen Waydo to Marcelo Lamego,
                April 14, 2014
    5120        ANSip: Citrine A0 TapeOut Readiness Review

    5121        Email from Ian Shapiro to Dong Zheng, April
                18, 2014
    5122        Email from Alex Chan to Ravi Narasimhan,
                August 21, 2014, and attachment
    5123        N27A Architecture Offsite

    5124        Email from Jason Sauers to Matt Kenny et al.,
                January 8, 2015, and attachment
    5125        Email from Justin Schwab to Jason Sauers,
                January 8, 2015
    5126        Email from Erno Klaasen to Mike O'Reilly,
                August 10, 2015
    5127        Scandium Marketing Risks




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Trial Ex. No.                      Description                     Date            Date
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    5128        Zoomed in image of APL-MAS_02997659-61

    5129        Email from Steve Gipstein to Afshad Mistri,
                April 18, 2018
    5130        Email from Brian Land to Lynn Youngs et al.,
                April 20, 2016, and attachment
    5131        Email from Saahil Mehra to Paul Mannheimer,
                August 30, 2019
    5132        X2012, BC, Window, CNC, LG spec images

    5133        Assembly, Folsom 2, ring magnet, ASE, X2066,        11/4/2024      11/4/2024
                spec images
    5134        Barnum, "Novel Pulse Oximetry Technology            11/5/2024      11/5/2024
                Capable of Reliable Bradycardia Monitoring in
    5135        Masimo 1998 Press Release                           11/5/2024      11/5/2024

    5136        Masimo 1999 Press Release                           11/5/2024      11/5/2024

    5137        Masimo 2000 Press Release                           11/5/2024      11/5/2024

    5138        1/20/2011 Email from Marcelo Lamego to
                Kiani, CC: Merritt, RE: letter of resignation
    5139        encoders.jpg                                        11/5/2024      11/5/2024

    5140        9/2013 Pronto-7 project manager.pptx                11/5/2024      11/5/2024

    5141        Bill Clinton Picture, picture.jpg                   11/5/2024      11/5/2024

    5142        California Legislature Recognition of Lifetime      11/5/2024      11/5/2024
                of Achievement to Joe Kiani
    5143        12/2016 Patient Safety Movement Award               11/5/2024      11/5/2024

    5144        Chapman University 2017 Honorary Doctor of          11/5/2024      11/5/2024
                Science Degree
    5145        OCBJ_2016 OC 50th Annual Inventory of               11/5/2024      11/5/2024
                Influence
    5146        Frost & Sullivan North American Pulse               11/5/2024      11/5/2024
                Oximetry Technology Leadership Award_2009
    5147        GIPC_2015 Intellectual Property Champion            11/5/2024      11/5/2024

    5148        Intellectual Property Owners Education              11/5/2024      11/5/2024
                Foundation_2018 IP Champion
    5149        OCBJ_2015 Innovator of the Year Nomination          11/5/2024      11/5/2024




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    5150        OCBJ_2017 Innovator of the Year                        11/5/2024      11/5/2024

    5151        Patient Blood Management Platinum Award                11/5/2024      11/5/2024

    5152        log record

    5153        log record

    5154        log record

    5155        log record

    5156        log record

    5157        log record

    5158        log record

    5159        Engineering Requirements Specification                 11/6/2024      11/6/2024

    5160        Apple, Introducing Apple Watch Ultra.pdf,
                http://www.apple.com/newsroom/2022/09/intro
    5161        Apple, Apple Watch Ultra - Technical
                Specifications.pdf, https://support.apple.com/en-
    5162        Apple, Apple Watch Series 9.pdf,
                https://www.apple.com/apple-watch-series-
    5163        Apple, Apple Watch Series 8 - Technical
                Specifications.pdf, https://support.apple.com/en-
    5164        Apple, Apple Watch Series 7 orders start Friday,       11/7/2024      11/7/2024
                October 8, with availability beginning Friday,
    5165        Apple, Apple Watch Series 7 - Technical                11/7/2024      11/7/2024
                Specifications.pdf, https://support.apple.com/en-
    5166        Apple, Apple Watch Series 6 delivers
                breakthrough wellness and fitness
    5167        Apple, Apple Watch Series 6 - Technical                11/7/2024      11/7/2024
                Specifications.pdf, https://support.apple.com/en-
    5168        Apple, Apple Watch Series 5 - Technical                11/7/2024      11/7/2024
                Specifications.pdf, https://support.apple.com/en-
    5169        Apple, Apple Watch SE The Ultimate                     11/7/2024      11/7/2024
                Combination of Design, Function, and
    5170        Apple, Apple Watch SE (1st generation) -               11/7/2024      11/7/2024
                Technical Specifications.pdf,
    5171        Apple, Apple Unveils Apple Watch Series                11/7/2024      11/7/2024
                5.pdf, https //www apple



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Trial Ex. No.                     Description                        Date            Date
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    5172        Apple, Apple reveals Apple Watch Series 8 and
                the new Apple Watch SE.pdf,
    5173        Apple, Apple Reveals Apple Watch Series 7             11/7/2024      11/7/2024
                Featuring the Largest Most Advanced
    5174        Apple, Apple Introduces the Advanced New
                Apple Watch Series 9.pdf,
    5175        APSF Newsletter Spring-Summer 2012,                   11/5/2024      11/5/2024
                Postoperative Monitoring-The Dartmouth
    5176        Press Release, March 25, 2020, Study Finds            11/5/2024      11/5/2024
                Zero Patient Deaths from Opioid-Induce
    5177        JAMA, Remote Patient Monitoring During
                COVID-19, March 22, 2022
    5178        Masimo W1 Whitepaper                                  11/5/2024      11/5/2024

    5179        1/26/2021 Email from Diego Jimenez to Stan
                Ng, et al., re Apple Watch Series 6 and Apple
    5180        9/1/2023 Masimo Corporation, Sound United,
                LLC, and Cercacor Labs., Inc.'s Deposition
    5181        Press Release, Study Demonstrates Reduction in        11/5/2024      11/5/2024
                Mortalitiy using SpHb
    5182        Continuous hemoglobin and plethysmography             11/5/2024      11/5/2024
                variability index monitoring can modify blood
    5183        JAMA, Remote Patient Monitoring During                11/5/2024      11/5/2024
                COVID-19, An Unexpected Patient Safety
    5184        New York Times Article, The New Apple                 11/7/2024      11/7/2024
                Watch Measures Your Blood Oxygen. Now
    5185        02/09/2023 Email from Catherine Chang to
                Martin Grunthaner et al. re Health Sensing -
    5186        Health Sensing Eng/GSM/Ops Sync

    5187        Cercacor - Plan of Conversion DE Corp to NV Corp      11/6/2024      11/6/2024
                (Executed) 2023.12.18
    5188        Cercacor (DE) Certificate of Conversion DE to a       11/6/2024      11/6/2024
                NV Corp (Filed) 2024.01.17
    5189        Cercacor (NV) Articles of Conversion DE to NV         11/6/2024      11/6/2024
                Corp (Filed) 2024.01.18
    5190        Willow Laboratories_ Inc. (NV) Formation Profit       11/6/2024      11/6/2024
                Corp (Filed) 2024.01.18
    5191        Masimo W1™ Medical Watch Receives FDA                 11/5/2024      11/5/2024
                510(k) Clearance for Over-the-Counter and
    5192        K232512 Letter, Premarket notification approval       11/5/2024      11/5/2024

    5193        Masimo Announces FDA 510(k) Clearance for             11/5/2024      11/5/2024
                Might Sat



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       5194     Masimo Press Release, Masimo Announces FDA               11/5/2024      11/5/2024
                Clearance of Radius PPG
       5195     File History of U.S. Provisional Patent Application      11/6/2024      11/6/2024
                60/657596
       5196     File History of U.S. Provisional Patent Application      11/6/2024      11/6/2024
                60/657281
       5197     File History of U.S. Provisional Patent Application      11/6/2024      11/6/2024
                60/657268
       5198     File History of U.S. Provisional Patent Application      11/6/2024      11/6/2024
                60/657759
   5199.1       Source Code (slipsheet)                                  11/6/2024      11/6/2024
   5200.1       Source Code (slipsheet)                                  11/6/2024      11/6/2024
    5201        January 12, 2023 Declaration of Russell-Clarke           11/7/2024      11/7/2024

       5202     6/3/2014 Email from Estoesta to Perica, et al. re       11/8/2024       11/8/2024
                Rover, 6/3
       5203     10/15/2013 Email from Tom to Hotelling re               11/8/2024       11/8/2024
                Marcelo Lamego
       5204     10/17/2013 Email from Hotelling to Simon, et            11/8/2024       11/8/2024
                al. re Project Everest
       5205     10/18/2013 Email from Hotelling to Rice, et al.         11/8/2024       11/8/2024
                re Recruiting from Masimo
       5206     Presentation: Proto2 FA! Treor 7.30.04                  11/8/2024       11/8/2024
5207            Public Interest Letter from Adam Waddell, In            11/12/2024     11/12/2024
                the Matter of Certain Light-Based Physiological
                Measurement Devices, ITC Inv. No. 337-TA-
                1276
5208            Public Interest Letter from Kevin R. Ward, In           11/12/2024     11/12/2024
                the Matter of Certain Light-Based Physiological
                Measurement Devices, ITC Inv. No. 337-TA-
                1276
5209            Public Interest Statement of Non-Party Peter            11/12/2024     11/12/2024
                Pronovost, MD, In the Matter of Certain Light-
                Based Physiological Measurement Devices, ITC
                Inv. No. 337-TA-1276
5210            Public Interest Statement of Non-Party Mitchell         11/12/2024     11/12/2024
                Golstein, MD, In the Matter of Certain Light-
                Based Physiological Measurement Devices, ITC
                Inv. No. 337-TA-1276




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5211            Apple's Supplemental Objections and Responses          11/12/2024     11/12/2024
                to Plaintiffs Masimo Corporation and Cercacor
                Laboratories, Inc.'s Eighth Set of Interrogatories
                to Defendant Apple Inc. (No. 32)

5212            11/29/2014 Email from Mu to Nangia                     11/13/2024     11/13/2024
5213            U.S. Patent No. 6,920,345                               11/4/2024      11/4/2024
   P-0001       Physical - Radius PPG Neo sensor                        11/5/2024      11/5/2024
   P-0002       Physical - Radius PPG reusable chip                     11/5/2024      11/5/2024
   P-0003       Physical - Radius PPG Neo sensor
   P-0004       Physical - Radius PPG reusable chip
   P-0005       Physical - TF-I (Ref. No. 4055) (Current)               11/5/2024      11/5/2024
   P-0005p      Physical - TF-I (Ref. No. 4055) (Current)               11/5/2024      11/5/2024
   P-0006       Physical - TF-I (Ref. No. 4055) (Current)
   P-0007       Physical - TF-I (Ref. No. 4055) (Current)
   P-0008       Physical - TF-I (Ref. No. 4055) (Current)
   P-0009       Physical - TFA-1 (Ref. No. 4016) (Current)
   P-0010       Physical - TFA-1 (Ref. No. 4016) (Current)
   P-0011       Physical - TFA-1 (Ref. No. 4016) (Current)
   P-0012       Physical - TFA-1 (Ref. No. 4016) (Current)
   P-0013       Physical - TFA-1 (Ref. No. 4016) (Current)
   P-0014       Physical - Masimo MightySat Lanyard, bag, and
                batteries
   P-0015       Physical - TI eZ430 Watch
   P-0016       Physical - iSpO2, Android (microUSB)
   P-0017       Physical - iSpO2, iOS (30 pin)
   P-0018       Physical - iSpO2, Android (microUSB)                    11/5/2024      11/5/2024
   P-0019       Physical - iSpO2, iOS (30 pin)
   P-0020       Physical - iSpO2, microUSB
   P-0021       Physical - MightySat Rx (2017)
   P-0022       Physical - MightySat Rx (2019)                          11/5/2024      11/5/2024
   P-0023       Physical - W1, Air Watch P#003                          11/6/2024      11/6/2024
   P-0024       Physical - W1, Identifying Number:
                2052700011
   P-0025       Physical - W1, Identifying Number:
                2111700027
   P-0026       Physical - W1, Air Watch P#004
   P-0027       Physical - W1, Air Watch P#005
   P-0028       Physical - W1, Air Watch P#006
   P-0029       Physical - W1, Identifying Number: 7


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   P-0030       Physical - W1, Identifying Number: 8
   P-0031       Physical - W1, Identifying Number: 9
   P-0032       Physical - W1, Identifying Number: 11
   P-0033       Physical - W1, Identifying Number: 12
   P-0034       Physical - W1, Identifying Number: 15
   P-0035       Physical - W1, Identifying Number: 16
   P-0036       Physical - W1, Identifying Number: 17
   P-0037       Physical - W1, Identifying Number: 19
   P-0038       Physical - W1, Identifying Number: 20
   P-0039       Physical - W1, Identifying Number: 21
   P-0040       Physical - W1, Identifying Number: 22
   P-0041       Physical - W1, Identifying Number: 24
   P-0042       Physical - W1, Identifying Number: 25
   P-0043       Physical - W1, Identifying Number: 27
   P-0044       Physical - W1, Identifying Number: 28
   P-0045       Physical - W1, Identifying Number: 29
   P-0046       Physical - W1, Identifying Number: 31
   P-0047       Physical - W1, Identifying Number: 32
   P-0048       Physical - W1, Identifying Number: 33
   P-0049       Physical - W1, Identifying Number: 34
   P-0050       Physical - W1, Identifying Number: 35
   P-0051       Physical - W1, Identifying Number: 38
   P-0052       Physical - W1, Identifying Number: 42
   P-0053       Physical - W1, Identifying Number:
                2000000004
   P-0054       Physical - W1, Identifying Number:
                2000000010
   P-0055       Physical - W1, Identifying Number: 88564A
   P-0056       Physical - W1, Identifying Number:
                2052700003
   P-0057       Physical - W1, Identifying Number:
                2052700019
   P-0058       Physical - W1, Identifying Number:
                2116700010
   P-0059       Physical - W1, Identifying Number:
                2116700020
   P-0060       Physical - W1, Identifying Number:
                2116700031
   P-0061       Physical - W1, Identifying Number: OE-
                1911741


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   P-0062       Physical - W1, Identifying Number:
                2000000012
   P-0063       Physical - W1, Identifying Number:
                2000000013
   P-0064       Physical - W1, Air Watch Carrier 01
   P-0065       Physical - W1, Identifying Number: 211700003

   P-0066       Physical - W1, Identifying Number: 211700013

   P-0067       Physical - W1, Identifying Number: 211700017

   P-0068       Physical - W1, Identifying Number: 211700018

   P-0069       Physical - W1, Identifying Number: 211700025

   P-0070       Physical - Radius PPG, RC00000848
   P-0071       Physical - Radius PPG Sensor Lot E19GWA
   P-0072       Physical - W1, Identifying Number: 301034A
   P-0073       Physical - W1, Identifying Number: 28089A1
   P-0074       Physical - W1, Identifying Number: 28089C
   P-0075       Physical - W1, Identifying Number: 28089E1
   P-0076       Physical - Masimo Radius-7 screen
   P-0077       Physical - Masimo Radius-7
   P-0078       Physical - Masimo Radius-7 Cuff
   P-0079       Physical - Masimo Radius-7 Cuff (Ref. No.
                38879)
   P-0080       Physical - Cercacor Prototype
   P-0081       Physical - Masimo Pronto 7
   P-0082       Physical - Masimo Pronto 7 Sensor
   P-0083       Physical - Withings ScanWatch
   P-0084       Physical - Amazfit GTR 2e
   P-0085       Physical - Apple Watch Series 0
   P-0086       Physical - Steve Jobs: The Lost Interview, DVD

   P-0087       Physical - Cercacor Ember
   P-0089       Physical - OxiMax OxiCliq-A, Adult Oxygen
                Sensor
   P-0090       Physical - OxiMax OxiCliq-P, Pediatric Oxygen
                Sensor




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                                                                 Identified      Admitted
   P-0091       Physical - Nellcor Oxisensor II D-25, Adult
                Oxygen Sensor
   P-0092       Physical - Masimo LNOP Adt (Ref 1001)
   P-0093       Physical - Masimo W1 Watch (Current)
   P-0094       Physical - Masimo W1 Watch Charger (Current)

   P-0095       Physical - Masimo Health Module (Current)
   P-0096       Physical - Masimo Health Module Back Lens
                (Current)
   P-0097       Physical - Masimo Health Module Board
                (Current)
   P-0098       Physical - Masimo Health Module Boards,             11/5/2024      11/5/2024
                Group of 2 (Current)
   P-0099       Physical - Masimo W1 Freedom Prototype              11/5/2024      11/5/2024
   P-0100       Physical - Fitbit Sense
   P-0101       Physical - Fitbit Versa 2
   P-0102       Physical - Stepfly Smart Watch
   P-0103       Physical - Fitness Tracker Smart Watch
   P-0104       Physical - Kalinco Smart Watch
   P-0105       Physical - Pautios Smart Watch
   P-0106       Physical - Kospet Smart Watch
   P-0107       Physical - IPS Smart Watch
   P-0108       Physical - Smart Watch
   P-0109       Physical - Masimo W1
   P-0110       Physical - Masimo Health Module Board               11/5/2024      11/5/2024
                (Current)
   P-0111       Physical Exhibit - ABBY Award
   P-0112       Physical Exhibit - Frost and Sullivan 2003 New
                Standard of Care in Patient Monitoring Award

   P-0113       Physical Exhibit - 2012 Ernst & Young
                Entrepreneur of the Year - Joe Kiani
   P-0114       INTENTIONALLY OMITTED
   P-0115       Physical: Source Code Computer with Masimo
                Source Code Made Available for Inspection

   P-0116       Directory printouts from Source Code Computer
                with Masimo Source Code
  P-0116.1      Physical: rainbow® sensors
   P-0117       Physical - Diab's Notebook (1994-1996)


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Trial Ex. No.                    Description                       Date            Date
                                                                 Identified      Admitted
   P-0118       Physical - Apple Watch Series 0
   P-0119       Physical - Apple Watch Series 1
   P-0120       Physical - Apple Watch Series 2
   P-0121       Physical - Apple Watch Series 3
   P-0122       Physical - Apple Watch Series 4
   P-0123       Physical - Apple Watch Series 5
   P-0124       Physical - Apple Watch Series 6
   P-0125       Physical - Apple Watch Series 7
   P-0126       Physical - Apple Watch Series 8
   P-0127       Physical - Apple Watch Series SE
   P-0128       Physical - Apple Watch Series Ultra
   P-0129       Physical of the Masimo TF-I sensor
   P-0130       Physical of the Masimo Pronto-7 sensor
   P-0131       Physical of the Masimo Radical-7 Sensor
   P-0132       Physical of the Masimo iSPO2 sensor
   P-0133       Physical of the Masimo G2 device
   P-0134       Physical of Ex. 827 - Dalke Notebook 281
                (2003)
   P-0135       Physical of Ex. 832 - Poeze Notebook (2008)         11/6/2024      11/6/2024
   P-0136       Physical of Ex. 878 - Diab Notebook (2007)
   P-0137       Physical of Ex. 881 - Diab Notebook (1994)
   P-0138       Physical of Ex. 1214 - Diab Notebook 1B
                (1992)
   P-0139       Physical of Ex. 1227 - Diab Notebook (1988)
   P-0140       Physical of Ex. 1910 - Diab Notebook (1990)
   P-0141       Physical of Ex. 702 - Dalke Notebook 301
                (2004)
   P-0142       Physical of Ex. 703 - Smith Notebook 295
                (2004)
   P-0143       Physical of Ex. 794 - Smith Notebook 13 (1992)

   P-0144       Physical of Ex. 798 - Diab Notebook 1001
                (1994)
   P-0145       Physical of Ex. 811 - Dalke Notebook 241
                (2002)
   P-0146       Physical of Ex. 483 (O'Reilly Notes)
   P-0147       Physical of Ex. 484 (O'Reilly Notes)
   P-0148       Physical of Ex. 485 (O'Reilly Notes)
   P-0149       Physical of Ex. 486 (O'Reilly Notes)
   P-0150       Physical of Ex. 487 (O'Reilly Notes)


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Trial Ex. No.                   Description                     Date            Date
                                                              Identified      Admitted
   P-0151       Physical of Ex. 488 (O'Reilly Notes)
   P-0152       Physical of Ex. 489 (O'Reilly Notes)
   P-0153       Physical of Ex. 490 (O'Reilly Notes)
   P-0154       Physical of Ex. 491 (O'Reilly Notes)
   P-0155       Physical of Ex. 492 (O'Reilly Notes)
   P-0156       Physical of Ex. 493 (O'Reilly Notes)
   P-0157       Physical of Ex. 494 (O'Reilly Notes)
   P-0158       Physical of Ex. 495 (O'Reilly Notes)
   P-0159       Physical of Ex. 496 (O'Reilly Notes)
   P-0160       Physical of device depicted in Ex. 1045
   P-0161       Testing fixtures                                 11/5/2024      11/5/2024
   P-0162       Testing fixtures                                 11/5/2024      11/5/2024
   P-0163       Kansas State 4D, Kansas State Sensor, 2006
   P-0164       Kansas State 6D, Kansas State Sensor, 2005      11/13/2024     11/13/2024
   P-0165       Masimo TF-I Sensor
   P-0166       Masimo Pronto
   P-0167       Masimo Pronto-7 Monitor
   P-0168       Masimo rainbow DCI SC 400 sensor
   P-0169       Masimo MightySAT finger-clip pulse oximeter      11/6/2024      11/6/2024
   P-0170       Apple Watch Series 7 w/ Shunts
   P-0171       Apple Watch Series 7 w/o Shunts
                Withdrawn
   P-0172       Samsung Galaxy Watch3 commercially
                available
   P-0173       Masimo W1 Watch commercially available
   P-0174       Masimo Pronto 7 Finger Clip
   P-0175       Masimo Pronto 7 Sensor (teardown)
   P-0176       Cercacor Ember
   P-0177       Masimo Health Module
   P-0178       Health Module Back Lens
   P-0179       Health Module Board
   P-0180       Health Module Board
   P-0181       Cercacor Ember (with packaging)
   P-0182       Apple Watch Series 7 (teardown)
   P-0183       Apple Watch Series 0
   P-0184       Apple Watch Series 1
   P-0185       Apple Watch Series 2
   P-0186       Apple Watch Series 3
   P-0187       Apple Watch Series 4
   P-0188       Apple Watch Series 5


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Trial Ex. No.                  Description               Date            Date
                                                       Identified      Admitted
   P-0189       Apple Watch Series 6
   P-0190       Apple Watch Series 7                      11/8/2024      11/8/2024
   P-0191       Apple Watch Series 8
   P-0192       Apple Watch Ultra
   P-0193       Apple Watch SE (1st Gen)
   P-0194       Apple Watch SE (2nd Gen)
   P-0195       Masimo MX-3 Board




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